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                           Exhibit 41
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     Report No. CDOT-2008-6
     Final Report




     AREAWIDE COORDINATED CUMULATIVE
     EFFECTS ANALYSIS – PHASE I



     Brian Muller, Lynn Johnson, John Wyckoff, and Fred Nuszdorfer




     July 2008




     COLORADO DEPARTMENT OF TRANSPORTATION
     DTD APPLIED RESEARCH AND INNOVATION BRANCH
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                   not constitute a standard, specification, or regulation.
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16. Abstract
The Areawide Coordinated Cumulative Effects Analysis (ACCEA) project evaluated whether and how a spatial accounting approach
can be used to identify the cumulative impacts on the environment that result from the incremental impacts of multiple transportation
and other projects, and related urbanization at a regional scale. Spatial accounting methods were employed to inventory improvement
or decline in the quality of key resources over multiple time periods, jurisdictions and projects. The tools of spatial accounting include
(1) data typically housed in a geographic information system (GIS); (2) models for the evaluation of environmental effects resulting
from transportation projects and programs; and (3) metrics such as indicators or thresholds, which can be used to assess the
importance of change in resource qualities. The ACCEA project addressed a broad spectrum of environmental resources of concern,
including land use and open space, and biological, water, cultural and community resources. Fourteen distinct resource areas were
addressed during seven workshops held with resource experts representing transportation, environmental, and planning agencies and
interest groups. A demonstration project was conducted which focused on land use change, habitat and water quality across the
Denver metropolitan region. GIS and remote sensing tools were demonstrated to provide the means for data and models integration,
thus providing a technical foundation for characterizing environmental effects. ACCEA was concluded to be feasible and can provide
valuable support to both project-specific assessments of cumulative impacts as well as regional accounting of environmental
resources relevant to transportation planning.

Implementation:
The study results will facilitate the NEPA process by making information about cumulative effects analysis, environmental
assessments, and environmental impact statements more readily available to those who are responsible for identifying and mitigating
adverse environmental effects. The products of this project will be used to provide (1) general guidance and options for ACCEA
transportation-related analysis in Colorado; and, (2) a review of opportunities for a coordinated approach in the Denver region.




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            AREAWIDE COORDINATED CUMULATIVE
                EFFECTS ANALYSIS – PHASE I

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     of the literature review for water resources on the project’s archive; Michael Hinke, co-
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     Brian Kennedy of Short Elliot and Hendrickson and R.A. Plummer of PBS&J, both
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     EXECUTIVE SUMMARY
     Cumulative effects analysis (CEA) is an evaluation of “the impact on the environment
     which results from the incremental impact of an action when added to other past, present
     and reasonably foreseeable future actions regardless of what agency (Federal or non-
     Federal) or person undertakes such other actions.” The Colorado Department of
     Transportation (CDOT) faces a complex set of challenges in managing the cumulative
     effects assessment process so that it provides useful and timely information to
     transportation decision-makers, supports consultation and collaborations with other
     federal, state and local agencies, and meets agency goals for administrative efficiency.
     The Areawide Coordinated Cumulative Effects Analysis (ACCEA) project is an effort to
     evaluate whether and how a spatial accounting approach can be used to address the
     challenges of CEA management at a regional scale. Spatial accounting methods are
     employed by environmental managers to inventory improvement or decline in the quality
     of key resources over multiple time periods, jurisdictions and projects. The tools of
     spatial accounting include (1) data typically housed in a Geographic Information System
     (GIS); (2) models for the evaluation of environmental effects resulting from activities
     such as transportation investment; and (3) metrics such as indicators or thresholds, which
     can be used to assess the importance of change in resource qualities.


     Spatial environmental accounting can be used to support two tasks central to CDOT’s
     mission: (1) National Environmental Policy Act (NEPA) documentation of cumulative
     effects associated with individual projects; and (2) assessment of overall environmental
     consequences of transportation investments designated in regional transportation plans. In
     the ACCEA project, we developed and evaluated accounting methods through two
     primary project activities. In the first part of the project we held seven workshops with
     agency staff and practitioners to examine data sources, models and metrics that could be
     employed in areawide CEA. In the second part of the project, we designed and
     demonstrated accounting protocols for three selected resources.         We applied these
     protocols to a hypothetical case study of a major highway expansion in Jefferson County
     (C-470 between Kipling and I-70). Based on results of the workshops, we found that




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     regional accounting is technically feasible and potentially of considerable value to CDOT
     and other organizations involved in transportation planning and NEPA assessment.


     Availability of Data. We reviewed about 60 data sources for this project. Areawide data
     are available for almost every topic we examined. These can be obtained with modest
     effort as a download from public sources. Time series data are not available in every
     resource area; however, there are a number of time series data sources that have not yet
     been employed in this context. These include, for example, county assessor’s files that
     can be used to identify past, present, and future development. The demonstration project
     confirms that regional accounting can be accomplished even in resource areas for which
     limited data are available.


     Utility of Models and Methods. Project participants identified policy-relevant spatial
     models for almost all topics addressed through the workshops. For some environmental
     accounting topics, sophisticated models have been developed by researchers and applied
     extensively in practice (e.g., water quality and transportation/land use models). Overall,
     however, participants emphasized the value of simple models that are broadly
     understandable and easy to apply.


     Relevance of Metrics. Over 100 metrics were reviewed in this project and about 35
     selected by participants for the regional accounting framework. The workshops suggest
     that thresholds (critical levels of resource quality) for endangered species and wetlands
     are generally accepted across the region and are technically adaptable to regional
     accounting. A much larger number of local standards and practice-based metrics is also
     technically feasible in the context of NEPA analysis and regional transportation planning.
     These are credible in NEPA review and planning although not yet accepted across all
     agencies. However, we were unable to reach agreement about thresholds for many of the
     resources addressed in the workshops.


     Demonstration of Regional Accounting Methods. The main products of the demonstration
     project are tables that describe the contribution of the transportation project under review
     to a change in the level and quality of key resources. These tables provide a framework


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      for quantifying effects at varying spatial scales and over past, present and future
      timelines. The demonstration suggests that further development of coordinated datasets,
      tools, and protocols will substantially reduce costs of areawide CEA to individual NEPA
      projects. For example, much of the data used in CEA tabulations can be collected
      regionally and evaluated centrally.


      Value of Regional Accounting. Project findings support the value of areawide
      environmental accounting for both project-specific NEPA assessment and regional
      planning. Some participants argued that spatial models in many cases are insufficient to
      document environmental significance under NEPA. Most participants agreed, however,
      that use of spatial models can improve CEA if they help quantify regional context and
      delineate the contribution of individual projects to regional environmental change.


      Recommendations. The project also clarified the importance of launching a collaborative
      effort across agencies, local governments, and other stakeholders to obtain a common
      understanding of data and models; establish validation of the models; acknowledge
      priorities and preferences of participants who would use the models; and integrate model
      usage into administrative processes for decisions.    Coordination across agencies, local
      governments and stakeholders should continue to be a focus in later phases of this
      project. The following recommendations were proposed to foster this partnership.


             1. Make regional accounting cost-effective through construction of shared
             datasets, web-based data portals, and shared analytical tools.


             2. Establish interagency data-sharing agreements.


             3. Create an inter-governmental working group to develop protocols and priorities
             for regional accounting.


             4. Establish procedures to guide contractors in implementing regional
             accounting frameworks.




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             5. Assess opportunities for integration of regional accounting information into the
             transportation   planning process      including   initiatives   such   as   Strategic
             Transportation, Environmental, and Planning Process for Urbanizing Places
             (STEP UP).


      Implementation Statement
      The products of this study will be useful in the NEPA process by making information
      about CEA, environmental assessments (EAs) and environmental impact statements
      (EISs) more readily available to those who are responsible for identifying and mitigating
      adverse environmental effects. By providing data from originating agencies in a standard
      form future CEA can be done more quickly. With the results of the resource workshops
      there is a better understanding of the resources and the indicators that are listed in the
      NEPA documentation, the metrics of indicators that allow those resources to be
      quantified and any thresholds of the metrics that may be used to determine when
      unsuitable conditions may exist. The identification of analysis protocols provides a means
      for quantifying effects for a selection of resources or issues. Finally, the model for a
      specific resource may be applied by NEPA consultants and CDOT personnel to identify
      potential future outcomes of alternative scenarios.


      The products of this project will be used to provide (1) general guidance and options for
      ACCEA transportation-related analysis in Colorado; and, (2) a review of opportunities
      for a coordinated approach in the Denver region.




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   1. INTRODUCTION
   The Colorado Department of Transportation (CDOT) is charged with ensuring that state
   transportation projects comply with environmental regulations and protect resource qualities in
   the state while meeting the demands of Colorado residents for efficient transportation systems
   and services. In doing so, CDOT is confronted with the challenge of performing meaningful and
   cost-effective environmental analyses, acceptable to the resource agencies involved, so that
   environmental information can inform and support decision-making at appropriate points in the
   transportation planning and development process.


   The National Environmental Policy Act of 1969 (as amended) [42 USC §4321, 4331- 4335,
   4341-4347, 3724375] (NEPA) along with its accompanying regulations (40 CFR §1500-1508),
   provides the guidelines for developing an effective planning and decision-making process in the
   preparation of environmental assessments (EAs) or environmental impact statements (EISs).
   Within this process, analysts must document the purpose and need for a project, existing
   environmental and social economic conditions, direct and indirect environmental consequences,
   and possible alternatives.


   Cumulative effects analysis (CEA) is also required by NEPA. The Council on Environmental
   Quality (CEQ) has defined cumulative effects as: “the impact on the environment which results
   from the incremental impact of an action when added to other past, present and reasonably
   foreseeable future actions regardless of what agency (Federal or non-Federal) or person
   undertakes such other actions.” Cumulative effects are the combined, incremental effects of
   human activity that influence the quality of resources, ecosystems, or human values. While
   impacts may be insignificant by themselves, they can accumulate over time, from one or more
   sources, and can cumulatively result in degradation of important resources. Consistent with the
   CEQ regulations (CEQ, 1987), effects and impacts are synonymous terms.


   Analysis that spans a historical timeframe and anticipates future conditions is thus important to
   CEA. Under the definitions and guidelines of the CEQ, a CEA must not be delineated by
   artificial boundaries but must represent the natural areas defined by the extent of the effects. The
   resources and impacts involved are all inherently regional in character; the environmental
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   resources transcend local jurisdictions and are most often defined by their bio-geographic extent
   resulting from factors such as climate, elevation and topography, soils and vegetative cover.
   These characteristics make it necessary to prepare cumulative effects assessments on a regional
   basis. The geospatial technologies of GIS and remote sensing are well-suited to the tasks
   required, providing both the seamless and historical data necessary for CEA.


   For purposes of meeting ACCEA research goals, this project sought to develop regional spatial
   databases and assessment procedures that can be used to support CEA for multiple projects and
   programs across the metropolitan Denver region (e.g., Denver Regional Council of Governments
   (DRCOG) 2030 Transportation Plan). Some of these projects require environmental assessments
   and/or environmental impact statements. All require some assessment if only to justify the
   conclusion that they are ‘categorical exclusions’. Development of transportation projects will
   impact a wide variety of natural and cultural resources across the region and cumulative effects
   will have to be assessed for the entire area impacted by these projects and other regional
   development.


   The focus of the ACCEA research and development activity is the creation of “accounts” used to
   detail variations in quality of key resources in the context of historical, current and forecast
   conditions. These accounts are intended to provide a window on long-term resource trends and a
   basis for forecasting future conditions under alternative planning and project scenarios. Resource
   accounts rely on the development and collation of regional spatial databases. The ACCEA
   models for the various resource topics take the spatial data as inputs and generate metrics for the
   areawide resource accounts. Transportation projects and land use change forecasts drive the CEA
   models, and changes in the resource metrics over time constitute the cumulative effects.
   Involvement of stakeholders is necessary to assure the usability of data and models, and
   appropriateness of the analysis.


   The project emphasizes “coordination” among CDOT staff and their federal, state, regional and
   local partner agencies to establish ACCEA methods that are understood and acceptable to all.
   With the help of a cross-agency coordinated approach, CEA can be streamlined to support
   decision-making at the level of regional transportation planning and programmatic or individual
   project assessments.
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   1.1. Objectives
   The purpose of this project was to compile information and develop tools for ACCEA for the
   metropolitan Denver region. The objectives were as follows:


      1. Obtain background spatial and non-spatial information from the literature, including
          CEA-related information from unpublished EA and EIS reports that have been completed
          for CDOT in the past.
      2. Interview metropolitan Denver land developers to determine the factors that motivate
          them in selecting areas for development. Included were questions about the
          environmental laws and regulations that affect them and their reactions to them.
      3. List and describe sources of digital data that are related to CEA or may contribute to a
          better CEA effort. Obtain any data that are available from originating sources. If
          necessary, modify the data to meet CDOT-Geographical Information System (GIS)
          standards.
      4. Create documentation and summaries from a series of resource-specific meetings of
          expert panels to identify or verify resources of concern in CEA, identify criteria and an
          appropriate scale of measurement for them, determine if thresholds indicating an
          unsuitable condition exist and, if so, the values of the thresholds.
      5. Identify environmental resources and issues of interest to CDOT and other government
          agencies based on input from advisory panels. Select protocols for CEA of the identified
          resources and issues from the information collected during the project or, where none
          exist, develop protocols using GIS or computer modeling.
      6. Identify a select few resources of interest, the extent of influence of urban development
          on them, and GIS models of the temporal and spatial effects of transportation
          development on it.



   Methods to accomplish these objectives are detailed in the respective sections in the following
   report. Section 2 describes the methods developed for ACCEA. Section 3 details workshop
   assessments of data, metrics and thresholds for the various resources relevant to ACCEA (e.g.,
   land use, water, biological, cultural and community resources or domains). Section 4 presents the

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   ACCEA application case study addressing a single project and its integration into an areawide
   (regional) resource accounting scheme. Section 5 presents findings and conclusions. Section 6
   summarizes the acronyms and abbreviations used in the report. Section 7 lists the literature that
   was cited in the report. The appendix provides the complete resource matrix.


   There may be follow-on phases of the ACCEA project. Phase II of the project would extend the
   results of this study to other resources and formalize protocols for use of ACCEA databases and
   models by CDOT and its partner agencies. In Phase III there would be a full implementation of
   ACCEA spatial databases and models, and training of CDOT and other agency staff to use the
   tools.




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   2. AREAWIDE COORDINATED CUMULATIVE EFFECTS ANALYSIS:
      METHODOLOGY

   2.1. Overview
   A generalized schema for the ACCEA research and development activity is illustrated in Figure
   1. It involves the integration of spatial databases developed for historic and current conditions,
   and forecasts of these. The ACCEA models for the various resources take the spatial data as
   inputs and generate metrics for the regional resource accounts. Planning and project assessments
   are derived from involvement of stakeholders in the data and models development, assuring
   usability of the data and models, and to help establish protocols for their use in transportation
   planning and implementation.




          Figure 1. General schema of the areawide coordinated cumulative effects assessment process

   We have adopted a general approach to the development of ACCEA that is based on the
   following steps (after Grimes, et al., 2004; CEQ, 1997):


          •   Describe the project components, environmental and land use setting;
          •   Identify resources or issues of concern;
          •   Identify metrics for measurement of impacts and thresholds of significance for each
              of the resources of concern;
          •   Conduct CEA analyses and determine level of cumulative effects and
          •   Interpret analysis results and establish follow-up actions.

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   Step 1: Describe Project Components, Environment and Land Use Setting
   The components of the proposed project and the project phases in which they will occur (e.g.,
   construction and operation) are identified. Included in this step are:
          •   Define the study area boundaries. These will be resource-specific, and are adjusted to
              account for data availability (e.g., some demographic data are summarized by block
              group), character of the resource (e.g., commuting range for project-induced
              development), and range of impacts. The project components, the environmental
              setting, and the land uses will be described. This is a preliminary step. Boundaries
              may have to be refined as part of the analysis of cumulative effects.
          •   Identify the study area’s goals and objectives. It is important to develop an
              understanding of the community’s vision and goals as they relate to ecological, social,
              economic and growth-related issues. This step involves implementation of public
              involvement activities. Elements of the ACCEA workshops described in Section 3
              could be employed in the context of public meetings and other aspects of public
              engagement.
          •   A baseline environmental and socioeconomic inventory should be conducted to
              identify notable features or unique features of the environment. These may include
              sensitive species and habitats, community facilities, historical and archeological
              features, and land uses. According to the CEQ, the significance of an action must be
              analyzed in several contexts including society as a whole, the affected region, the
              affected interests, and the local area (CEQ, 1997). GIS tools provide the means to
              collate and archive these data.
          •   Identify impact-causing activities. Potential environmental impacts arising from road
              development projects fall into three categories: i) direct impacts; ii) indirect impacts;
              and iii) cumulative impacts. Direct impacts are caused by the road itself, by road
              building processes such as land conversion, and removal of vegetation. Indirect
              impacts (also known as secondary, tertiary, and chain impacts) are usually linked
              closely with the project. Indirect impacts are more difficult to measure and can affect
              larger geographical areas of the environment than may be initially anticipated.
              Examples include degradation of surface water quality by the erosion of land cleared
              for a new road, and urban growth near a new road. Cumulative impacts are the total
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               effect, including both direct and indirect effects, of all actions taken no matter who
               has taken the actions. Cumulative environmental change can arise from additive,
               multiplicative or synergetic effects. They can arise from multiple past, present, and
               future projects, as well as from secondary growth effects.

   Step 2: Identify Resources and Issues of Concern
   Resource issues of concern can be identified during consultations with experts and stakeholders.
   This step is essential to ensure that assessment resources are not spent on irrelevant issues. For
   the ACCEA project this step was implemented through a series of workshops with experts and
   stakeholders who addressed the various resources. Results of these workshops are summarized in
   Section 3 of this report. Agency and public scoping activities have been a primary focus of this
   Phase 1 research project. The UCD management and research teams have met with the Agency
   Advisory Panel (AAP) and the Practitioner Advisory Panel (PAT) to obtain advice on questions
   related to research scope and focus. In addition a series of workshops were held which addressed
   the various resources and themes appropriate for areawide CEA evaluation. A broad spectrum of
   environmental professionals, who are involved in review and approval of transportation plans
   and related environmental, documentation participated in the workshops. Topics for the meetings
   included:


          1. Workshop 1. Introduction and overview of ACCEA project
          2. Workshop 2. Land use including recreation and open space, agriculture, mining and
               energy use
          3. Workshop 3. Water resources including water supply and demand, floods and
               drainage, and water quality
          4. Workshop 4. Biological resources including wetlands
          5. Workshop 5. Cultural resources including historical and archaeological resources
          6. Workshop 6. Community impacts including environmental justice
          7. Workshop 7. Demonstration Project




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   Step 3: Identify Metrics for Measurement of Impacts and Thresholds of
     Significance
   Metrics may be based on ecological attributes (e.g., habitat availability, wildlife populations),
   physical-chemical attributes (e.g., air or water contaminant concentrations), land and resource
   use attributes (e.g., development densities, conversion of agricultural land), and social attributes
   (e.g., acceptable perceived change). The agenda for the workshops included:        identification of
   data sources in the domain; review of relevant CEA methods; discussion of methods and data
   sources; discussion of metrics, indicators and critical thresholds; and, development of agreement
   on core methods and uses of data.


   Also considered were the temporal and geographic scope for the assessment. Temporal scope
   considers past, present, and reasonably foreseeable actions. Determination of how far into the
   past and how far into the future to examine other actions is based upon the nature of the project
   and based upon the history of the corridor. The reasonably foreseeable future can be based on the
   planning horizon of the transportation agencies involved. Geographic scope is the spatial extent
   of impacts associated with the collection of projects and associated actions. Under the definitions
   and guidelines of the CEQ, a CEA must not be delineated by artificial boundaries but must
   represent the natural areas defined by the extent of the effects. The resources involved in this
   study are all inherently regional in character. The environmental resources transcend local
   jurisdictions and are most often defined by their bio-geographic extent resulting from factors
   such as climate, elevation and topography, soils and vegetative cover. These facts make it
   necessary to prepare cumulative effects assessments on a regional basis. The geospatial
   technologies of geographic information systems and remote sensing are well-suited to the tasks
   required, providing both the seamless and historical data necessary for CEAs.


   For each of the resources of concern a threshold of significance should be identified. A threshold
   is a point at which a resource undergoes unacceptable change or reaches an unacceptable level.
   Establishment of significance can be based on the following approaches:


          •   Regulatory or policy - compare the residual effect to a regulatory guideline (e.g., air
              quality) or a government policy (e.g., land use).

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          •   Scientific - compare the residual effect to a state of adverse environmental conditions,
              based on scientific and/or empirical information.
          •   Proportional – scale the range of impacts using a (say) 5-point scale based on the
              collective judgments of resource experts and stakeholders.


   With all approaches it is necessary to state all assumptions and uncertainties, and to seek
   consensus on the thresholds. A “buffer” around the threshold can be used as an early-warning
   system for management purposes to reduce or halt the advancement of the effect toward the
   threshold. If quantitative thresholds cannot be identified, qualitative conclusions can be made
   that rely on professional judgment (e.g., magnitude, geographic extent, duration) and
   collaborative decision making.

   Step 4: Conduct ACCEA and Determine Level of Cumulative Effects
   Central to the ACCEA approach was the use of GIS database and modeling tools to conduct
   analyses across the region as well as for specific projects. GIS and remote sensing techniques for
   data management, modeling and impact assessment and visualization are well-suited to the tasks
   required. Given that the resources involved are predominately regional in character, it is possible
   to prepare cumulative effects assessments on a regional basis. Development of spatial data sets in
   standardized formats, scales, and projections provided a means for comparison of attributes
   across the study region and over time.


   Several examples of ACCEA using GIS technology have been undertaken recently. The UCD
   research group (Johnson, et al., 2004) developed several models that were oriented toward
   specific critical resources within a well-defined study area bounding I-25 north of Denver. That
   project demonstrated the feasibility for collating spatial databases for a large region and linking
   analysis models which account for cumulative effects for several resources. That project
   demonstrated how GIS could be used to assess land use change and potential impacts on habitat
   using GIS overlay and distance techniques. Also demonstrated was the linkage of a spatial
   database with commonly used flood design procedures to measure hydrologic impacts due to
   land use change. Another example is the development of GISST (GIS Screening Tool) by an



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   EPA-sponsored group for an interstate corridor in Texas (EPA Region 6). GISST was developed
   using ArcInfo Workstation in the Arc Macro Language (AML).


   The ACCEA Phase I analysis approach, illustrated in Figure 1, involved the collation of GIS and
   related attribute datasets. Emphasis was placed on datasets to establish a baseline; these were
   most often 2-5 year old datasets obtained from various federal and state providers. Older datasets
   were obtained where possible. Information developed at the ACCEA workshops provided input
   and guidance on metrics for measurement of cumulative effects for the various resources. GIS-
   based models are used to compute accounts of the resources that tabulate the extent of the
   resource over time, considering historical, current and forecast conditions. These accounts give
   details on the variations over time, thus providing perspectives on the changes that have occurred
   and a basis for forecasting future conditions as well as model calibrations. Growth forecasts and
   land use changes drive the analyses, and the calculated changes provide the predicted cumulative
   effects. Valuation of the cumulative effects per thresholds are derived from involvement of
   stakeholders in the data and models development, assuring usability of the data and models, and
   to help establish protocols for their use in transportation planning and implementation.


   Step 5: Interpret Analysis Results and Establish Follow-Up Actions
   Interpretation of cumulative effects is based on results of model predictions described in the
   previous step. Cumulative effects are described through tabulation over time of changes in the
   metrics for the various resource accounts created through the GIS analysis. The primary method
   for judging significance of projected impacts is to evaluate these changes in the context of the
   overall aim of the project, study area goals, and notable features. Consideration of these changes
   per the thresholds involves coordination by CDOT staff and their partner agencies to establish
   agreement on the significance of the changes, and to consider mitigation actions.


   Mitigation should be considered if the potential impacts could worsen the condition of a notable
   feature, could interfere with or delay the planned improvement, could eliminate the notable
   feature or render the value ordinary, or are inconsistent with the law (Irwin and Rhoads, 1992).
   Mitigation strategies involve altering the type, alignment, and design of the project(s) as well as
   modifying the construction techniques and facility maintenance. For example, storm water runoff

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   impacts on water quality may be mitigated by detention basins and treatment. A few induced
   growth impacts can be mitigated through forms of access and land use controls.




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   3. ACCEA WORKSHOPS: THE FRAMEWORK FOR A REGIONAL
      ACCOUNTING SYSTEM

   3.1. Introduction
   In this section of the report we describe the conceptual framework for a spatial accounting
   system in the Denver Metropolitan region. This conceptual design is constructed around metrics
   (thresholds and indicators) that can help transportation agencies illuminate and track the
   condition of key resources under their purview. With the help of this conceptual design, we
   address two other questions. First, is regional accounting feasible considering availability of data
   and other resources? Second, will regional accounting provide useful support to (1) NEPA
   practitioners conducting project review, and (2) transportation planners and other decision-
   makers participating in development of the regional transportation plan?          The answer to these
   questions depends on several factors: the technical character of the effects of transportation
   investments on specific resources; the availability of temporal and spatial data in specific
   resource areas; and the suitability of relevant models and analytical methods. As important, the
   feasibility of regional environmental accounting depends on agreement among agencies about
   the objectives of the effort and appropriate metrics and methods.


   In order to gather a variety of perspectives from agency staff and practitioners, we approached
   this part of the ACCEA project by organizing a series of resource-specific meetings to explore
   the questions above and lay the foundation for design of an accounting framework. These
   meetings had three objectives: identify or verify resources of concern in CEA analyses; identify
   models, measures and appropriate scales of measurement for key resources; determine if there is
   consensus on quantifiable thresholds and their values. The workshops were designed specifically
   to provide guidance regarding the five steps in a Regional CEA defined previously; 1) describe
   the project components, environmental and land use setting, 2) identify resources or issues of
   concern, 3) identify metrics for measurement of impacts and thresholds of significance for each
   of the resources of concern, 4) conduct ACCEA and determine if cumulative effects are
   significant, and 5) interpret analysis results and establish follow-up actions.




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   3.2. Methods
   We employed a semi-structured focus group interview method to assess the utility of CEA-
   related methods and thresholds for each of 14 topic areas. We selected this approach rather than
   more structured interview methods for three reasons. First, we were prepared to provide
   substantial background materials for participants to read before each workshop; our intention
   was to support a free-flowing technical discussion of specific data sources, models and metrics.
   Second, we decided that a permissive focus group environment - without requirements that
   participants vote or reach consensus - would encourage conversation and allow ideas to emerge
   from the group. Our team was skeptical that consensus about CEA methods was possible until a
   formal, multi-level process of policy review would be initiated. Rather, our purpose at this early
   phase of involvement was to seek informal areas of agreement identified through review of notes
   and transcripts. Third, considering that all participants were invited because of their knowledge
   of NEPA, we anticipated that there would be sufficient homogeneity in attitudes and
   understandings so that participants could become engaged with the materials and respond to each
   other even in a relatively short session. One concern about the focus group approach was that
   some relationships among participants might be highly-charged (among agencies) or commercial
   in nature (between contractors and CDOT), thus inhibiting conversation; this did not turn out to
   be a concern for workshop participants.


   Participants were selected for the workshops because of their level of activity and expertise as
   agency staff or consultants involved in cumulative effects-related analysis in the Denver
   Metropolitan area. We used three levels of screening to develop lists of workshop participants:
   (1) identification of relevant agency staff through contacts at federal and state agencies with
   NEPA consultation roles; (2) technical experts, local government representatives and others
   identified by CDOT staff; and (3) technical experts, local government representatives and others
   identified by the project advisory panel.1 At each level of screening we also used the snowball
   method to identify other potential participants. The invitation lists included representatives of
   many of the major consulting firms, relevant federal agencies (e.g., Environmental Protection
   Agency), state agencies (e.g., Department of Public Health and Environment), and a number of

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    The project advisory panel was comprised of five consultants identified by CDOT with substantial
   knowledge of CEA methods.
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   municipal and public works agencies. Because the workshops focused on agency processes and
   staff experience and knowledge, we invited only a small number of academics and staff from
   non-profit or advocacy groups. A participant list is included in the archive for this project.


   Workshops were held in a neutral (university or regional government) location.         Participation
   rates in the workshops were relatively high (Table 1). Fifty to seventy invitation letters were
   distributed for most of the workshops. For Workshop 6 (Community Impacts) the invitation list
   was extended to include about 50 local planning directors in the region. None of these planning
   directors participated. Excluding the invitation to planning directors, participation rates in the
   six substantive workshops ranged from 45-80%.             Another 39 participants attended the
   Demonstration Project workshop, designed to generate guidelines for a demonstration of
   cumulative effects protocols in a limited project area (see Section 4). A total of 485 invitations
   were extended; 226 people participated in one or more workshops.


   Each workshop was divided into three sections. (1) Overview - the first section included an
   overview of project purposes and structure, and a brief discussion among participants of general
   principles within the topical area of the workshop. (2) Small group discussion - the second
   section of the workshop was a one hour-and-a-half session in which smaller groups of
   participants reviewed technical problems in CEA. Participants were asked to discuss key issues
   identified by project staff and rank data sources, technical models and indicator measures (or
   thresholds) with respect to their utility in NEPA documentation and transportation planning
   processes. These sessions were organized around an instrument described below. (3) Review of


                                     Table 1. Workshop Participants

                                                                   Number
                        Workshop                      Participants Invited
                        1. Introduction               31           48
                        2. Land Use                   33           41
                        3. Water Resources            38           67
                        4. Biological Resources       21           47
                        5. Cultural Resources         28           57
                        6. Community Impacts          36           102
                        7. Demonstration Project      39           123
                        Total                         226          485

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   small group discussions - in the third section of the workshop, the entire group re-convened for
   another 45-minute session focusing on further discussion of a report from each break-out session.
   The purpose of this part of the workshop was to revisit the small group discussions and generate
   additional ideas from other participants. The full group sessions were led by two moderators; the
   small group sessions were led by a single moderator.


   The workshops focused substantively on 14 small group discussions, covering 1) recreation, 2)
   energy, 3) agriculture and 4) mining (land use workshop); 5) water demands and supplies, 6)
   flood plains and drainage, and 7) water quality (water resources workshop); 8) threatened or
   endangered species, 9) habitat and 10) wetlands, (biological resources workshop); 11) historical
   and 12) archaeological resources (cultural resources workshop); and, 13) environmental justice
   and 14) economic effects (community impacts workshop). We selected these topics through
   discussions with CDOT and the project advisory group about key problems in regional CEA and
   issues relevant to our case study area, the Denver metropolitan region. The 14 small group
   discussions were each organized around a technical paper produced and distributed to
   participants prior to the workshop. These technical papers presented an overview of CEA issues
   for each topic and a list of data sources, models and metrics in current or potential use. Each
   technical paper was also distilled into a survey instrument – formatted as a chart - used by
   moderators to guide discussion and by participants to aid in the ranking of the utility of data,
   models and metrics.


   Workshop discussions were documented extensively. We recorded and later transcribed both
   small and large group sessions. The individual recorders for each session also took notes in
   longhand. Flipcharts used by moderators were transcribed. Finally, participants were asked to
   submit their own notes and rankings at the conclusion of each workshop. These materials were
   compiled and reviewed by project staff. We analyzed the results in three steps: 1) first-level
   screening of notes and other materials to identify points where discussion in the sessions
   converged on partial agreement about ranking of the utility of specific data sources, models and
   metrics; 2) second-level review of materials to identify areas of partial agreement among
   participants about issues in the organization of CEA on an area-wide and coordinated scale; and,
   3) additional review of materials related to salient issues emerging in discussion.
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   We present the framework for a regional accounting system as a set of tables placed in following
   sections of this report. These tables are organized around metrics that were identified in
   workshops as the most appropriate measures of cumulative effects. Each metric is associated in
   the table with its composite data sources, models or analytical methods, and thresholds where
   agreement about these could be reached in the workshop.


   3.3. Findings
   Over 100 metrics were reviewed in these workshops. Workshop participants selected 35 metrics
   as most suitable according to three criteria: (1) technical feasibility; (2) usefulness for project-
   level NEPA review; and, (3) usefulness in review of the regional transportation plan. Availability
   of data varies among resource areas. Historical data are not available for most of the resources
   reviewed in this project; current data are available for almost all of the resources; projected data
   are only available for a few resources. Within this patchwork of data availability, however, there
   is sufficient areawide coverage to provide a sufficient foundation for a spatial accounting system.
   Recommended analytical methods include buffers around transportation routes to describe
   affected areas; rules of thumb and factors to indicate the magnitude of potential effects; and
   spatial overlays of affected areas on resource extents to describe acres of affected resources.
   While these methods are simple they were considered adequate for a regional accounting system.
   This section of the report reviews the results of discussions at the 14 small group sessions
   concerning the overall utility of data, methods and metrics; how and where they should be used;
   and their implications for applicability of regional CEA.


   3.3.1. Land Use: Recreation, Agriculture, Mining and Energy
   The land use workshop was held on August 26, 2005 and included 33 participants.                 The
   workshop was organized around four discussion groups: recreation and open space, agriculture,
   mining and energy use. This section of the report focuses on the recreation discussion group
   because participants argued that this is an important emphasis for an areawide CEA. Prior to the
   workshop, participants were provided a discussion paper with background on key issues and a
   proposal for key metrics.




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   Data: Data sources for assessing cumulative recreational effects tend to be inconsistent and
   fragmented. Consistent, regional data sources include DRCOG’s open space GIS and state parks
   data. Otherwise, data sources describing local parks and open space are a patchwork, compiled
   separately by individual municipalities, counties and other jurisdictions. Participants pointed out
   that considerable work is required to collect these data and address inconsistencies.   Spatial data
   on mining activity are available from the United States Geological Survey, the State of Colorado,
   and local governments.


   Models: With respect to scope, participants in the recreational discussion pointed out the
   difficulties in defining geographical scope for recreational lands. For example, Denver-area
   residents travel long distances for recreation, which suggests that the scope of CEA should
   encompass the region if not the state. Participants also suggested that a regional CEA should
   encompass open space of all kinds as well as developed recreational lands, including dedicated
   public lands such as parks and private lands controlled by conservation easements. At the same
   time, participants emphasized the functional distinctions between recreational and open space
   lands in terms of user experience and activity. Participants noted four potentially negative direct
   impacts: noise, air pollution, water pollution and aesthetic experience. One potentially positive
   direct impact is improved access to recreational lands.       A variety of indirect impacts was
   discussed mostly linked to the effects of increasing accessibility on property values. Workshop
   participants agreed that models of environmental effect in an areawide CEA could be simple
   buffer overlays of proposed transportation routes on recreational and open space lands.


   The agriculture discussion group reviewed the Land Evaluation Site Assessment (LESA)
   modeling approach, which is well established for analysis of proposed farmland conversion in
   more rural areas of the state. However, LESA is not designed as a tool for a regional CEA
   analysis nor is it a tool for analyzing farmland removal from within an urban environment. No
   LESA-style analysis for the remaining farmlands within the Denver metro area is currently
   underway. Most importantly, LESA is not targeted to the kinds of specialty agricultural
   businesses such as floriculture, garden supply and organic farms that may be characteristic of the
   urban fringe. One participant pointed out that an economic input-output model may be suitable



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   for evaluating the role of agricultural processing, supply and specialty enterprises in regional
   economies.


   A number of sophisticated models for assessing the life cycle energy use and energy use impact
   of transportation systems were examined by the energy use discussion group.


   Metrics: Participants discussed a range of metrics related to recreation and open space (Table 2).
   These include conversion of private open space or agricultural lands, loss or increase of land
   values, fragmentation levels, and changes in air quality levels, change in noise levels, and change
   in the ratio of developed land to recreational and open space lands. Participants also suggested
   that a rating system should be developed to assess the value and type of recreational and open
   space land.


   Agricultural metrics for a regional analysis include SSURGO to identify the land’s potential for
   agriculture and CVCP to determine the baseline agricultural land use (Table 3). Foreseeable
   agricultural land use can be estimated from information sources such as zoning maps, regional
   plans and the associated documents. The SSURGO and CVCP data could also be used at the
   local and project scales. However, particularly at the project scale, more detailed, multi-factorial
   information will likely be required to provide the resolution necessary for comparison of
   alternative transportation project proposals.


   The mining discussion group reviewed metrics ranging from coal production to mineral mining.
   New aggregate mines and reclaimed land were considered to be the highest priority in the
   Denver area (Table 4). Metrics can include tons of production and acres of soil displacement,
   tailings or other activities. Aggregate mines provide construction materials for transportation
   projects. However, they also affect riparian habitat and function. In other parts of the region such
   as Weld County, oil and gas production may occur in urbanizing areas and cause conflicts with
   neighbors. Participants suggested that the urban conflict metrics should receive more discussion.




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                                    Table 2. Recreation and Open Space

   Metric Name Dataset Source        Analytical            Metric Description       Thresholds
                                     Methods
                                     Mosaic of                                        Proportional
                                     undeveloped land                                1 = >120%
   Undeveloped                       datasets;             Acres of undeveloped      2 = 110-120
   land per    CVCP,                 tabulation by         land per resident;        3 = 100-110
   resident    Assessor and          jurisdiction or       overall description of    4 = 90-100
               Parcel Records        neighborhood.         landscape openness        5 = <90%
                                                                                     Professional
                                                                                     standards
                                                                                     (e.g.,
                                 Mosaic of local           Acres per resident;       American
                                 parks data;               describes developed       Planning
                  Various county tabulation by             and organized             Association);
   Sports field   and city       jurisdiction or           recreational              local planning
   area           datasets       neighborhood.             opportunities             guidelines
                                                                                     Professional
                                                                                     standards
                                 Mosaic of local                                     (e.g.,American
                                 parks data;               Acres per resident;       Planning
   Neighbor-      Various county tabulation by             describes recreational    Association);
   hood park      and city       jurisdiction or           opportunities for         local planning
   area           datasets       neighborhood.             families with children    guidelines
                                                           Acres of dedicated        Proportional
                  CVCP,              Mosaic of open        open space lands and      1 = >120%
                  DRCOG open         space data;           conservation easements 2 = 110-120
                  space data,        tabulation by         per resident; describes   3 = 100-110
   Open space     county and city    jurisdiction or       availability of           4 = 90-100
   area           datasets           neighborhood.         protected open space      5 = <90%
                                                                                      Proportional
                                  Trail network                                      1 = >120%
                                  measurement;             Miles per resident;       2 = 110-120
   Hiking/        Various county tabulation by             describes availability    3 = 100-110
   biking trail   and city        jurisdiction or          of hiking and biking      4 = 90-100
   length         datasets        neighborhood.            recreation                5 = <90%
                                  Surveys and                                        Local, state
                                  compilation of           Acres affected at         and federal
                                  survey data;             different decibel levels; statutory
                  State and local tabulation by            describes noise impacts thresholds
                  noise           jurisdiction or          on recreational
   Noise levels   assessments     neighborhood             experience




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   Table 2. Continued

   Metric Name Dataset Name       Analytical             Metric Description       Thresholds
                                  Methods
                   Various county Buffer or network                                Proportional
                   and city       measures;                                       1 = >120%
                   datasets; US   tabulation by          Population within 15     2 = 110-120
                   Population and jurisdiction, sub-     minute drive of          3 = 100-110
   Open space      Housing        region or              contiguous open space;   4 = 90-100
   accessibility   Census         neighborhood           accessibility measure    5 = <90%
                   Various county Buffer or network                                Proportional
                   and city       measures;                                       1 = >120%
                   datasets; US   tabulation by          Population within 15     2 = 110-120
                   Population and jurisdiction, sub-     minute drive of          3 = 100-110
   Trail           Housing        region or              continuous trails;       4 = 90-100
   accessibility   Census         neighborhood           accessibility measure    5 = <90%
                   Various county                                                 Professional
                   and city                                                       standards
                   datasets; US   Buffer or network                               (e.g.,
                   Population and measures;                                       American
                   Housing        tabulation by          Population within 15     Planning
   Neighbor-       Census         jurisdiction, sub-     minute walk of a         Association);
   hood park                      region or              neighborhood park;       local planning
   accessibility                  neighborhood           accessibility measure    guidelines

                                        Table 3. Agriculture

   Metric Name Dataset Name        Analytical            Metric Description       Thresholds
                                   Methods
   Irrigated       CVCP            Reclassification,     Total Acres, Maximum     Not applicable
   Agriculture                     time-series           Size, Minimum Size,
   Class                           analysis              Average Size, Modal
                                                         Size
   Agriculture     CVCP            Reclassification,     Total Acres, Maximum     Not applicable
   Class (not                      time-series           Size, Minimum Size,
   irrigated)                      analysis              Average Size, Modal
                                                         Size
   Prime           SSURGO          Mosaic,               Total Acres, Maximum     Not applicable
   Farmland                        reduction,            Size, Minimum Size,
                                   reclassification,     Average Size, Modal
                                   time-series           Size
                                   analysis
   Agricultural    Zoning maps     Digitizing,           Total Acres, Maximum     Not applicable
   Zoning                          scanning, mosaic,     Size, Minimum Size,
                                   selection, time-      Average Size, Modal
                                   series analysis       Size
                                                20
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                                            Table 4. Mining

   Metric Name Dataset Name          Analytical           Metric Description         Thresholds
                                     Methods
   New                               Mosaic of                                       Not identified
                    USGS; local
   aggregate                         aggregate mining     Acres                      - important for
                    data
   mines                             datasets                                        riparian areas
                                     Mosaic of                                       Not identified
   Reclaimed        USGS; local
                                     reclaimed land       Acres, acre/acre)          - important for
   land             data
                                     datasets                                        riparian areas



   The energy use discussion group reviewed a variety of metrics such as per capita transportation
   use and transportation use by mode. Participants were skeptical about the feasibility of
   developing metrics on energy consumption and utilization that would be practical at the NEPA
   project level.


   Regional Accounting: Overall, participants were strongly positive about the utility of a regional
   accounting system related to recreation and open space. They agreed that spatial data, models
   and metrics could become fundamental project-level assessment tools for determining baseline
   conditions, tracking on-going changes, assessing regional change, and linking project-level and
   regional metrics. They also agreed that cumulative analysis of recreation and open space would
   be useful in development of the four-year transportation plan. However, participants emphasized
   several qualifications. First, regional accounts should be based on a functional rating system of
   recreation and open space uses. Second, regional accounts should be used as a vehicle to more
   fully incorporate community values and the outcomes of local planning processes into regional
   transportation planning, and vice versa. The level of commitment to these plans by local
   jurisdictions should also be taken into account. Some workshop participants also pointed out
   that there is no longer a substantial amount of cultivated agricultural land in the transportation
   planning area and mining is not a major NEPA topic for transportation agencies.


   The discussion group focusing on transportation system energy use agreed that the
   environmental effects of energy use are significant. There was consensus that methods to track
   and reduce energy consumption should be researched further. It is unclear how regional
   accounting for energy use could be incorporated into the NEPA process, however. Participants
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   in the session were considerably more optimistic about use of energy metrics at the
   transportation planning level.


   3.3.2. Water Resources: Supplies and Demands, Floods and Drainage, Quality
   The water resources workshop was held September 30, 2005 and included approximately 30
   invited participants representing several state, federal and local agencies and various consultants,
   as well as representatives from CU Denver. The participants were divided into three breakout
   groups following introductions and a project overview. In the breakout sessions they discussed
   issues pertaining to CEA for three areas of potential impacts, 1) water supply and demand, 2)
   floods and drainage, and 3) water quality. Participants were earlier provided with a draft
   document on water resources metrics and a short questionnaire requesting feedback on the
   various metrics in terms of data availability, assessment methods and models, relevance of the
   metrics, thresholds of significance, and the prospects for regional CEA.


   There was a number of water supply and demand metrics that were rated highly relevant (Table
   5). However no single metric alone was considered useful for water supply and demand CEA.
   Rather, a comprehensive accounting of the various factors comparing water supply versus
   demand was considered to be required. The following sections summarize the important features
   as identified by the workshop participants.


   Water Supplies and Demands


   Data: Water supplies and demands data are generally available from the various water providers;
   particularly Denver Water, the Northern Colorado Water Conservancy District (NCWCD) and
   local water districts. The Denver Regional Council of Governments collects and summarizes
   supply-demand data of various kinds for the Denver metropolitan region. Also, the Colorado
   Division of Water Resources is currently involved with a Statewide Water Supply Initiative
   (SWSI, (CWCB, 2005)) directed to identifying water supply options to meet increasing demands
   for the various river basins of the state. Data on supplies and demands are developed with
   considerable effort by these agencies. However, there does not seem to be a central repository of
   location-specific data on supplies and demands that can be readily collated across the region. The


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   data reside with the various providers and it was considered to be a significant task to request,
   obtain and collate, and maintain these data for purposes of areawide CEA.


   Metrics: A number of water supply and demand metrics were rated highly relevant. In Table 5
   are listed some fifteen (15) metrics for overall accounting and specific components of the water
   supply and demand comparison. These include an overall accounting comparison of supplies
   versus current and projected demands, various components of supply (e.g., surface and
   groundwater), and water conservation measures of various kinds. Some of the metrics could be
   used to portray impacts in source river basins which would extend the geographic scope of
   assessment (e.g., source basin diversions and flow depletions). No single metric alone was
   considered useful for water supply and demand CEA. Rather, a comprehensive accounting of the
   various factors comparing water supply versus demand was considered to be required.


   Models: The water providers (esp. Denver Water) have developed and maintain complicated
   water supply and demand accounting models that reflect source water collections, treatments and
   deliveries. There are other versions of regional water supply and demand accounting models
   under development. However, these are major activities involving stakeholder involvement, and
   complex water balance accounting across multiple river basins and water user scenarios. Also,
   water supply versus demand accounting is complicated by variability in supply from year to
   year, water rights administration and changes in water rights (e.g., transfers from agricultural
   uses to municipal uses). It was felt that such complications make modeling of water supply and
   demand too difficult for transportation CEA purposes.


   Thresholds: No fixed thresholds were identified for the water supplies and demands resource.
   We portrayed possible thresholds using proportional scaling over a range of metric values.
   Participants did not rate the relevance of these thresholds highly. The reason for the low ratings
   of relevance seemed to be that the participating agencies did not see how transportation project
   influences could be separated from overall population growth and associated land development.
   They saw limited application of the water supplies and demands metrics for transportation CEA.




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                            Table 5. Water Resources – Supplies and Demands

    Metric Name      Dataset Name     Analytical           Metric Description        Thresholds
                                      Methods
    Water supplies   USGS,            GeoDb                Amount of water           WS/WD:
    compared to      Denver           compilation;         withdrawn for water       1 = >120%
    water            Water, water     Time series          supply, by source –       2 = 110-120
    demands –        providers,       analysis; GIS        time series and %         3 = 100-110
    ratio            CWCB/SWSI        displays.            change (+/-) normalized   4 = 90-100
    (WS/WD)          ; difficult to   Comprehensive        by demands. Time          5 = < 90%
                     collate          comparison of        series of deliveries,
                     various          supplies and         totals and by source; %
                     sources with     demands quite        change (+/-)
                     demands.         complicated.
    Total water      DRCOG,           Geo database         Indicates magnitude of    TWD %
    demand           Denver           compilation, time    water use over time and   change:
    (TWD)            Water, water     series statistics,   forecasts to 2030. %      1 <= 0%
                     providers,       GIS displays         change based on time      2 = 0 - 5%
                     CWCB-                                 series; Map display of    3 = 5 -10%
                     SWSI.                                 TWD & % change at         4 = 10 - 20%
                                                           time increments           5 = >20%
    Water            DRCOG,           Geo database         Percent of total water    WC%:
    conservation –   Denver           compilation,         supply which is           1=30%
    amount           Water, water     Tabulation of        conserved; higher         2=20to10%
    conserved        providers;       types and            conservation reduces      3=10to5%
    (WC)             forecast to      amounts; WC%=        overall demands. Map      4=5to2%
                     2030?            WC/TWD*100;          display of WC%            5=<2%
                                      GIS displays
    Surface water    USGS,            GeoDb                Amount of water           SWS %
    supply by        Denver           compilation;         withdrawn for water       change:
    source (SWS):    Water, water     Time series          supply, by source. –      1=<0%,
                     providers,       analysis; GIS        time series and %         2=0-5%,
                     CWCB/SWSI        displays             change (+/-).Time         3=5-10%,
                                                           series of deliveries;     4=10-20%,
                                                           totals and by source; %   5=>20%
                                                           change (+/-)
    Groundwater      USGS,            GeoDb                GW levels indicate the    GWL change:
    levels (GWL):    DRCOG,           compilation,         state of remaining        1=<20,
                     Denver           Time series of       supplies from the         2=20-50,
                     Water, water     water levels &       aquifer; decreasing       3=50=100,
                     providers,       statistics - %       levels indicate supply    4=100-250,
                     CWCB/SWSI        change (+/-); by     depletion. GIS maps of    5=>250
                                      source and           drawdown areas [ft]
                                      indicator wells.



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   In general, water supplies and demands were rated highly relevant to areawide CEA in
   recognition of their importance to sustaining economic and environmental values in Colorado.
   However it is not evident that transportation projects singly and throughout a region can be
   identified as primary factors in generating water demands, or that transportation projects’ effects
   can be separated from the overall mix of activities leading to water demand increases.


   Flood Runoff and Drainage


   Data: Data on flood runoff and drainage works are generally available from the agencies
   responsible for flood damage mitigation. In the Denver metro region the Urban Drainage and
   Flood Control District (UDFCD) has responsibility for coordinating the planning, design and
   construction of drainage works which cross multiple jurisdictions. The UDFCD conducts
   watershed studies which project future land use changes and resultant flood runoff impacts; data
   for these studies are usually found in the watershed reports and are not readily available in a
   coherent manner across the region. The Federal Emergency Management Agency (FEMA)
   sponsors and coordinates the development of flood plain inundation maps used to regulate
   building in threatened areas. These maps, although variable in quality and not uniformly up to
   date, are readily available. Indeed, the FEMA flood inundation maps are a primary concern with
   transportation project designs which seek to avoid incursion into designated floodways.
   Watershed data of various kinds are readily available from federal GIS data repositories. For
   example, the U.S. Geological Survey (USGS) maintains and distributes digital elevation, land
   use and stream hydrography data which can be used to model watershed flood runoff. The
   National Weather Service (NWS) also has watershed data developed to support their flood
   warning operations. Other data supportive to modeling flood hydrology are readily obtainable for
   download. For example, soils data are obtainable from the USDA Natural Resources
   Conservation Service (NRCS).


   Metrics: A number of metrics were proposed for characterizing flood runoff and drainage
   impacts (Table 6 and Appendix 1). These ranged from floodplain proximity and encroachment,
   flood runoff quantity, impervious surfaces associated with urbanization, and channel erosion.
   Floodplain encroachment is a primary concern in design of transportation facilities and is
   effectively mitigated. Flood runoff increases are driven by increases in impervious surfaces
                                                   25
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                                Table 6. Water Resources – Floods and Drainage

    Metric Name     Dataset           Analytical             Metric Description         Thresholds
                    Name              Methods
    Urban and       USGS,             GeoDb                  Flood flows – peaks and    1=<5%,
    highway         DWR,              compilation, GIS-      volumes for past,          2=5-10,
    runoff          UDFCD             55 model has           current and future         3=10-20,
    quantity                          demonstrated           conditions – at selected   4=20-30,
    (URO):                            computation of         locations. Flood peaks     5=>30%
                                      flood peaks            as % increase from base
                                                             line.
    Impervious      USGS,             GeoDb                  Urbanization results in    1=<5%,
    lands (IMP):    satellite         compilation,           increased impervious       2=5-15,
                    imagery           image processing,      surfaces; associated       3=15-25,
                                      image statistics       with increased flood       4=25-40,
                                                             runoff and water           5=>40%
                                                             pollution. Impervious
                                                             areas as % of total area

   associated with urbanization. Impervious surface area (or % of area) was the highest rated
   metric.


   Models: A wide variety of flood runoff models are available and used for transportation project
   planning and design. The Driscoll model (Driscoll, et. al., 1990) was developed for the FHWA
   and is a widely used method; it also accounts for pollutants in highway runoff. The Purdue
   University Long Term Hydrologic Impact Assessment (LTHIA) model (Engel, 2001) is another
   example of a computer simulation model which accounts for flood runoff changes with land use;
   it also accounts for water pollutants.


   Thresholds: Flood runoff and drainage were rated highly relevant to transportation projects and
   regional CEA in recognition of the influence that highways have on flood runoff due to increases
   in impervious surfaces (Table 6). Secondary growth influences of highways leading to residential
   and commercial development also increase impervious surface areas and can lead to increases in
   flood runoff in comparison to natural conditions. Here, it is possible to separate out the influence
   of highways from other land uses and secondary growth in the vicinity of a project and at the
   local scale (e.g., watershed). The influences of impervious surface increases on flood runoff
   were considered relevant and can be modeled using any number of standard methods. A distinct
   threshold based on impervious area is described in the water quality section below.
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   Regional Accounting: Flood runoff is routinely accounted for in a watershed. The size of the
   watershed may range from a large area conveying runoff for an entire region, to a small sub-
   basin which is a part of the larger watershed. Therefore the scale of hydrologic analysis can vary
   depending on the location(s) of concern. For example, the drainage area contributing runoff to a
   particular transportation project comprised can be defined for just that project. Then the
   contribution of the project to changes in impervious area of the drainage area can be tabulated
   and the influence of the project on flood runoff can be determined. For regional accounting the
   collection of sub-basins comprising the overall area can be identified at some scale; perhaps
   equivalent to the scale of the project-specific watershed. Then the influence of multiple
   transportation projects and secondary land use changes can be determined for each sub-basin;
   and results for the region can be tabulated using statistical summarization of the sub-basins
   responses to the changed land uses. This approach is demonstrated for the water quality case
   study in Section 4 of this report.


   Water Quality

   Data: Information on the status of water quality for Colorado rivers resides primarily with the
   Colorado Department of Public Health and the Environment (CDPHE). The CDPHE is
   responsible for water quality assessments and classifications, and managing processes for
   maintenance and improvement. They coordinate these activities with the U.S. Environmental
   Protection Agency. Their information is readily available via download from internet databases
   and includes the stream classifications and status reports. The DRCOG coordinates with the
   CDPHE for water quality management in the Denver metropolitan region through the conduct of
   Total Mass Discharge Loading (TMDL) studies for streams in the region. Ancillary data on land
   use and vegetative cover, watersheds and drainage networks are available from the USGS,
   NRCS, EPA and other agencies, and are also generally available through Internet download from
   these public agencies.



   Metrics: Water quality concerns were rated as the most relevant of the three water resources sub-
   fields. The highest rated metric for water quality was impervious surface area increases
   associated with transportation projects and secondary growth (Table 7). A variety of methods are

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   applied for assessing threats to water quality, ranging from relatively simple accounting of water
   quality factors to complicated biochemical process simulation models. A prime example of a


                                 Table 7. Water Resources – Water Quality

   Metric Name      Dataset Name      Analytical           Metric Description         Thresholds
                                      Methods
   Impervious       Land use data     GeoDb                Urbanization results in    Proportional
   lands (IMP)      (USGS,            compilation,         increased impervious       1 = <5%,
                    counties,         image processing,    surfaces; assoc. with      2 = 5-15,
                    cities),          image statistics;    increased flood runoff     3 = 15-25,
                    satellite         methods based on     and water pollution.       4 = 25-40,
                    imagery;          land use or          IMP is % of total area;    5 = >40%
                    current and       population           apply for watersheds in
                    forecast.         density.             vicinity of projects and
                                                           entire region.
   Water            CDPHE             CW Act, Sect.        Clean Water Act            Regulatory:
   Quality          listing of        303(d) segments;     Section 303(d)             Number of
   Listing          impaired and      GIS map of           Segments – State           segments and
   (WQ303(d))       threatened        stream segments      Priority Data identify     status
   and WQ           waters;           with                 segments that are WQ       tabulation over
   Assessments      DRCOG             classifications.     limited, use protected     time; length
   (WQ305(b))       summaries.        305(b) stream        and no degradation;        and %
                    CDPHE             status               also CDPHE                 supporting
                    Integrated        categorization       monitoring and             designated use;
                    Reports (IR)      data are available   evaluation (M&E) lists.    complied by
                    categorization    in GIS formats                                  CDPHE/DRC
                    of designated     keyed to river                                  OG.
                    (beneficial)      segments.
                    uses.

   simple accounting method is that for impervious services (Brabec, et. al., 2002). It is widely
   recognized that increased urbanization has resulted in increased amounts of impervious surfaces
   – roads, parking lots, roof tops, etc. – and a decrease in the amount of forested lands, wetlands
   and other forms of open space that absorb and clean storm water.

   Models: Impervious surfaces are also readily estimated using GIS databases and remote sensing
   image processing (Yang, et. al.., 2003) and it is possible to separate transportation project effects
   from other land use changes, at least for local watersheds within which highway projects occur.
   GIS-based water quality models which link land use (with impervious surfaces) and estimate

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   non-point water quality of runoff are well established as assessment and planning tools to
   identify general trends in water quality for a specific watershed (Engel, 2001). There are two
   kinds of models available for TMDL process, receiving water quality models and watershed
   models that can assess the impact of pollutant loadings on the water body. A specific model is
   selected based on the model’s capabilities to simulate the site-specific physical, hydrological and
   water quality features of interest. An example of a receiving water quality model is the River and
   Stream Water Quality Model (QUAL2K) (http://www.epa.gov/athens/wwqtsc/html/qual2k.html)
   which simulates the conventional pollutants (nitrogen, phosphorus, dissolved oxygen, BOD,
   sediment oxygen demand, algae), pH, periphyton, and pathogens.           Watershed models have
   capabilities of deriving pollutant loadings from both point and non-point sources. An example of
   a watershed model is the Better Assessment Science Integrating Point and Non-point Sources
   (BASINS) (http://www.epa.gov/waterscience/basins). BASINS is a watershed model that
   integrates data and assessment tools in a customized GIS environment for performing water
   quality analysis. The GIS provides the integrating framework for BASINS by organizing spatial
   information, such as land use, highways, and point source discharge locations, so that it can be
   displayed as maps, tables, or graphics. Existing and future land use data are used in the BASINS
   model to assess potential changes in annual phosphorus loading and cumulative impacts from
   alternatives.


   Thresholds: Thresholds of impervious area as a percentage of a watershed have been identified
   and used as general indicators of the threat to water quality of a specific watershed. A seminal
   study by Schueler (1994) cited eleven studies as evidence that stream quality declines at 10 to 15
   percent imperviousness. There seems an acknowledged relationship between impervious surfaces
   and the quality of runoff originating from those surfaces (e.g., Arnold and Gibbons, 1996;
   Brabec, et. al, 2002). Several factors caution against a strict adherence to imperviousness ratio
   but there is strong evidence in the literature and wide adoption of this relatively simple measure
   by planning agencies. For example, GIS-based impervious cover tabulations have been used to
   evaluate the performance of the Delaware Water Resources Protection Area (WRPA) ordinance
   (Kauffman, et al. 2006); new development has been restricted to less than 20 percent impervious
   cover to protect water supplies. The monitoring and evaluation listing of impaired waters of the
   CDPHE was developed to address regulatory requirements of the Clean Water Act and the U.S.

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   Environmental Protection Agency, and it provides a useful means to track the state of a region’s
   water quality over time. However, these listings are not considered amenable to detailed ACCEA
   assessments for a collection of transportation projects and other urban development.


   Regional Accounting: Although conceptually possible, it is not clear that impervious surface
   runoff quality effects on specific water segments can be tracked for an entire region given the
   complicating factors of stream assimilative capacity, multiple inputs changing over time,
   complicated water balance and biochemical reactions, and other complicating factors. Models of
   water quality which can be applied across a region were considered too difficult and expensive to
   develop and apply in a reliable manner acceptable to regulatory authorities. Water quality models
   are typically used as part of TMDL (Total Mass Discharge Loading) planning procedures which
   are on-going in ten (10) Denver metro region watersheds. However, TMDL planning activities
   which are coordinated by the DRCOG are significant efforts involving various stakeholders and
   regulatory authorities, data collections and assessments. The results of TMDL activities are
   relevant to regional CEA concerns but are considered too time consuming, complicated and
   expensive for general application. The monitoring and evaluation listing of impaired waters of
   the Colorado Department of Public Health and the Environment (CDPHE), which was developed
   to address regulatory requirements of the Clean Water Act and the U.S. Environmental
   Protection Agency, also provides a useful means to track the state of water quality of a region’s
   waters over time.

   3.3.3. Biological Resources: Threatened and Endangered Species, Habitat and
      Wetlands
   The biological resources workshop was held on October 28, 2005 and included 30 invited
   participants representing several state and federal agencies as well as representatives from CU-
   Denver and Health Sciences. The participants were divided into three breakout groups following
   general introductions and a project overview, where they discussed issues relevant to CEA of
   threatened and endangered species (T&E) (species of concern that were not Federally listed were
   also discussed), habitat/plant communities, and wetlands. Participants were earlier provided with
   readings and at the workshop were provided with a questionnaire covering some of the issues
   discussed in the workshop. Critical to the project, were discussions that focused on data, metrics,


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   models, thresholds, and regional accounting. The following sections relate what workshop
   participants felt were important features for each of these categories.


   Data: One of the primary objectives of the Biological Resources Workshop was to identify
   relevant data that is relatively easy to obtain and incorporate into a GIS. Table 8 lists the datasets


                                 Table 8. Biological Resources – T&E Species

   Metric Name       Dataset Name      Analytical           Metric Description         Thresholds
                                       Methods
   Preble’s           Input data       GIS analysis;        Acres per class;            Current
   meadow            based on          temporal/spatial     connectivity index;        condition (no
   jumping           model             modeling; HSI        count by size class        loss)
   mouse             parameters
   bald eagle        CNHP;             GIS analysis;        Counts; distribution;       Current
   nest sites        NDIS; local       temporal/spatial     proximity to food          condition (no
                     surveys; land     modeling; HSI        sources                    loss)
                     use plans
   black-tailed       Input data       GIS analysis;        Acres per class             Carrying
   prairie dog       based on          temporal/spatial     connectivity index;        capacity of
                     model             modeling; HSI        count by size class        managed units
                     parameters
   burrowing         CNHP;             GIS analysis;        Counts; distribution;      TBD
   owl               NDIS; local       temporal/spatial
                     surveys; land     modeling; HSI
                     use plans
   ferruginous       CNHP;             GIS analysis;        Counts; feeding habitat    TBD
   hawk              NDIS; local       temporal/spatial     area and distribution
                     surveys; land     modeling
                     use plans
   plains sharp-     CNHP;             GIS analysis;        Counts; habitat area       Carrying
   tailed grouse     NDIS; local       temporal/spatial     and distribution           capacity of
                     surveys; land     modeling                                        managed units
                     use plans
   northern          CWS               Surveys              Counts                     No loss of
   redbelly dace                                                                       habitat?
   Colorado          CNHP; land        GIS analysis of      Counts; habitat area;      TBD
   butterfly         use plans         habitat; counts;     habitat distribution
   weed
   Ute ladies        CNHP; land        Data gathering       Counts; habitat area;      TBD
   tresses           use plans         stage                habitat distribution
   Bell’s            CNHP; land        Data gathering       Counts; habitat area;      TBD
   twinpod           use plans         stage                habitat distribution

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   that were initially considered as fulfilling the needs of a regional CEA. For threatened and
   endangered species (Federally listed) and other species of concern, the workshop participants
   identified data from the Colorado Natural Heritage Program (CNHP), the Natural Diversity
   Information Source (NDIS), and Colorado Division of Wildlife (CDOW) as important (other
   data is also listed in Table 8). Data on habitat/plant communities includes CNHP, the Colorado
   Vegetation Classification Project (CVCP), the Colorado Division of Wildlife’s riparian
   vegetation mapping project, among others (Table 9). And finally, wetlands data, which includes
   U.S. Army Corps of Engineers (USACE) Section 404 permit points, the Soil Survey Geographic
   (SSURGO) database, National Wetlands Inventory (NWI), and the Colorado Department of
   Transportation (CDOT) (Table 10).


                        Table 9. Biological Resources – Habitat/Plant Communities

   Metric Name      Dataset Name    Analytical            Metric Description        Thresholds
                                    Methods
   Prairie area     CNHP;           GIS analysis;         Total area of prairie;    1=<=0%
   dynamics         CVCP; weed      temporal/spatial      average, modal,           2=1-5%
                    surveys         modeling              minimum, maximum          3=5-10%
                                                          patch size;               4=10-20
                                                          connectivity;             5=>20%
                                                          perimeter/area ratio
   Xeric and        CNHP;           GIS analysis;         Total area of prairie;    1=<=0%
   Mesic            CVCP;           temporal/spatial      average, modal,           2=1-2%
   Tallgrass        Boulder         modeling              minimum, maximum          3=2-3%
   Prairie          County; weed                          patch size.               4=3-4
                    surveys                                                         5=>4%
   Plains           CNHP;           GIS analysis;         Total area; average,      1=<=0%
   Cottonwood       CVCP;           temporal/spatial      modal, minimum,           2=1-5%
   Riparian         riparian        modeling              maximum patch size.       3=5-10%
   Woodland         vegetation                                                      4=10-20
                    mapping;                                                        5=>20%
                    weed surveys
   riparian shrub   CVCP;           GIS analysis;         Total area; average,      1=<=0%
   and              riparian        temporal/spatial      modal, minimum,           2=1-5%
   herbaceous       vegetation      modeling              maximum patch size        3=5-10%
   communities      mapping;                                                        4=10-20
                    weed surveys                                                    5=>20%




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                                Table 10. Biological Resources – Wetlands

   Metric Name      Dataset Name     Analytical           Metric Description         Thresholds
                                     Methods
   Regulated      USACE Sec.         GIS analysis;        Acres, maximum,            1=<=0%
   wetlands       404 permit         temporal/spatial     minimum, average,          2=1-2%
                  points;            modeling; photo      modal; count, count;       3=2-3%
                  SURGO;             interpretation;      frequency table;           4=3-4
                  Boulder Cnty       remote sensing       temporal change            5=>4%
                  GIS; Riparian
                  vegetation,
                  CVCP, NWI;
                  USGS; land
                  use plans
   Unregulated    SURGO;             GIS analysis;        Acres, maximum,            TBD
   wetlands       Boulder Cnty       temporal/spatial     minimum, average,
                  GIS; Riparian      modeling             modal; count, count;
                  vegetation,                             frequency table;
                  CVCP, land                              temporal change CDOT
                  use plans                               Policy is no net loss
   Built wetlands USACE;             GIS analysis;        Acres, maximum,            not applicable
                  CDOT;                                   minimum, average,
                  Ducks                                   modal; count, count;
                  Unlimited?                              frequency table;
                                                          temporal change
   Regulated        SURGO;           GIS analysis,        Acres; acres connected     1: =0%
   wetlands         Habitat maps,    temporal/spatial     to riverine; acres         2: >0 – 1%
   connected to     flood zone       modeling             connected to lacustrine;   3: >1 – 3%
   riverine and     maps,                                 temporal change            4: >3 – 5%
   lacustrine       hydrological                                                     5: >5%
   systems          maps
   Water quality    CDPHE            GIS analysis,        Sediment, nutrient,        TBD
   mitigation       impairment       temporal/spatial     toxicant retention.
   function class   data. EPA?       modeling             Removal of sediment,
                    Effects of                            nutrient, toxicant from
                    planned                               water inflow source
                    infrastructure
                    on
                    impairment,
                    land use plans




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   Table 10. Continued.

    Metric Name       Dataset Name    Analytical         Metric Description         Thresholds
                                      Methods
    Floodwater        Urban           GIS analysis,      Floodwater                 TBD
    retention         Drainage and temporal/spatial      retention/attenuation
    function class    Flood           and system         Groundwater recharge.
                      Control.        models (capacity   Sediment control,
                      Riparian        to reduce flow,    stabilization of banks
                      Vegetation      floodwater         Flood conveyance
                      Classification. retention,
                      Floodplain      groundwater
                      mapping.        recharge)
                      Wetland
                      mapping
    Habitat           T&E species                        Waterfowl feeding and      TBD
    function class    surveys,                           nesting
                      trapping data                      Feeding, resting,
                      Riparian                           reproductive habitat for
                      Vegetation                         upland and wetland
                      Classification,                    species
                      weed surveys,                      Fish habitat
                      land use plans
    Human utility     Recreational    User surveys;      Scenic beauty              TBD
    class             user and use    use monitoring;    Recreation
                      surveys,        economic
                       land use       models;
                      plans           temporal/spatial
                                      models

   Note: TBD = to be determined.

   Metrics: A variety of metrics were discussed as being potentially useful in regional CEA. In the
   T & E breakout group such measures as connectivity measures, acres per class, habitat area, core
   habitat area, habitat perimeter, and habitat distribution were suggested as possibly being
   valuable. In the Habitat/Plant Communities session, total area of prairie, patch size, and
   connectivity were among those suggested. Wetland mitigation by wetland “banking” is a viable
   strategy for offsetting the impact of transportation projects. Wetland type and wetland function
   do not necessarily correlate, and CDOT is working on a functional assessment methodology
   similar to the “Montana Method.” Participants in the wetlands session discussed a number of
   metrics for regulated wetlands, unregulated wetlands, built wetlands, and several others. A few


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   of the metrics discussed by the participants includes area, area connected to riverine, area
   connected to lacustrine, and flood water retention.


   Models: Models suggested by workshop participants were largely limited to habitat suitability
   index models (HSI) in the T and E session. These models are used to identify where suitable
   habitat areas are located within the Front Range study region. Habitat suitability models should
   be developed using the Model Builder tools in the Environmental Systems Research Institutes’
   (ESRI) ArcGIS and can incorporate some of the datasets mentioned above. The habitat and
   wetlands groups supported the idea of using temporal/spatial modeling utilizing available data
   and GIS.


   Thresholds: Thresholds for each of the resource areas covered by the workshop were discussed
   in the general session and also in the individual breakout groups. Follow-on conversations with
   individual participants, CDOT personnel, and other experts after the workshop also contributed
   to the thresholds listed below. The Threatened and Endangered species group looked specifically
   at species found within the study region including Preble’s meadow jumping mouse (Preble’s),
   black-tailed prairie dog (BTPD), and several others listed in Table 8. Because Preble’s is a
   threatened species, current condition is the threshold (e.g., habitat). The black-tailed prairie dog
   is not federally listed but is a state species of concern; therefore, its status in the region is
   considered important. The threshold for BTPD is recommended as the carrying capacity of
   managed populations. Other species, as indicated in Table 8, have thresholds that are yet to be
   determined. Habitat thresholds have been established as a range of percentages (Table 8), while
   wetlands sessions discussions suggested that thresholds for most categories would have to be
   determined at a future date.


   Regional Accounting: The establishment of models such as the HSI models may provide a
   mechanism for regional accounting of habitat for individual species. Habitat may be enhanced
   and a viable population may be transplanted or introduced into suitable and unoccupied habitat if
   available. Long-term survival of the BTPD is probably dependent upon the location of suitable
   habitat in open space within each of the counties where the populations can be properly
   managed.


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   3.3.4. Cultural Resources: Historical and Archaeological
   Data: The SHPO's Cultural Resources database is not comprehensive but rather cumulative of
   survey results that are mainly project-specific. Some parts of the database have been generated
   by local programs that aim for comprehensiveness within a geographical area; others were
   generated by thematic studies or through advocacy efforts. There was some discussion of the
   desirability of a genuinely comprehensive survey effort. This may be appropriate within limited
   areas affected by multiple projects. But workshop participants generally acknowledged that the
   database does not provide systematic continuous coverage and is unlikely to do so in the future.


   In addition to SHPO, there are other data sources not used widely in the historic preservation
   community that do provide more-or-less systematic coverage of various historical dimensions.
   One key example is the date of construction (“yearbuilt”) attribute attached to most structures by
   county assessors. Other possible examples include dates of subdivisions; water resources such as
   ditches and reservoirs; mining claims; land withdrawals from the public domain; mapping of
   railroads and streetcar lines; historical land-use data; centennial farms, ranches and businesses.
   None of these are substitutes for Cultural Resource Surveys. To the extent that they are
   systematic and may be converted into GIS, they may be useful in the scoping stage of project
   evaluation. One workshop participant described the ease of drawing APE (Area of Potential
   Effects) boundaries for cultural resources by using assessors' construction dates, which showed
   areas of uniformly new development as well as the extent of historical nodes that appeared
   related to the project corridor.


   There may be important opportunities for inter-agency agreements in the cultural resources area.
   Participants commented, for example, that a data-sharing agreement between SHPO and CDOT
   would be useful. Data-sharing agreements could also be forged between these state agencies and
   local jurisdictions. These could be used to roll-up community-level data collection efforts into a
   statewide database. There are significant obstacles to the implementation of the state-local data-
   sharing agreements, however. The standards and forms of local designations and surveys may
   vary from state and national standards. These divergent standards would need to be resolved into
   a consistent framework.



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   Models: Participants commented that direct impacts of highway projects on historic resources are
   addressed by current rules and practices. The introduction of Section 106 helped to reduce
   highway impacts by requiring more landscaping and routing highways around communities. A
   number of participants also commented, however, about the importance of indirect and
   cumulative effects analysis.      In particular, cumulative effects of roads and associated
   development may have a strong negative influence on the quality of cultural resources. For
   example, noise impacts of multiple roads, visual changes in the character of urban settings, and
   increasing density all may contribute to declining quality of cultural resources. In addition,
   participants commented that a robust assessment of such effects would include assessments of
   the economic and social viability of communities. Economic impacts include a variety of
   measurable factors such as property value, business viability, jobs and investments. On the
   negative side, for example, real estate investors may be discouraged from purchase and
   renovation of structures in historic districts during the construction phase of road development.
   On the positive side, highways bring life and growth back to historical towns. While these
   impacts are difficult to model, some may be captured through buffers.


   Metrics: Table 11 describes the cultural resource metrics that were considered to be a high
   priority by the workshop participants. The concept of measurable thresholds for acceptable
   impacts on a regional basis was controversial in the workshop because of the uniqueness of
   cultural resources.   A district, building, or site cannot be assumed equivalent to another.
   However, within defined classes of resource and defined geographical areas, thresholds,
   indicators or other metrics may be useful in evaluating impacts. For example, within a corridor
   or a valley, knowing whether an affected property is the last dairy farm or early-era motel court -
   or only one of a hundred - could be helpful even if not necessarily conclusive. This is part of the
   CRM concept of historical or archaeological context.


   Regional Accounting: Participants in the workshop emphasized that review of impacts on
   historic resources is inherently site-specific because it depends on the historic character of each
   property and its character-defining features. Some were reluctant to consider historical and
   archaeological features in terms of general values that could be quantified across regions or
   compared between sites. There were also comments about the general reluctance of the historic

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   preservation community to use GIS. One participant privately noted that "historians won't use
   computers."     On the other hand, many of the participants were interested in opportunities to
   improve data and data-related tools used in cumulative effects assessment.


   Another important comment is that regional CEA analysis is akin to the context studies already
   performed as a part of cultural resource assessments. These generally involve some kind of


                                         Table 11. Cultural Resources

   Metric Name Dataset Name          Analytical                Metric Description     Thresholds
                                     Methods
   Loss of           SHPO,            Surveys of               Number of districts     Proportions of
   National         CDOT and         historical integrity;     with diminished        loss with
   Register-        local historical tabulation by             integrity              reference to
   eligible         society          jurisdiction or                                  historical
   districts        datasets         region                                           context; Levels
                                                                                      of integrity loss
   Loss of other     SHPO,              Surveys of             Number of buildings,    Proportions of
   National         CDOT and           historical integrity;   structures, sites,     loss with
   Register-        local historical   tabulation by           objects with           reference to
   eligible         society            jurisdiction or         diminished integrity   historical
   resources        datasets           region                                         context; Levels
                                                                                      of integrity loss
   Loss of           SHPO,              Surveys of            Number of listed         Proportions of
   listed           CDOT and           historical integrity; resources with           loss with
   resources of     local historical   tabulation by         diminished integrity     reference to
   national         society            jurisdiction or                                historical
   importance       datasets           region                                         context; Levels
                                                                                      of integrity loss
   Loss of           SHPO,              Surveys of            Number of listed         Proportions of
   listed           CDOT and           historical integrity; resources with           loss with
   resources of     local historical   tabulation by         diminished integrity     reference to
   statewide        society            jurisdiction or                                historical
   importance       datasets           region                                         context; Levels
                                                                                      of integrity loss

   Cultural resource valuation and inventory at a regional scale. There are opportunities both for
   efficiencies and improved outcomes by coordinating the preparation of context studies for
   multiple transportation projects. GIS data might become an increasingly useful part of such
   studies. One participant described as "magic" the experience of using a database to bring up
   comparable properties that would have taken weeks to locate through archival research.

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   3.3.5. Community Impacts: Economic Effects and Environmental Justice
   Data: The discussion in the workshop about data sources focused on (1) tabular data sources that
   are not typically organized in a GIS; and (2) process of data collection. Participants listed tabular
   data that are not typically in a GIS and which should be considered in community impacts
   assessment. These include information about businesses or institutions such as: motels; trailer
   parks and schools; educational institutions; churches; major work centers; ethnic businesses;
   goodwill centers; information on transportation accessibility (potentially available from transit
   organizations); RTD travel surveys and other information about ridership on specific routes;
   information collected through the home mortgage deduction act; assessed values; information
   related to Section 8 housing; information available from the diocese; second language churches;
   windshield surveys (including surveys of second language billboards); information from the
   Department of Motor Vehicles such as year and model of vehicles; information available from
   the state vital statistics website; information on educational attainment; and data available from
   public health departments.


   Models: Cumulative effects related to environmental justice may include multiple road
   investments in a specific area with joint direct and indirect effects on residents of the area (e.g.,
   impacts on health or community cohesion), and indirect development effects that may influence
   the character of a community (e.g., loss or gain of certain types of businesses). A change in road
   alignment - added to previous industrial locations such as a smelter and dog food plant - may
   also generate cumulative effects related for example to noise or odor. Participants emphasized
   that cumulative effects of transportation investments may be both positive and negative. Positive
   cumulative effects of transportation projects may include accessibility and mobility. For
   example, the Georgia DOT was sued for not building roads in certain parts of the Atlanta area,
   thus diminishing accessibility to services for low-income populations. This lawsuit suggests a
   positive cumulative effect of multiple road investments in certain areas, such as a potential
   increase in accessibility for specific populations residing in these areas.


   Participants also pointed out the importance of assessing community cohesion factors in regional
   CEA related to environmental justice. These may include a bridge that is considered part of the
   community fabric; the “old Slovenian home”, where parents or grandparents may be living; and

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   private companies that provide important services to the community. One participant asked
   whether factors of this kind reasonably can be evaluated on a regional scale, or do they depend
   on local, idiosyncratic data. Finally, there was discussion of direct and indirect effects of
   individual projects. These may include noise, daycare, access to jobs, and availability of walking
   routes. Models of social proportionality of effects using census data are reasonably well-
   established; other types of methods are in the developmental stage.


   Metrics: Three types of metrics were introduced as described below.              These address (1)
   proportionality of effects on different population groups; (2) other demographic and economic
   factors that may influence vulnerability; and (3) interaction of social and environmental factors
   over time (Table 12).


                           Table 12. Community Impacts and Environmental Justice

   Metric Name         Dataset Name        Analytical          Metric               Thresholds
                                           Methods             Description
   Proportionality     US Population       Tabulations of       Affected low-       Disproportionate
   of direct effects   and Housing         census data;        income and           share of adverse
   on low-income       Census, school      statistical         minority             effects in low-
   and minority        data, data from     analyses;           populations as a     income or minority
   populations         community           creation of         proportion of        populations
                       institutions such   projected           overall
                       as churches,        population          population in a
                       regional plans,     surfaces            reference area
                       STIP/TIP
   Vulnerability       Census and          Tabulations of      Presence of other    Disproportionate
   levels of low-      community data      Census data;        characteristics of   percentage of non-
   income and          sources to          statistical         potentially          native English
   minority            identify age,       analyses            vulnerable           speakers, older
   populations         gender, and                             populations          persons, and other
                       other socio-                                                 potentially
                       demographic                                                  vulnerable
                       characteristics                                              populations
   Interacting         Data from           Tabulations of      Accumulating
   effects of          various sources     Census data;        effects of
   previous            regarding air and   tabulations of      previous
   investments         water quality,      local               transportation or
                       noise, safety,      environmental       industrial
                       hazardous           data; statistical   investments and
                       materials, visual   analyses            other unwanted
                       quality, and                            land uses on
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                       community                                low-income and
                       cohesion.                                minority
                                                                communities

   Regional Accounting: The discussion about regional accounting focused on two primary issues.
   On the positive side, some participants argued that regional accounts are useful for
   environmental justice CEA because they provide support for mitigation on a regional scale, not
   project-by-project. Regional mitigations can take advantage of economies of scale and have the
   potential to generate more substantial improvements for communities or population groups. On
   the negative side, other participants commented that it is difficult to account for both negative
   and positive impacts on a regional scale. Most important, accessibility benefits – the opportunity
   for different population groups to travel to jobs and services - may be difficult to assess and
   compare in a technical sense. If the regional accounting is incomplete, how useful is it?


   3.3.6. Air Quality
   At the outset of the ACCEA development process, it was thought that Transportation Conformity
   analysis, which assures conformance of transportation plans with State air quality plans, would
   suffice to address air quality and that Conformity could serve as a model for cumulative effects
   analysis. However, upon fuller consideration toward the end of Phase I of the ACCEA
   development process, it was realized that the level of analysis for air quality should be of the
   same depth as was being considered for the other environmental media, habitat and species. This
   section therefore sets forth air quality issues in need of address, suggests rather broad concepts
   for analysis, and should be considered a work in progress.


   CDOT Environmental Ethic and Air Quality in Cumulative Effects Analysis
   In accordance with CDOT’s environmental ethic and commitment “to support and enhance
   efforts to protect the environment and quality of life for all of Colorado’s citizens,” the ACCEA
   Protocol includes discussion regarding known and anticipated air quality effects of transportation
   projects on a region-wide basis. CDOT’s ethic “goes beyond environmental compliance (and)
   strives for environmental excellence, ensuring that measures are taken to avoid or minimize the
   environmental impacts of construction and maintenance of the transportation system and that
   mitigation commitments are implemented.”

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   Regarding air quality considerations, it is acknowledged that

       (1) Transportation Conformity determinations are of limited value in NEPA and cumulative
           effects assessments;
       (2) There is evidence of environmental degradation, as well as human health impacts2, due to
           air pollution at levels below the National Ambient Air Quality Standards; and
       (3) NEPA environmental assessments are required to consider “any adverse environmental
           effects” of the proposed action (emphasis added), thus any anticipated adverse effects
           related to air pollution, direct and indirect, will be included in cumulative effects
           analyses.

   Air quality assessments conducted for the purposes of NEPA are broad in scope, going well
   beyond the question of whether transportation projects may result in future violations of criteria
   pollutant standards. A broader scope still is appropriate for cumulative effects analyses, which
   look to past, present and future effects of transportation projects, direct and indirect.


   ♦ While every attempt will be made to quantify and map likely environmental impacts for
   analyses, where they are not quantified, a qualitative analysis will be conducted and
   incorporated into cumulative effects analyses. The Air Pollution Control Division and CDPHE
   are committed to assist with additional data gathering and mapping.


   Air Pollutant Issues Appropriate for Cumulative Effects Analysis
   All air pollutants are toxic at sufficient levels of exposure. “Criteria pollutants’ are in a legal
   category for which there are national ambient air quality standards, hence ‘criteria,’ set by the
   EPA. The criteria pollutants are:

           Carbon monoxide
           Lead and lead compounds (EPA has placed lead in both the toxic and criteria categories)
           Nitrogen dioxide

   2
     One such human health problem is restricted lung function and development related to exposure to
   traffic, as demonstrated by Gauderman, et al. The study to be published in the Lancet (February 2007)
   found that significant deficits in lung development in children ages 10 to 18 who lived within 500 meters
   of a freeway or large roadway versus those living further than 1500 meters of a freeway. Deficits
   demonstrated at age 18 are likely permanent, according to the authors, since lung development is nearly
   complete by age 18. See Gauderman, et al, “Effect of exposure to traffic on lung development from 10 to
   18 years of age: a cohort study,” The Lancet Online February 2007; 368.


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             Ozone
             PM10
             PM2.5
             Sulfur dioxide

   A separate legal category includes “air toxics,” for which there are no federal or State standards.
   Among these are 21 mobile source air toxics (MSAT) listed by EPA (see list below). These are
   emitted primarily from on-road mobile sources. Generally, on-road mobile sources and fuels
   contribute the greater amount of ambient (outdoor) air pollutants. Automobiles cause 50-80
   percent of all combustion-related pollution, and contribute a significant amount of evaporative
   emissions of VOC’s, many of which are toxic.3


   Mobile sources are responsible for 44 percent of outdoor toxic emissions, almost 50 percent of
   the cancer risk, and 74 percent of the non-cancer disease risk, according to EPA’s National Air
   Toxics Assessment for 1999. In addition, 70 percent of benzene emissions were attributed to
   mobile sources for that year. Benzene is a known carcinogen. In a mobile source air toxics
   (MSAT) rule finalized in March 2000, EPA listed the following 21 MSAT of greatest concern:

   EPA’s Listed Mobile Source Air Toxics

   Acetaldehyde*              Diesel Exhaust      MTBE
   Acrolein*                  Ethylbenzene        Naphthalene
   Arsenic cpds*              Formaldehyde*       Nickel cpds*
   Benzene*                   N-Hexane            POM (Sum of 7 PAH)*
   1,3-Butadiene*             Lead cpds*          Styrene
   Chromium cpds*             Manganese cpds*     Toluene
   Dioxin/Furans*             Mercury cpds*       Xylene

   Those MSAT designated with an asterisk are also on EPA’s list of 33 Priority air toxics as
   denoted in its Integrated Air Toxics Strategy, formerly known as the Urban Air Toxics Strategy.
   Monitoring nationwide since 1999 indicates that air toxics levels in many ‘rural’ areas are similar
   to those found in urban areas, due to mobile sources. This is because substantial vehicular traffic
   in urban, suburban and even many rural areas creates a large amount of pollution. In fact, people
   living in less populated, non-industrial areas drive longer distances than do city dwellers, all
   visiting the same town centers for shopping and social activities, congesting the intersections and
   parking lots just as in cities. Thus, the Strategy has evolved to address the “integrated” issues of

   3
       Various EPA and APCD fact sheets, regulatory background documents
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   urban, suburban and rural air toxics. The Integrated Air Toxics Strategy is a fluid one, and may
   evolve further. Per Colorado and other states’ monitoring findings, the compounds
   crotonaldehyde, 1, 2, 4, trimethylbenzene, and 1.3, 5-trimethylbenzene may be added to EPA’s
   MSAT list.


   Traditional Risk Assessments and Limitations

   Criteria Pollutant Risk and Uncertainties
   Traditional human health risk assessments for criteria pollutants are conducted singly, pollutant by
   pollutant, as though each is the only pollutant of concern. For this reason, potential additive or
   synergistic effects of inhaling airborne pollutant mixtures known to be in ambient air are not
   considered. Further, risk to species other than human is considered secondarily, and not very
   extensively when EPA considers setting the standards. Because of this, non-human species may
   receive less adequate protection than humans.

   Air Toxics Risk and Uncertainties
   The CDPHE calculated risk results for air toxics have been monitored at three Denver sites and
   two in Grand Junction (2001-2003). Mobile source air toxics predominated and drove the risk as
   calculated. Excess cancer risk was well above the EPA “acceptable” (non regulatory) level of
   100 per million at three of the sites, and at the acceptable level at two sites.




                                 Table 13. Monitor Location and Cancer Risk

   Monitor Location            Excess Cancer Risk     Major risk drivers
                                                      (MSAT unless otherwise indicated)

   CAMP station                                       Crotonaldehyde
   Downtown Denver,                                   Trichloroethylene (cleaning solvent for metal parts)
   21st & Broadway             200 per million        Formaldehyde
                                                      Crotonaldehyde
                                                      Formaldehyde
   Welby station,
   NE Denver industrial area   100 per million        1.1.1.1. Benzene
                                                      Arsenic (possibly from prior smelting operations)
                                                      Crotonaldehyde
                                                      Formaldehyde
   Swansea Elementary,                                Benzene
   NE Denver                   100 per million        Arsenic (possibly from prior smelting operations)
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   Grand Junction                                   Crotonaldehyde
   Traffic site                                     Formaldehyde
   (parking area)             200 per million       Acrylonitrile (chemical products industries)

                                                    Crotonaldehyde
   Grand Junction                                   Formaldehyde
   Mesa Co. Health Dept.      200 per million       Benzene


   Elevated risk levels (Hazard Index of 2) for non-cancer disease were calculated for non-cancer
   respiratory and neurological disease at CAMP, Swansea, and the Grand Junction traffic site. A
   Hazard Index of 2 for respiratory disease was calculated for the Welby site. A Hazard Index is
   calculated for multiple monitored chemicals that target specific organs or system, e.g.,
   neurological. A Hazard Index of less than or equal to 1.0 is assumed to be safe.


   The risk assessments for Denver and Grand Junction likely underestimated risk. Roughly 65 air
   toxics were monitored from 2001-2002 in Grand Junction, and from 2002-2003 in Denver. The
   65 constitute a very small subset of the 188 EPA-listed air toxics, and are an even smaller subset
   of the many thousands of airborne compounds which are potentially toxic upon inhalation or
   other means of exposure. In accordance with the EPA standard risk assessment methodology,
   criteria pollutants were not included in the risk calculations (except for lead, which is in both
   categories).


   The CDPHE is concerned about and is following up with additional trends monitoring, hot spot
   monitoring, and further assessment work in addition to exploring with EPA possibilities for more
   comprehensive risk assessment. Advances in this area will be shared with CDOT to improve risk
   assessment for the purposes of cumulative effects analyses.


   ♦ The understanding that currently human and other species’ exposure to air pollutants is
   understated should underpin cumulative effects analyses. This premise is qualitative at this
   writing but very important, and should be incorporated into all cumulative effects analyses.
   Statistical means to quantify the uncertainty should be explored by the APCD and CDOT.




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   At this time, the following facts should be considered and incorporated in cumulative risk
   analyses:

      (1) Monitoring for a suite of toxics will usually involve a small subset of EPA’s listed 188
          and an even smaller subset of the universe of toxic air pollutants;
      (2) Certain air toxics known to be present in substantial quantities were not monitored in the
          2001-2003 studies due to technological limitations. For example, mercury in its various
          phases and Acrolein are not easily measured. Acrolein is highly toxic and unstable, yet
          presumably widespread from tailpipe emissions, according to EPA National Air Toxics
          Assessment 1999 and draft 2002 work. Mercury from power plants, vehicle exhaust and
          other sources is also thought to be ubiquitous and harmful via inhalation and ingestion;
      (3) Naphthalene levels appear to be increasing nationwide, yet this was discovered only in
          the years since the Colorado monitoring was underway; thus Naphthalene was not
          included in the suite of chemicals monitored from 2001-2003. Naphthalene is a
          component of diesel exhaust, and is also used to treat wood products such as railroad ties
          and telephone poles; and,
      (4) Unexpectedly, the toxics 1,2,4-Trimethylbenzene and 1,3,5-Trimethylbenzene were
          monitored in relatively high amounts, adding to cumulative risk. These compounds are
          sometimes added to gasoline, thus may be of mobile source origin.

   Improving Risk Characterization: New Monitoring Protocols and TRIM Model
   EPA and others are working toward improved, quantified, risk characterization. Monitoring
   protocols for Mercury, Acrolein and Naphthalene plus some additional air toxics have recently
   been developed by the EPA. The APCD has monitored in Grand Junction for Acrolein for the
   past two years (2005 and 2006) and seen high levels of this combustion-related MSAT. Future
   monitoring studies and risk analyses should be able to include naphthalene and mercury, as well.


   EPA is developing risk factors for criteria pollutants. The process is being undertaken in
   conjunction with Total Risk Integrated Methodology (TRIM) model development, for improved
   risk characterization. It is hoped that the risk factors will be useful for analyses outside of TRIM
   modeling, and the APCD is exploring this avenue.




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   The three TRIM models within the methodology have been the subject of peer review and
   publication. The method will assess risk to human health, and may be of use to supplement work
   regarding risk to other species.


   ♦ The Air Division has committed to keeping CDOT and stakeholders apprised regarding
   development of risk factors for criteria pollutants and their fitness for incorporation into
   cumulative risk analysis work. Similarly, when TRIM or other more comprehensive risk
   assessment models become viable, the APCD will work with CDOT to incorporate them into
   cumulative risk analyses as appropriate.

   Ozone
   Under the 8-hour ozone standard, EPA has deferred a nonattainment designation for an area that
   includes the Denver Metropolitan area, portions of Weld and Larimer counties, and an eastern
   portion of Rocky Mountain National Park. In spite of increasing controls on VOC’s from the oil
   and gas industry, ozone levels measured in 2005 and 2006 were high enough that the area may
   be found in violation of the 8-hour standard, depending on levels recorded during the 2007 ozone
   season.


   Numerous studies indicate there is no “safe level” of ozone inhalation for humans4, yet the 8-
   hour national ambient air quality standard is currently set at 80 ppb, which is twice presumed
   natural background levels of 30-40 ppb, per EPA. Background levels of ozone are derived from
   VOC’s produced by plants, and NOx from natural combustion sources such as volcanoes and
   wildfires.


   While the 80 ppb standard is likely not protective enough of human health, it appears to be even
   less protective of plant life. Lichens and many plant species including crops and trees are
   extremely sensitive to ozone exposure.


   Ozone enters leaves through stomata during normal gas exchange. A strong oxidant, ozone at
   ambient levels causes several symptoms, including chlorosis and necrosis (leaf discoloration

   4
    Author’s reading of EPA documents on this issue since 1997, in addition to EPA/CDC findings
   published in Environmental Health Perspectives, February 2006.
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   from damage, and death), as repeated field studies have shown. Crop yield loss is especially
   pronounced in dicot species, such as soybean, cotton and peanuts.5 Fruit trees, willows, aspen,
   Ponderosa pine are among the 106 trees and other plants shown to be especially sensitive to
   ozone. Another 81 varieties are suspected of being sensitive to ozone.6


   Summertime ozone levels are elevated at the Park, and two exceedances of the 8-hour ozone
   standard were recorded in the past ozone season (2006), according to National Park Service data.



   ♦ CDOT and the APCD should pursue mapping of a wider variety of plant species present in
   transportation regions of concern, noting their sensitivity to ozone, as well as mapping of ozone
   levels past and projected.



   Nitrogen Deposition at Rocky Mountain National Park
   Nitrogen Deposition (derived from Oxides of Nitrogen {NOx}, and Ammonia) at Rocky
   Mountain National Park is well studied. Several studies indicate that soils, water, aquatic life,
   and plant species in the Park show evidence of changes due to nitrogen deposition.7 Current
   deposition levels have increased at a rate of 2% per year for the past 20 years, and are now 40
   times what they were in 1950. The nitrogen over-fertilizes some plant species and causes toxic
   effects in others. Among the observations are:


       •   Increased microbial activity in soil and talus
       •   Grasses and sedges out-competing native flowering plants, which could reduce habitat for
           some animals, and may be favoring the larger-than-desired elk population
       •   Lake and stream fertilization and acidification leading to altered species of diatoms
           (oxygen-producing algae)




   5
     Effects of Ozone Air Pollution on Plants, US Department of Agriculture website, 12/5/06.
   6
     Ozone Sensitive Plant Species on National Park Service and U.S. Fish and Wildlife Service Lands, NPS
   Air Resources Division and USF&WS Air Quality Branch, 2003.
   7
     Nitrogen Deposition: Issues and Effects in Rocky Mountain National Park: Technical Background
   Document, RMNP Initiative, March 2004.
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         •   Old-growth Engelmann spruce on the east side of the Continental Divide (which has
             more traffic and other anthropogenic activity) show significantly altered chemistry due to
             nitrogen deposition relative to the spruce west of the Divide.

   Future ecosystem effects may include fish die-offs,8 and subsequent changes in their predator
   species. While the NOx contribution from mobile sources is projected to decrease in the future,
   motor vehicles are now and will remain a significant source of Nitrogen in the Park, from NOx
   and ammonia. Ammonia emissions from vehicles are projected to increase. About one-third of
   the NOx inventory (2002) is attributed to on-road mobile sources. Ammonia from autos and
   other sources, including agricultural, also contribute to the elevated Nitrogen levels. Ammonia
   emissions are projected to increase overall because of new catalytic converters, with the mobile
   source sector contribution increasing to 15% (up from 12% currently). Nitrate particulate
   deposition in the Park is dominated by in-State sources, including traffic from I-25 North.9




                          Figure 2. Controllable ammonia source categories in Front Range




   Regional Haze

   8
       Ibid, Executive Summary.
   9
       Taipale, Curtis, 2007 Presentation of WRAP data and back trajectory analyses.
                                                       49
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   Regional Haze is another air pollutant problem at the Park and elsewhere in the State. It is
   thought that mobile sources contribute substantially to haze, especially with emissions of NOx
   and organic carbon from vehicle exhaust. The Division is preparing a Regional Haze SIP, due to
   EPA December 17, 2007.

   Pollutant Trends
   Predicted trends for many pollutants, including NOx, are downward.                Monitored levels of
   benzene have decreased in the Denver Metro Area from the 1980’s to the present. Tier II
   standards for vehicles and low-sulfur standards for gasoline and diesel fuels are the main
   controls. These standards are projected to address levels of air toxics to some degree, as well as
   the targeted criteria pollutants. Still, it must be noted that significant pollutant contributions from
   mobile sources will remain, and the APCD would urge CDOT to consider mitigation to reduce
   air toxics, NOx, and other pollutants beyond levels that may be achieved via EPA tailpipe and
   fuel standards.

   Potential Mitigation Measures
   An important fact to remember when considering mitigation is that when natural habitat is lost to
   roads (or buildings or parking lots), natural “sinks” for toxics such as wetlands disappear. Plants
   and trees that once converted carbon dioxide into oxygen are lost. This phenomenon compounds
   the effects of air pollutants then caused by vehicles (and stationary sources).


   Reducing future emissions by reducing potential VMT is the primary means at CDOT’s disposal.
   It has been demonstrated that growth in VMT follows highway expansion projects, and it has
   been asserted that project curtailment, or even no-build decisions may be the best means to
   control VMT growth and corresponding vehicle emissions. (See for example the Handbook on
   Integrating Land Use Considerations into Transportation Projects to Address Induced Growth,
   prepared by ICF Consulting for the American Association of State Highway and Transportation
   Officials, March 2005; Wagner and Oman, The Nature of Roads, Induced Growth and the
   Endangered Species Act: A Practical Approach for Addressing Indirect Effects of Transportation
   Projects in ESA Consultations, Road Ecology Center, University of California at Davis, 2001.)




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   A list of potential mitigation measures thus includes the following:


        •   Opting for the no-build scenario, if a project would be likely to induce traffic growth
        •   Project curtailment if in a sensitive area
        •   Mass transit alternatives in lieu of designs favoring single occupant vehicles (SOV)
        •   High-occupancy vehicle (HOV) lanes
        •   Bicycle lanes or trails
        •   Other multi-modal options
        •   Pedestrian-friendly thoroughfares
        •   No-drive/no parking zones near sensitive areas
        •   Traffic roundabouts in lieu of signage or signal lights at intersections where roads or
            highways do exist or must be built


   Several studies in Europe and the US indicate that substantial emission reductions result when
   “modern” roundabouts are substituted for signage at intersections. One study looked at six
   intersections where roundabouts replaced stop signage—5 in Kansas and 1 in Nevada—and
   concluded that emissions of several pollutants were dramatically reduced in the intersection
   areas:
        •   Carbon monoxide (CO) emissions were reduced an average of 21 percent in a.m. hours
            and 42 percent in p.m. hours.
        •   Carbon dioxide (CO2) emissions were reduced an average of 16 percent in the a.m. and
            59 percent in the p.m. hours.
        •   Average NOx emissions were reduced 20 percent in the a.m. and 48 percent in the p.m.
        •   Average hydrocarbon emissions were reduced 18 percent in the a.m. and 65 percent in
            the p.m. hours.10


   The emission reductions are attributed to elimination, or near elimination, of idling, as stopping
   is generally not necessary at roundabouts. However, in very heavy traffic periods, queues could
   form as vehicles wait to enter a roundabout.

   10
     Mandavilli, Russell and Rys, Proceedings of the 2003 Mid-Continent Transportation Research
   Symposium, Ames, IA, August 2003.
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   Air Quality GIS Information Available to the CCEA Protocol
   CDPHE and APCD are mapping a variety of data into GIS format, and the following is a
   sampling of what is currently in place, and in development. CDPHE/APCD are most willing to
   share data with other agencies. That which is not readily accessible via a website may be
   obtained by request. At this time, the APCD has fairly limited unique spatial data. Most of the
   data are in tabular format, which in some cases can be joined with or related to common spatial
   datasets (Counties, Roads, Cities, etc.). The following information regarding map sites may be of
   use in the CEA protocol:

      •   The current air quality index (AQI) data, formerly known as Pollutant Standard Index
          (PSI) data, has loose geographical ties to a region based on the containing metro Area
          (Poly) e.g., the Denver metro area, the Colorado Springs metro area, the Ft. Collins
          and/or Greeley and/or Loveland and Grand Junction metro area. Please see
          http://apcd.state.co.us/air_quality.aspx

      •   AQI data can also be accessed based on specific Air Quality and/or Meteorological
          Monitoring Site (Point), date and/or other parameters: http://apcd.state.co.us/report.aspx

      •   A map of Real-Time Monitoring Sites with data from AQI monitoring locations:
          http://apcd.state.co.us/aqi_map_ve.aspx

      •   An AQI map in ArcIMS: http://emaps.dphe.state.co.us/AP MonSite/viewer.htm

      •   Another method for accessing AQI data via an ArcIMS map interface is the Emission
          Inventory which is tabulated by County (Poly) though the emissions data can only barely
          be considered to have spatial component and only loosely be defined as having a "point-
          in-polygon" association. Other examples of polygon boundaries used to define and
          tabulate AQI data are Ozone Attainment Areas (Poly) and Class 1 Areas (Poly) or other
          areas where visibility is protected for recreation, e.g., Rocky Mountain National Park.
          http://emaps.dphe.state.co.us/apinv/viewer.htm

      •   There is also the APCD’s Mobile Sources/DRCOG VMT Roads (Line) attributed with
          Vehicle Miles Traveled (VMT), a calculation which is basically [VMT = length *
          volume] as a part of a combined SIP with DRCOG and CDOT.

      •   The APCD’s permitting program manages the permitted Stationary Sources (Point).
          There are shapefiles and KML versions of these data points, in addition to area
          calculations with Land Use (Grid) and pie-shaped Sectors (Poly) around a stationary
          source. See also the bio-terrorism modeling software and data used by our chief
          Meteorologist, which includes Surfer, CATS, HPAC and other tools to create plumes and
          back trajectories for various Emergency Response (ER) events and scenarios.


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      •   A CDPHE link to summary Colorado health information is:
          http://www.cdphe.state.co.us/cohid/

      •   Colorado Health Institute Data-At-A-Glance:
          http://datacenter.coloradohealthinstitute.org/


   Continued Progress with the ACCEA Protocol
   As transportation of people, goods and information is necessary to our lives, and as air pollutants
   remain an unintended side effect of many transportation modes, the APCD commits with CDOT
   to further explore evolving methods for risk assessment and to develop the needed technical
   components for cumulative effects analyses. As mentioned earlier, this chapter should be read as
   a work in progress. It is hoped that the ACCEA process will proceed to Phase II.



   3.4. Conclusions
   The results of the workshops suggest that regional accounting is technically feasible based on
   availability of data, models and metrics. Although many of the detailed proposals for a regional
   accounting framework were controversial in the workshops, participants generally were positive
   about the overall approach. Possible applications of regional accounting were identified both for
   transportation planning and NEPA assessment. We explore these applications further through a
   demonstration of accounting methods in Chapter 4.


   Data
   We classified data into two groups: areawide and local. Areawide data can be obtained in
   consistent formats for the entire Denver metropolitan region. Local data are collected by
   jurisdiction and available only for limited areas. Each of these data types may be collected in a
   time series, and this time series may extend backwards to include historical data.


   Areawide data are available for almost every topic examined through this project. These can be
   obtained with modest effort to download from public sources and collate to common formats.
   Time series data are not available in many of the resource areas. However, there is a number of
   time series data sources that have not been employed widely for regional environmental
   accounting. These include, for example, county assessor’s files that can be used to identify past,

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   present and future development. Issues of data consistency also emerged. While many datasets
   are consistent across regions (e.g., Colorado Vegetation Classification Project - CVCP) others
   use inconsistent attributes and collection dates (e.g., assessor datasets).


   Spatial Models and Methods
   We classified spatial models for analysis of environmental effects into three groups. These
   classes of models have varying implications for cost, likelihood of implementation, credibility
   and ease of understanding. (1) Simple models include buffers on affected areas or features,
   delineation of roads, trails and water features across networks, overlays of affected areas, and
   tabulation of affected roads and features. (2) Mid-range models include weighted overlays of
   affected areas, habitat suitability analyses (HSI), and connectivity analyses. (3) Complex models
   include impervious cover analysis, transportation/land use analysis based on traffic analysis
   zones, and models of urban growth dynamics.


   In many cases simple models may be adequate to support the kinds of analysis required for
   regional accounting. Some mid-range models have been developed sufficiently so that they can
   be applied immediately in the region (e.g., HSI). Application of other methods (e.g, connectivity
   analysis) may require further research. Project participants identified policy-relevant spatial
   models for almost all topics addressed through the workshops. For some environmental
   accounting topics, sophisticated models have been developed by researchers and applied
   extensively in practice (e.g., water quality and transportation/land use models). These models
   should be used if they are credible to the technical staff of relevant agencies. Overall, however,
   participants emphasized the value of simple models that are broadly understandable and easy to
   apply. Some participants argued that spatial models in many cases are insufficient to document
   environmental significance under NEPA. However, most participants agreed that use of spatial
   models can improve CEA analysis if they help quantify regional context and delineate the
   contribution of individual projects to regional environmental change.


   Metrics
   We grouped metrics in five categories. These categories describe the policy relevance of each
   metric and its utility for regional accounting. Regional standards include those about which there
   is general agreement among relevant agencies across the region. These are typically defined by
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   clear statute or administrative rule. We identified two metrics that meet this test: (1) threatened
   and endangered species (no take or current condition); and (2) federal-regulated wetlands (no net
   loss). The regional standards described below can be used immediately across the entire region
   in both NEPA and planning environments (although technical questions remain about their
   application). Local standards are designated in local or state statute or strong policy statements
   such as general plans but apply only to limited areas within the region. We identified three types
   of metrics that met this test: (1) water quality (e.g., CDPHE quality of stream reaches); (2) park
   and recreation areas (e.g., per capita land dedicated to neighborhood parks); and (3) species
   protection (e.g., carrying capacity for prairie dogs). Local standards can be used immediately but
   only as a mosaic with some areas left undefined. Practice-based and scientific thresholds are not
   defined in statute or policy but have undergone a formal process of vetting and assessment
   within scientific or professional communities.       These may include, for example, habitat
   requirements for species not covered under the Endangered Species Act. These are appropriate
   for regional planning activities. Benchmarks are not defined by clear scientific or statutory
   thresholds but can be scaled in a meaningful fashion. We handle these metrics by proportional
   scaling to identify magnitudes of change in resource quality. We emphasize the five-point scale
   described above. These also may be useful in regional planning environments. Metrics requiring
   further research and discussion are associated with uncertainties about underlying science,
   measurement or scaling. These include, for example, connectivity measures for specific species
   such as Preble’s, where migration patterns and effects of population migration are not well
   understood. Metrics for further research and discussion require additional vetting before they
   should be introduced into either NEPA or planning environments.


   Workshop findings indicate that there are two spatial metrics in the set we analyzed that are
   generally accepted across the region, and are technically adaptable to regional accounting.
   Assuming that there is acceptance of the methods described in Chapter 4 of this report, these
   metrics should be useful immediately for project-level CEA review. A much larger number of
   local standards and practice-based metrics are also technically feasible in the context of NEPA
   analysis and regional transportation planning. These are credible for project-specific NEPA
   review although not yet generally-accepted; they provide a foundation for further development.
   In terms of regional transportation planning, local standards, practice-based metrics and

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   benchmarks all may be suitable. Finally, metrics such as connectivity-based landscape measures
   should be a focus for further research in the region.


   The workshops also suggest, however, that development of a range of metrics that can be applied
   directly to NEPA review will require significant effort. We were unable to reach agreement
   about thresholds (critical levels of resource quality) for many of the resources addressed in the
   workshops. Participants tended to agree about thresholds for resources with clear statutory or
   administrative guidance (e.g., threatened and endangered species). In this respect, the workshops
   clarified the importance of launching a collaborative effort across agencies, local governments
   and other stakeholders to obtain a common understanding of the data and models, establish
   validation of the models, acknowledge priorities and preferences of participants who would use
   the models, and integrate model usage into administrative processes for decisions. Coordination
   across agencies, local governments and stakeholders should continue to be a focus of areawide
   cumulative effects assessment in CDOT.


   Overall, the workshops clearly demonstrate the feasibility of a regional accounting approach
   based on derivation of metrics from GIS data and models, and scaling of metrics to provide a
   consistent accounting framework across projects, resources and areas. However, the workshops
   also suggest that opportunities for implementation of spatial accounting methods vary
   significantly by resource. Regional tabulations may not be appropriate for certain resources. For
   example, some participants argued that water quality may be best assessed at the watershed scale
   and could not be accounted reliably across a region. Nonetheless, the principle of regional
   accounting was supported by workshop findings, and generally embraced by workshop
   participants.




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   4. ACCEA DEMONSTRATION PROJECT

   4.1. Description of the Project and Potential Effects

   4.1.1. Summary
   In this section of the report we describe a demonstration of regional accounting methods in a
   case study area of the C-470 Corridor. The primary method we use for this accounting is
   tabulation of effects at regional, local and project scales. These tabulations are constructed on a
   growth model described in Section 4.2 of this report. This growth model relies on DRCOG
   projections to create a low-resolution allocation of population across the entire region, and builds
   on a high-resolution (logistic regression) model and expert judgment to assess growth patterns in
   the vicinity of the project that may be directly or indirectly affected by it. We discuss induced
   development effects in this context, although a full treatment of induced development is outside
   the scope of this report. We then take the population allocations of the growth model both on a
   regional scale and in the vicinity of the project to assess the effects of these growth patterns on
   extent of impervious cover, black-tailed prairie dog habitat, and Preble’s habitat. We organize
   each of these sections according to the overall approach described in Chapter 2 of this report. We
   define the project, how effects are likely to occur both as a result of the project and other
   activities, and what areas are likely to receive effects. Then we sum affected resources by area on
   three scales (project area, local area and region) and calculate the contribution of the project at
   each of these scales.


   4.1.2. Project Description
   The (hypothetical) C470 corridor project from Kipling to I-70 is intended to provide the case
   study for the demonstration project (Figure 3). There are planning activities directed to providing
   highway capacity to complete the connection from I-25 south to I-70 west. The original project
   was built in 1980 and there are various capacity enhancements being discussed ranging from
   additional lanes to toll lanes only. Adding capacity to local highways is an additional option. The
   regional boundary for the demonstration project is taken to be a modified DRCOG urban growth
   boundary (Figure 4).




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     Figure 3. Demonstration project is the C470 link between Kipling (first street west of Route 121) and I-70




   Land use development along the C470 corridor has changed dramatically over the past twenty
   years. The undeveloped lands formerly part of the area have been replaced with a significant
   increase in residential, commercial and office uses adjacent to the highway corridor, especially in




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             Figure 4. The regional boundary is a modified DRCOG urban growth boundary




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   the southern portion of the corridor. The developed land use patterns have been primarily
   suburban in nature with low density planned developments and an auto orientation.


   Details on potential impacts (direct, indirect and cumulative) are addressed in demonstration
   project resource sections below. The focus of this demonstration project is to tabulate cumulative
   effects for the local scale and region. For this ACCEA demonstration project we focus on three
   realms of potential impacts: 1) land use, 2) biological resources and habitat, and 3) water quality.
   Our emphasis is on demonstrating the utility of GIS data management and modeling tools to
   develop an accounting of these resources for areas proximate to the C470 roadway right-of-way,
   the local area where indirect effects might occur, and the region.


   4.1.3. Temporal Scope
   Past, present, and reasonably foreseeable actions are considered in this report. Our determination
   of how far we go into the past and how far into the future is based on the nature of the project,
   the history of the corridor, and availability of data. We date past effects to 1980 because
   construction of the existing freeway began at that time, with the first segment completed in 1985
   and the entire C-470 facility completed in 1990. The corridor as it currently exists has largely
   been shaped by this transportation investment. Our primary data sources for the past period are
   assessor’s records and aerial photographs. Our analysis of historical development patterns
   between 1980 and 2000 provides the basis for our growth model. We select the period 2000 to
   2005 as the present; this serves as the project baseline. A variety of data sources are available for
   the present period. The future time frame for this analysis is the year 2030, which is the horizon
   year for the DRCOG Metro Vision 2030 Regional Transportation Plan. We project population
   allocations and environmental conditions to this future date using models and other methods.


   4.1.4. Geographic Scope
   The geographic scope for C-470 cumulative effects analysis is variable depending on the
   resources affected by the project. For land use the geographic scope is guided by topographic and
   geopolitical factors such as community or county boundaries. The area of influence of a highway
   on urban development is guided by modeling of land allocation factors and may extend some
   distance from the highway interchanges. For biological resources the geographic scope is keyed

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   to the ecosystem, habitat zone or watershed. Water quality geo-scope is typically the stream and
   watershed (and sub-basins). The appropriate geographic scope for cumulative effects analysis for
   resources and issues pertinent to the C470 demonstration project are described in the resource
   sections below.


   4.1.5. Summary of Cumulative Effects from the C-470 Project
   Our primary presentation of cumulative effects is contained in four tables that describe and
   compare regional, local and project-area effects. The contribution of the C-470 project to
   regional effects is represented by a percentage in the lower right hand corner of each table. These
   tables correspond to the four types of cumulative analysis described above: “Current and
   Forecast Urban Development at the Regional, Local and Project Scales - High-Density Growth
   Scenario”; “Current and Forecast Impervious Cover at the Regional, Local and Project Scales -
   High-Density Growth Scenario”; “Current and Forecast Acres of Black-tailed Prairie Dog
   Habitat at the Regional, Local and Project Scales, by Level of Habitat Quality”; and “Current
   and Forecast Acres of Preble’s Meadow Jumping Mouse Habitat at the Regional, Local and
   Project Scales, by Level of Habitat Quality”. These tables encapsulate the key components of the
   cumulative analysis.


   4.1.6. Summary of Cumulative Effects from the Regional Plan
   This method can be used to roll-up all proposed transportation investments in the regional plan
   and consider effects on primary resources simultaneously. A roll-up of this kind requires
   tabulations such as proposed for C-470 for each of the targeted projects in the regional plan and
   summation of these tables in a general accounting for the region. We argue that with
   development of an infrastructure of data-sharing, modeling and expert judgment, these
   tabulations will be much less costly than a project-by-project ACCEA effort.


   4.1.7. Thresholds and Other Metrics
   Our indicators describe acres and percentages of change in developed land, impervious cover and
   habitat. In many cases we were not able to identify thresholds to describe the importance of
   different levels and rates of change according to scientific knowledge or administrative practice.
   We did not have a strong foundation for definition of importance for all resources because

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   participants in the workshops did not converge on agreement about thresholds in many instances.
   Agreement about these resources may require a concerted and probably mediated collaborative
   effort beyond the scope of Phase I of the project.


   4.2. Land Use and Cumulative Development Effects

   4.2.1. Scope
   In this section we describe a method developed through the ACCEA project to evaluate
   cumulative effects of transportation investments on urban development patterns. In later sections
   of this chapter we apply this method to the hypothetical C-470 Corridor project and use it as a
   basis for assessing cumulative project effects on specific resources such as black-tailed prairie
   dog. This method relies on readily available spatial data and models as well as interviews with
   individuals involved in local development processes. We developed this approach drawing on
   methods currently used in land use planning and impact assessment practice, focusing them on
   the requirements of areawide CEA. An important feature of this analysis is the definition of
   development rules - derived from review of local and regional policies – that indicate whether or
   not specific parcels are likely to be built out. Because growth projections typically involve
   controversy and uncertainty, we incorporate information from multiple sources and seek to
   identify areas of agreement and disagreement. Our method has six steps: (1) inventory past and
   present development patterns; (2) synthesize plans and policies that guide future development;
   (3) create a model of primary future development; (4) create a model of induced future
   development; (5) ground truth model outputs with developers and planners, and (6) tabulate and
   compare project-based and cumulative development effects.


   Land Use Inventory – The purpose of the inventory is to describe past and present development
   patterns. These data are then used as a basis for projecting future patterns. We employ a range of
   planning and land use datasets including parcel-level assessor’s data, spatially-explicit land use
   plans, spatial outputs of DRCOG regional land use-transportation models, and parcel ownership
   data. These datasets are very large, on the order of several hundred thousand records per county,
   and are stored in a relational database (PostgreSQL). All data are indexed by our lowest-level
   geographic units: parcel and traffic analysis zone (TAZ). These provide the building blocks for


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   the subsequent work in this project to account for change in habitat and environmental
   conditions.


   Policies and Plans – Our approach to CEA focuses on development guidance provided by local
   and regional plans and policies. The planning and policy documents of primary interest to us are
   regional transportation plans, regional growth management plans, county and municipal
   comprehensive plans, area plans and local investment plans. We synthesize these plans in two
   ways: (1) generalize planning rules so that they can be used effectively as filters, and (2) overlay
   plans to identify areas of consonance or dissonance, agreement or disagreement. We use these
   overlays to structure discussion with developers and planners as described later in this document.


   Growth Models – Growth models present problems of nesting, resolution, and allocation of
   development by land use and density. Two types of primary development models are employed
   in this project: a regional, large-grain model of housing and employment change; and, a local,
   high- resolution model of land use change. The regional model, based on Traffic Analysis Zones,
   is developed by DRCOG and modified by project staff to increase its resolution. The local model
   is built on statistical (logistic) analysis of historical land use change at a parcel level. It focuses
   on characteristics of the parcels themselves including transportation accessibility, and is designed
   as a relatively low-cost model that can be applied using information readily available to DRCOG
   and local governments. The two models are nested in the sense that we evaluated the TAZ
   population and employment allocations using our high resolution growth model. We modified
   resolution of the TAZ model using a high-resolution parcel-based local model, because higher
   resolution at both scales is necessary to support the calculations of extent of impervious cover
   and habitat that are described later in this chapter. Environmental effects occur in a fine-
   grained pattern and cannot reasonably be captured with a coarse-grained growth model.
   Allocation of development by major land use type and density are also necessary to capture the
   effects of development on impervious cover and habitat. We are comfortable with our selection
   of TAZ and logistic growth models for the purposes of this prototype, but wish to emphasize that
   other models could also be used if they satisfy four requirements: (1) nesting of a fine-grained
   local model in a coarse-grained regional model; (2) allocation of development by major land use
   type; (3) allocation of development by density; and (4) high (sub-TAZ or parcel) resolution.

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   Induced Development Models – Induced development refers to growth stimulated by road
   investment including residential, commercial, industrial and infrastructure developments
   attributable to the improved accessibility provided by a specific road project, without which the
   development would not occur (Ewing, 2002). These effects occur on two primary scales, local
   (related to streets and county roads) and regional (related to state and federal highways). We
   assess both types of effects in the land use change model measuring accessibility by distance to
   the nearest county road, state road or highway interchange. In land use/transportation analysis,
   development locations are a function of both travel cost and adjusted land value, which in turn
   are a function of accessibility. In the context of a centric region, the logic of induced
   development suggests that expanding accessibility is associated with increasing dispersion of
   development. According to this logic when a new highway is built into undeveloped areas and
   increases their accessibility, employers tend to seek locations in these areas in search of cheaper
   land (Noland and Lewison, 2001). Such effects were empirically assessed by Boarnet et al
   (2000) in a study of the effect of toll road construction in Orange County, CA. They found that
   homebuyers were willing to pay for the increased access provided by new roads, and move to
   places with better access. Induced development effects are complex, however.                 Road
   construction can also concentrate new development in specific areas. For example, Hansen et al
   determined highway expansion stimulates development activity in the expanding corridor
   (Hansen et al, 1988). There may also be a relationship between increasing lane miles and
   residential densities, workplace densities, and vehicle miles traveled (Noland and Lewison,
   2001). Finally, the maturity and structure of the transportation system are important in estimating
   induced development effects. These and other methodological problems make it difficult to
   confidently estimate induced development, and the scope of the project did not permit sufficient
   focus on induced development to address these issues.

   Expert Judgment –We also thought it important in this project to collect information from local
   “experts” who may have important information about proposed projects, community preferences
   and land market processes which are not captured in models or local and regional plans. This
   process enables individuals who are familiar with local situations to modify the policy
   information and development models described above. We used map-based interviews and a
   focus group to capture this information, and created a web-based interactive map intended to
   facilitate comments from individuals who could not attend the focus group.
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   Tabulation and Comparison – Finally, we developed a framework for comparing effects at
   regional, local and project scales. This framework supports tabulation of the contributions of the
   proposed project to areawide cumulative effects. This framework can also be used to evaluate the
   contributions of all other transportation projects in the regional plan to total cumulative effects
   across the region. The product of this method is a table that identifies the number of affected
   acres as a proportion of all affected acres across the region.

   4.2.2. Data
   There are four primary data sources for this project: (1) county assessor’s and zoning data; (2)
   local and regional planning documents; (3) projections of change in residential development over
   the next 20 years; and, (4) projections of change in residential, commercial and industrial units
   over the next 20 years, as estimated and tabulated by DRCOG;


   4.2.3. Project and Local Area Method
   We describe a comprehensive approach below. Based on costs and specific project needs,
   individual activities outlined below may be truncated. We begin with the method for the project
   and local area, and follow with the regional method.


   Step 1. Inventory Past and Present Land Uses. Build an inventory of past and present land use
   patterns and developable lands. This inventory relies on high-resolution spatial data. It includes
   two stages:


      •   Past and present land use patterns – In the first stage we map past development patterns
          (Figure 5) and current developed land based on the yearbuilt field in the Jefferson County
          assessor’s data. In this model, we operate on the assumption that residential development
          will not be replaced unless local jurisdictions have specific plans for commercial and
          industrial development in that location. Using the yearbuilt field describing year of
          construction, these tabulations can be classified into past and present categories. In the
          case of Western Jefferson County (for which data are available), we have classified these
          as development prior to 1980 and development post between 1980 and 2000. These data
          provide trend information and are used in the growth model described below.


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   Figure 5. Past and present development, Jefferson County, 1980 (left hand map) and 2000 (right hand map)



       •   Developable lands – In the second stage we map currently undeveloped parcels available
           for further urban development (Figure 6). Potential for development is defined in terms of
           ownership pattern and property rights. We assume that parcels under federal, state and
           some local public ownership are unlikely to be developed. If we can identify deed
           restrictions in the form of conservation easements on privately owned lands, then we also
           constrain these lands from further development.




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      Figure 6. Current developable Parcels in Jefferson County (2000). Study area is outlined in black and
                                          presented in the inset map



   Step 2. Review Local Plans and Regulations. In the first stage of this activity, we review
   documents of three types.


      •   Local land use regulations – In the first stage, we evaluate zoning and other land use
          regulations to see how these regulations effect the inventory of developable parcels for
          further development (as defined above). Zoning codes are reviewed. To ascertain the
          parameters of possible land use change on each available parcel we focused on the
          ‘allowable uses’ and the minimum lot size requirements in each zoning district.


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      •   Local land use plans – including comprehensive and area plans prepared by counties and
          municipalities within the study area. Land use plans provide additional information about
          how local governments may be guiding the type and location of growth.


      •   Local investment plans – including proposed local infrastructure investments such as
          capital improvement projects, water, sewer and public facilities. These plans indicate
          where infrastructure investments are likely to occur; infrastructure investments are likely
          to influence growth dynamics in the project area.


   Where comprehensive plans are unclear or controversial, zoning may provide the most effective
   guidance. After discussion with local and regional planners, we decided to focus on two local
   planning documents: zoning regulations and the area plan for the C-470 area. The area plan
   includes investment proposals. We prepared these in three steps for use in further analysis. (1)
   We synthesized Jefferson County zoning rules for density and use into simple categories that
   could be readily mapped. (2) We evaluated the C-470 Corridor Plan, concluding with the
   simplifying assumption that all developable lands within the corridor would be built out to a
   relatively high density. Finally, (3) we mosaiced zoning rules with the C-470 Corridor Plan to
   create a unified map of future land uses. With this map, we create a surface of local land use
   policies into which we can allocate future growth.




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       Figure 7. Zoning (Left Hand Map) and zoning simplification (Right Hand Map), Jefferson County




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                                  Figure 8. C-470 corridor plan, Jefferson County


   Step 3. Apply Growth Model. The governmental planning framework described in Steps 2
   above still provides an incomplete picture of projected growth: it is also necessary to project
   where market forces are likely to locate land use change. In this project, we use an historical
   analysis of land use change to create a base model, which is then modified by expert opinion.
   This model supports impervious cover and habitat analysis at the local scale by defining
   which parcels are likely to be developed, with what kind of development and at what
   densities. In order to create a cost-effective approach to the analysis of areawide growth
   processes, we use a logit regression to analyze past residential growth choices and project these
   into the future. This regression predicts land use change as a function of variables such as
   distance to local road, presence of a special district, neighborhood housing density, and distance

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   to the nearest secondary school. It yields estimates of the probability that households will locate
   in a specific land unit and coefficients assigned to spatial variables. As cells are occupied they
   declare their status and are prohibited from accepting additional households or landowners.
   Thus, at each step of the model, an increment of households is distributed among a queue of
   eligible locations. We use three types of logistic regressions: a univariate regression on all
   variables; a full, multivariate model including all variables; and a reduced form of the model
   with key variables. Second, we reevaluate the data using a decision tree method. The first stage
   variables included in the model include accessibility to highway ramp, slope, jurisdiction type,
   and amenities such as access to open space. The reduced form of the model is as follows: Log
   (p/1-p) = (-2.65) + distance to road * (-1.28) + distance to low density development *( -0.98) +
   adjacent developed sites* (0.03) + within a special district * (0.34) + slope * (0.09). All variables
   are significant and the model predicts the substantial majority of development between 1990 and
   2000. The accessibility to highway ramp variable is not significant, which may suggest that
   induced development from C-470 is not an important growth determinant. However, the variable
   is calculated through a network measure that may tend to dilute its explanatory value.




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                      Figure 9. Land consumed by projected future development, 2020



   Step 4: Apply Model of Induced Development – The model described above provides some
   information on the effect of induced development in the local area defined as Jefferson County.
   Access to local roads are highly significant as a predictor of where development is likely to
   occur; access to state highways and interstate ramps are not significant. We do not place a great

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   deal of confidence in this description of induced development, however, because of the difficulty
   of measuring accessibility influences such as highway ramps and interstate access. Thus, we also
   collected expert judgment, asking planners and others about the induced development effects of
   previous investments in C-470. The consensus view was that the opening of C-470 had a
   dramatic effect on rates of large lot development in Western Jefferson County because it
   fundamentally reconfigured the area’s accessibility. Respondents are skeptical, however, that a
   realignment of C-470 will have a major effect on future large lot development outside the
   immediate project area because C-470 congestion may not be a major factor in these location
   decisions. Thus we adopt two assumptions. First, at a project scale, we assume that all
   development is induced because project planning explicitly relies on the C-470 expansion. All
   parcels within the project area will be developed although the development footprint in some
   parcels may leave open space that provides habitat for species such as black-tailed prairie dog.
   Second, the realignment of C-470 will have only minor influence to stimulate development in the
   local project area (middle and western Jefferson County). The realignment may increase growth
   rates by, say, 5%. This is a small enough number that we cannot report it with any confidence;
   we assume for the purposes of this exercise that induced development effects outside the project
   area are 0. These two assumptions are based on interpretation of the mapping, modeling and
   interviews described above.

   Step 5: Gather Expert Judgment– In this project, local information was incorporated through two
   sources. We conducted two interviews with Jefferson County land use planners. These provided
   an overview of development trends in the county. In addition, we asked planners and others
   familiar with local land markets to comment on our proposed development maps during the
   demonstration project workshop. These conversations were guided by a simple set of questions
   developed through the project. (1) We asked respondents to describe trends in the region,
   primary policies, and the induced development effect of previous highway investments in the
   area. (2) Respondents were given maps of new development projected for the area and asked to
   outline and describe other areas that were also likely to develop. (3) We presented the model
   weights and asked whether they seemed roughly appropriate. This interview process can be
   facilitated with web-based, interactive maps that describe relevant plans and model outputs, and
   provide a framework for planners and others to make comments on past and future development.
   We created a prototype version of such an interactive website, which can be found at
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   http://cdot.eparticipation.net. This website enables users to make comments on projected
   development patterns, and see comments by others. It is an example of possible uses of
   interactive GIS to automate and simplify the process of gathering comments. The results of
   ground-truthing are incorporated into a final map and database of projected development.

   Step 6. Tabulate Project Effects. Finally, numbers of developed acres at primary density ranges
   are tabulated at project and local scales.




   4.3.4. Regional Method
   Step 1. Inventory Current Land Uses. In this project, we compiled an assessors' data set for each
   of the five-counties in the study area. This dataset describes current land uses, structure types and
   densities.

   Step 2. Review Regional Plans and Regulations. These include transportation and land use plans,
   land use change models and inter-jurisdictional agreements. We considered alternative modeling
   options for using these data (e.g., buffers) but did not employ them because of the difficulties in
   estimating induced development.         Inter-jurisdictional agreements include regional growth
   boundaries, annexation and community buffer agreements. We focus in this project on regional
   growth boundaries because of data availability. DRCOG growth boundaries are represented in
   Figure 4.

   Step 3. Apply Growth Model. DRCOG currently uses a growth allocation model based on
   Traffic Analysis Zones (TAZs). TAZ growth rates are used to project reasonably foreseeable
   future projects. This approach also yields additional information including (1) residential
   densities by location, and (2) fine-grained development locations (assuming the approach is used
   in association with a growth model). The TAZ approach requires three assumptions: household
   size; land take by household (density); and commercial and industrial land uses associated with
   growth rate in numbers of firms or rates of residential development. We classify TAZs across the
   region by three densities (urban, suburban and rural), and based on historical data make
   assumptions in each of the three dimensions described above. This approach is demonstrated in
   tabulations of impervious cover below.


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   TAZs have advantages and disadvantages as a foundation for forecasting reasonably foreseeable
   futures. On the one hand, the land use change model group in the demonstration project
   workshop recommended that we use TAZ-based demographic projections because TAZs provide
   a consistent dataset across the region and have been subject to review by local jurisdictions and
   others. On the other hand, TAZs are of varying size, larger in less-populated areas and smaller in
   more-populated areas. Across much of the region, they have a relatively coarse spatial resolution
   that is inconsistent with the other environmental and social data and models used in the project.
   The resolution of TAZs is a drawback for their use in assessing potential environmental impacts.
   As of this writing, a high-resolution, regional, land use-transportation model has not yet been
   implemented in the Denver Metropolitan region. In search of higher-resolution, we modified the
   TAZ model using parcels data to identify undeveloped lands and areas not likely to be
   developed. We allocated the TAZ population and employment projections into these sub-TAZ
   areas to create a map of where development is likely to occur and of what land use type. We then
   divided acres of developable lands in each TAZ by their growth projections to identify potential
   densities for sub-TAZ areas. The utility of this method is made clear in the following section
   of this chapter, where sub-TAZ areas identified by land use type and density are overlaid
   on watersheds to support a regional tabulation of projected change in impervious cover
   disaggregated by watershed. These regional calculations rely on impervious cover factors
   related to land use and density, which are multiplied by sub-TAZ growth allocations to generate
   an regional accounting of current and forecast impervious cover.




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                       Figure 10. Model Builder diagram of regional projection method



   Our method for analysis of TAZs is as follows. We obtain our parcel data from the county
   assessor’s office. The yearbuilt field found in the parcel data set is used to determine when/if the
   property has been developed. Land with a “yearbuilt” equal to 0 is assumed to be undeveloped.
   Traffic Analysis Zone (TAZ) data are obtained from the Denver Regional Council of
   Governments (DRCOG).         DRCOG has developed population, households, and employment
   projections for 2015, 2020 and 2030. It is assumed for the purposes of this exercise that
   reasonably foreseeable extends to 2020. The average number of households per acre is
   determined by dividing the number of households per TAZ by the acreage of the TAZ. The
   parcel data tells us the total number of undeveloped parcels and acres in each TAZ.
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   Projected increases in households for a particular TAZ are multiplied by the projected average
   density for the TAZ. The resulting number is the acreage projected to be consumed by new
   household development. The percentage of land acreage currently devoted to industrial and
   commercial uses is used to determine the percentage of land dedicated to commercial and
   industrial uses in the foreseeable future. On average, commercial and industrial uses consume
   about 15% of the total developed land in the region. Therefore, 15% of the total developable
   TAZ acreage is dedicated to industrial and commercial uses. The total amount of acreage
   currently dedicated to public uses including schools, roads, open space, and easements is
   determined from the parcel data set. The percentage of acreage currently dedicated to public
   uses is used to determine the percentage of land dedicated to public uses in the reasonably
   foreseeable future. On the average, public uses consume about 20% of the acreage in the region.
   Therefore, 20% of the total developable TAZ acreage is dedicated to public uses. The projected
   consumed acreage (i.e. land take) is the sum of the total acreage of land dedicated to households,
   commercial and industrial uses, and public lands. Land take is measured against the total amount
   of undeveloped land in the TAZ. Excess development (development that exceeds the available
   acreage in undeveloped lots) is rolled-over into developed parcels greater than one acre in size.
   Excess land take (or, projected development) is then quantified for each TAZ.




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                   Figure 11. Projected residential density to 2020 in the regional study area




   Step 4. Apply Model of Induced Development – We reviewed several options to model induced
   development effects of all transportation projects in the region. These include (1) assume that
   transportation projects induce development in nearby areas and buffer projects to capture the
   induced effects, and (2) increased accessibility increases regional economic activity. For
   example, if increased accessibility reduces driving time for truckers, and assuming these benefits
   are passed on to small businesses, many businesses may see increased profits. A detailed analysis
   of induced development suggests a complex set of problems outside the scope of this project,
   however. Moreover, all development at a regional scale might fall under the umbrella of
   cumulative effects because it is in some fashion related to past, present or future transportation
   investments. Thus, we do not attempt to define proportions of induced development.




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   Step 5. Tabulate Effects at Regional and Project Scales. Tabulation and comparison at regional
   and project scales occurs in two steps. First, we tabulate developed acres within the region
   classified by density ranges. The project and local-scale tabulations prepared above are then
   compared to the regional tabulation. This comparison is presented as project effects as a
   percentage of regional effects; it provides an indication of the contribution of the project to
   regional development. In order to measure cumulative effects of all projects in a regional
   transportation plan, the contributions of individual transportation projects are tabulated as we
   describe above, and then summed across the entire region.

   Table 14. Current and Forecast Urban Development at the Regional, Local and Project Scales - High-
   Density Growth Scenario (in Acres)



                           Regional                    Local                Project (TAZs)**      Project (Buffer)***


                 Current       Forecast      Current      Forecast       Current     Forecast     Current       Forecast
                 Urban         Urban         Urban        Urban          Urban       Urban        Urban         Urban
    Res.           622,225        910,145      152,847         176,769       9,288      13,808        1518          1518

    Com/Ind         93,334        136,522       22,927          26,515       1,393        2,071             0              0
    Total          715,559       1,046,667     175,774         203,284     10,681       15,879        1518          1518

    % Urban*                                                                 1.5%         1.5%        0.2%         0.15%

   *Current and forecast urban development in the project area as a percentage of current and forecast urban
   development in the region
   **Traffic Analysis Zones (TAZs) overlapping project site
   ***Buffer area around C-470, calculated in GIS




   4.2.5. Conclusions
   In general, we project that the realignment of C-470 will have a relatively small effect on
   regional patterns of urbanization defined by allocation of developed lands. Under the
   conservative high-density scenario represented above, the regional development effect of the C-
   470 realignment in the project area itself, defined spatially by TAZs overlapping the project, will
   result in an expansion of urbanized area from 1.49% (current proportion of project to regional
   urbanized area) to 1.52% (forecast proportion of project to regional urbanized area). In the low-
   density scenario, not represented here, the proportional change is more substantial, from .81% to
   .95%. We did not calculate proportional change according to land use type and density but

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   expect that proportional change in commercial and higher-density lands would be greater. In our
   growth projections, we anticipated at the project scale that all land that is not protected will be
   developed. At the local scale, which in our analysis includes all of Jefferson County, we
   projected significant continued growth in the valley bottoms and other accessible areas. This rate
   of growth in the middle and western part of the county – although not necessarily induced
   development according to our definition - has potential implications for water quality and
   biological resources to be pursued in later sections of this analysis.


   The regional land take outcomes may vary significantly by scenario. For this prototype we
   selected a high-density, conservative scenario on the assumption that average densities across the
   region are increasing. We did not conduct a sensitivity analysis of different scenarios or submit
   our scenarios to expert review. More research is required to establish which scenarios or range of
   scenarios should be used as a foundation for estimating reasonably foreseeable projects.


   Expert judgment was important in this project to define background assumptions. Interviews
   suggest that there were significant induced development effects resulting from the initial
   construction of C-470 and the expansion of state highway 285. These projects substantially
   improved commuter access to western Jefferson County. Our analysis is consonant with these
   comments: much of the mapped development in this region has occurred after 1980. Future
   induced development effects in Western Jefferson County may be less significant, however.
   According to the C-470 Corridor Plan much of the development occurs proximate to the project
   itself and its interchanges. Induced development effects may also be reduced if the project is
   developed as a toll road.


   There was extensive discussion among project participants about the appropriate method for
   calculation of induced development effects. This discussion was inconclusive. For the purposes
   of this demonstration, we chose to evaluate all urban development at the regional and local scales
   in order to support an assessment of general cumulative processes with respect to impervious
   cover and habitat. This approach is certainly appropriate if applied to environmental assessment
   of the regional transportation plan. We used both model results and expert judgment to evaluate
   induced development at the local and project scales. As discussed above, we anticipate a small
   induced development effect at the local scale and a relatively large effect at the project scale. At
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   the conclusion of this analysis, we feel some skepticism about the feasibility of reliably modeling
   induced development effects in the context of a Denver regional ACCEA, and some preference
   for an expert judgment approach.


   Concerns were raised about cost of data collection and preparation. We recommend that
   additional research focus on the cooperative development of a data and modeling infrastructure
   to support cumulative effects assessment of this kind. With support of this infrastructure, data
   collection and modeling costs could be reduced significantly. This policy-focused land use
   model has been reviewed through a CDOT workshop and through discussions with project
   consultants and others. Reviewers generally supported the approach described above.


   4.3. ACCEA for Water Quality

   4.3.1. Water Quality Resources of Concern
   Water quality impacts of urbanization, including transportation projects, are a priority aspect of
   ACCEA. Of primary interest are the impacts of non-point source pollution (NPS). Urban runoff
   has been found to contribute a significant amount of non-point source pollutants to receiving
   streams (Beach, 2002; Boyer et al., 2002; U.S. EPA, 2002). It has been well-documented that
   urbanization increases the volume, duration, and intensity of storm water runoff (Booth and
   Reinfelt, 1993).


   The highest rated metric for water quality was impervious surface increases associated with
   transportation projects and secondary growth. We have noted in Section 3.3.2 the acknowledged
   relationship between impervious surfaces and the quality of runoff originating from those
   surfaces. Impervious surfaces are readily estimated using GIS databases, and it is possible to
   separate transportation project effects from other land use changes, at least for local watersheds
   within which highway projects occur. This ACCEA demonstration project focuses on impervious
   area accounting only.


   GIS-based water quality models which link land use (and impervious surfaces) of non-point
   source water quality of runoff are well established as assessment and planning tools to identify
   general trends in water quality for a specific watershed. Although such models can provide

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   statistics on the relative changes in pollutant loadings from a watershed, the use of such models
   to predict violations of specific water quality standards in a given stream reach is difficult and
   was not considered viable. Also, it was not clear watershed runoff effects on water quality can be
   tracked for a region given the complicating factors of stream assimilative capacity, multiple
   inputs changing over time, complicated water balances, biochemical reactions, and other factors.
   Models of water quality which can be applied across a region are considered too difficult and
   expensive to develop and apply in a reliable manner acceptable to regulatory authorities.


   Impervious Area Threshold. The amount of urban runoff and its impacts on stream conditions
   and water quality have been shown to be strongly correlated with the percent area of impervious
   surfaces within a watershed (Schueler, 1994; Arnold and Gibbons, 1996; Clausen et al., 2003).
   Imperviousness influences hydrology, stream habitat, chemical water quality, and biological
   water-quality (Schueler, 1994; Arnold and Gibbons, 1996). This strong relationship implies
   impervious surfaces can serve as an important indicator of water quality, in part
   because imperviousness has been consistently shown to affect stream hydrology and water
   quality. Also, it can be readily measured at a variety of scales (i.e., from the parcel level to the
   watershed and regional levels) (Schueler, 1994). As noted by Schueler (1994) an impervious
   level of 25 percent is a threshold above which water quality would be expected to be degraded.
   To assess the analysis results we used the proportional threshold approach using the 5-point
   scaling; 1 = <5 % impervious (pristine), 2 = 5-15 % (protected), 3 = 15-25 % (impacted), 4 = 25-
   40 % (degraded), 5 = >40 % (severely degraded).


   Spatial Boundaries. The C-470 project would potentially impact numerous waterways and
   drainage features that cross the existing roadway alignment. Major drainage features include
   Bear Creek, Mt. Vernon Creek, Turkey Creek, Dutch Creek, Deer Creek and Massey Draw.

   4.3.2. Data Collection
      Various data have been collected for the study area to support demonstration of water quality
      areawide CEA. These include watershed boundaries and stream paths, and land use for
      current and future conditions.




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                     Figure 12. Major streams in the vicinity of C470 project




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                         Table 15. Spatial and Other Data Used in Demonstration Project

          No.     Data                                                       Comment

          1       Flash Flood Monitoring and Prediction (FFMP)               Spatial
                  Program Data – Watersheds
          2       CDPHE Stream Classification Data (Regulation               DBF tables
                  38)
          3       Colorado Vegetation Classification Project Data            Spatial
                  (Land Use)
          4       Reasonable Foreseeable Future Land Use                     Spatial

          5       Transportation Data (CDOT)                                 Spatial

          6       National Hydrography Dataset                               Spatial

          7       Colorado Division of Water Resources Data                  Spatial
                  (Surface water sources, groundwater sources)



   4.3.3. Analysis of Potential Effects
   Analysis of potential effects is based on the impervious area method. The (hypothetical) C470
   project (Kipling to I-70) and local areas were analyzed to determine the impervious areas for
   current and forecast future conditions; a comparison to the regional totals was made for the
   current land use.


   Development of a scientific basis for the relationship between land use and impervious surface
   has been the subject of considerable study beginning in the 1970s. In earlier studies aerial photos
   were used. As satellite imagery became available, supervised classification procedures were
   adopted and are the norm today. Typical values of percent impervious area for various land cover
   classes were used for the impervious area tabulation generated for the C470 watersheds. We
   applied the mean or mid-range of values to the land use maps for current and forecast land use
   conditions. There are some caveats to be acknowledged for these data, including 1) there is
   considerable variability within some land classes and development density, and 2) the data do
   not account for the drainage areas which are directly connected by storm sewers to the streams
   (i.e. the “effective” impervious area). These issues
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                       Table 16. Impervious Percentages for Various Land Cover Classes

    Land Cover Class      Notes                   Mean      Range         Reference
    Single-family
    residential           <0.25 acre lots         39        30-49         Alley and Veenhuis (1983)
    "                     0.25-0.5 acre lots      26        22-31         Alley and Veenhuis (1983)
    "                     0.5-1.0 acre lots       15        13-16         Alley and Veenhuis (1983)
                          Includes multi-
    "                     family residential      30        22-44         Sullivan et al. (1978)
    Multiple-family
    residential                                   66        53-64         Alley and Veenhuis (1983)
    Medium-density
    residential                                   --        20-25         Dougherty, et al. (2004)
    Low-density
    residential                                   --        5-10          Dougherty, et al. (2004)
    Commercial                                    88        66-98         Alley and Veenhuis (1983)
    "                                             81        52-90         Sullivan et al. (1978)
    Industrial                                    60        --            Alley and Veenhuis (1983)
    "                                             40        11-57         Sullivan et al. (1978)
    Institutional/
    commercial                                    --        35-55         Dougherty, et al. (2004)
    Major roads
    w/median                                      --        50-70         Dougherty, et al. (2004)
    Ag/forest/golf/idle                           --        2-7           Dougherty, et al. (2004)
    Open                                          5         1-14          Sullivan et al. (1978)
    Adapted from Brabec, et al. (2002) and Dougherty, et
    al. (2004)




   could be addressed with more detailed investigation. However, the impervious percent values
   shown are considered adequate for the ACCEA purposes at this time.


   GIS procedures for computing impervious areas involved the following steps, 1) collate the GIS
   data on land uses; highways, local roads, arterials and collectors; and sub-basin boundaries, 2)
   overlay the intersection of the sub-basin boundaries onto the land use and highway coverages, 3)
   convert the intersected areas to raster (i.e. cell) format, 4) tabulate the areas of various land uses
   and highways corresponding to each sub-basin, and 5) transfer the GIS area tabulations to Excel
   to summarize and create graphs.

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   The sub-basin area and percent impervious data could be readily used as inputs to water quality
   simulation models, such as the Purdue Long-Term Hydrologic Impact Assessment (LTHIA) or
   EPA’s BASINS model. This was not done for this demonstration project because the metrics of
   water quality parameters generated by such models were not rated as high as the impervious area
   metric.


   Analysis Results

   We conducted analyses for the local area and for the entire region for current and forecast RFF
   conditions. Local area results of the GIS analysis of 42 sub-basins’ land use and impervious
   surface changes in the vicinity of the C470 project are illustrated below in Figure 12 and Figure
   13. We used the 5-point proportional threshold approach to assess significance of the results.



                            50%
                                                                                                                        Current           RFF
                            45%

                            40%

                            35%
             % Impervious




                            30%

                            25%

                            20%

                            15%

                            10%


                            5%

                            0%
                                  1 2 3 4 5 6 7 8 9 10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25 26 27 28 29 30 31 32 33 34 35 36 37 38 39 40 41 42

                                                                                      Map No.


                                      Figure 13. Percentage impervious areas of the project area watersheds




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                           10
                                                                                               Current   RFF
                            9

                            8

                            7
          No. Sub-basins




                            6

                            5

                            4

                            3

                            2

                            1

                            0
                                5%    10%      15%     20%     25%      30%     35%      40%       45%    50%
                                                              % Impervious


                                Figure 14. Number of sub-basins in interval category of % impervious



      Current conditions:

      •        The 42 sub-basins’ percent impervious values range from a low of 2% to a high of 46%
               with an average of approximately 19%. Current conditions indicate a relatively high
               level of urbanization in the study area where degradation of water quality will have
               already occurred.

      •        Three (3) sub-basins have very high percent impervious values greater than 40% and
               would be considered in a severely degraded condition. An additional eleven (11) sub-
               basins have high %impervious values greater than the 25% threshold but less than 40%
               and would be considered in a degraded condition. These watersheds are predominantly
               located in the Denver urban area where tributaries drain to the South Platte River.

      •        Twenty (20) sub-basins have relatively low percent impervious values less than 15% and
               would be considered in a protected or pristine condition. These sub-basins are
               predominantly located in the rural foothills.



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      •    Eight (8) sub-basins have intermediate percent impervious values ranging from 15% to
           25%. These sub-basins would be expected to be impacted and are located in the
           transition area between urbanized Denver and the rural foothills. These include Bear
           Creek and Turkey Creek and tributaries.

      RFF Conditions:

      •    The 43 sub-basin %impervious values range from a low of 2% to a high of 46% with an
           average of 20.8%, an increase of 1.5%.

      •    The number of sub-basins having very high impervious areas in excess of 40% remains
           the same; the RFF growth model was not applied to these densely urban sub-basins.

      •    The number of sub-basins exceeding the 25% high threshold does not increase with RFF
           growth. However, the number of sub-basins in the impacted range of 15% to 25%
           increases from 8 to 13. These watersheds are predominantly located in the Denver
           suburban area where tributaries drain to the South Platte River where infilling
           development is projected to occur.

      •    Fifteen (15) sub-basins, a decrease of 5 from current conditions, have relatively low
           %impervious values less than 15% and would be considered in a protected or pristine
           condition. The loss of 25% of the protected class watersheds indicates encroaching
           urbanization in the foothills.

      •    Thirteen (13) sub-basins have intermediate %impervious values ranging from 15% to
           25%; this is an increase of 5 from current conditions. These sub-basins are located in the
           transition area between urbanized Denver and the rural foothills. Portions of Cub Creek,
           Bear Creek and Turkey Creek and tributaries are in this category. RFF conditions
           indicate a relatively high level of urbanization in the study area where increased
           degradation of water quality is threatened.

   Regional Comparison

   The land use impervious area tabulation was also conducted for the region by application to the
   TAZ land use tabulations presented above in the land use section. The impervious area
   assignments were tabulated for the TAZ areas, not for the watersheds. Table 17 summarizes the
   results for the regional comparison.
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   Several conclusions can be drawn from the table.

            •     On the regional scale, projected RFF growth increases the %impervious from
                  approximately 10% to 12.7%; a movement from a protected level towards impacted.

            •     On the local scale, projected RFF growth increases the %impervious from 13.3% to
                  15.7%; a movement from protected to impacted.

            •     TAZ areas in the vicinity of the C470 project are projected to increase from 10%
                  impervious to 15%; a movement from protected to impacted.


    Table 17. Current and Forecast Impervious Cover at the Regional, Local and Project Scales - High-Density
                                          Growth Scenario (in Acres)



                              Regional                     Local                    Project             Project
                                                                                   (TAZs)**           (Buffer)***


                      Current       Forecast     Current       Forecast     Current      Forecast      Current      Forecast

    Res.              260,175       333,123      52,956            62,461    2,106            3,152       0            0
    Com/Ind            62,442        79,949      12,709            14,991     505              757       607          607
    Total             322,617       413,072      65,665            77,452    2,611            3,909      607          607
    Percent             9.9          12.7         13.2              15.6      10               15         40          40
    Impervious*

   *Traffic Analysis Zones overlapping the project site
   **Buffer area around C-470 Corridor, calculated in GIS
   ***Current and forecast impervious acres as a percentage of regional, local and project area




   4.3.4. Conclusions
   The demonstration project for water quality provides a basis for drawing several conclusions
   concerning the feasibility of such methods for ACCEA.


       •      The water quality demonstration project shows that GIS data are readily available to
              support cumulative effects analyses. The data are quite refined in spatial detail so that
              the various levels of scope – project, local and region – can be accommodated.




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      •    GIS processing functions support the tabulation of land use areas of various types, and
           their associated impervious area characteristics. Integration of the RFF land use changes
           is also readily accomplished.

      •    The impervious area (or %impervious) metric is relatively straightforward to generate
           and provides an informative basis for comparison of water quality threats in specific sub-
           basins and for the region. Differences attributable to specific project facilities can be
           identified, as can changes due to anticipated secondary growth effects.

      •    The GIS-based methodology provides a template for inclusion of multiple projects and
           RFF growth effects for other specific watersheds and for an overall regional accounting.

      •    The methodology demonstrated does not account for mitigation measures for stormwater
           runoff, such as required by CDOT’s participation in the metro Denver MS4 Program.
           However, it is possible to extend the method using simulation modeling approaches,
           such as the BASINS model. However, advancing the sophistication of the analysis
           approach would negate the simplicity of the %impervious approach, and may not be
           acceptable to the participating agencies.

   4.4. ACCEA for Biological Resources
   The ACCEA procedures utilized in the C-470 demonstration project followed the 5-step process
   described in Section 2: 1) describe the project components, environmental and land use setting,
   2) identify resources or issues of concern, 3) identify metrics for measurement of impacts and
   thresholds of significance for each of the resources of concern, 4) conduct ACCEA analyses and
   determine if cumulative effects are significant, and 5) interpret analysis results and establish
   follow-up actions.


   4.4.1. Scoping
   Scoping of biological resources for the C-470 demonstration project was conducted in three
   ways: 1) from comments by participants at the ACCEA Biological Resources workshop held on
   October 28, 2005, 2) in consultation with the CDOT ACCEA Advisory Panel, and 3) through
   individual discussions with resource experts. Since the scope of the demonstration project was
   limited, only two species and their habitat were selected for assessment. The Federally listed

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   Preble’s meadow jumping mouse (Preble’s) and the black-tailed prairie dog (State listed as a
   species of concern) were chosen because they have been considered significant to other projects
   in the region and it was the general consensus of those individuals mentioned above, that they
   are important biological resources within the study region.


   The workshops are described in more detail elsewhere in this report; however, the utilization of
   the workshops for scoping purposes will be described briefly here. Within the NEPA process,
   scoping usually involves a public forum as well as other sources of input from the expert
   community. Because time was limited, the workshops needed to fulfill both functions.
   Throughout the workshop, the participants were given the opportunity to indicate their opinion
   on a variety of topics relevant to scoping; significance of particular species, determination of
   temporal and geographic boundaries, approaches to data collection and analysis, among others.
   While in a different setting, many of the same topics were discussed with the CDOT ACCEA
   Advisory panel and also in communications with individual experts.


   4.4.2. Spatial and Temporal Boundaries
   Spatial boundaries are scale dependent for biological resources. At the “project scale”, which is
   the scale most proximate to the project, the geographic boundaries are fundamentally defined by
   the ecosystems that intersect C-470 or are within the right-of-way. For this purpose we have
   examined an ecosystems map of the area prepared by Nature Serve. This map delineates the
   major ecosystems in the project area; however, the ecosystem map is quite generalized and
   therefore is only a guide to the extent of potentially impacted ecosystems. The spatial extent of
   the project CEA, therefore, could be, in a general fashion, determined by the extent of the
   proximate ecosystems. Figure 15 is a map showing the relationship of C-470 to the surrounding
   ecosystems. At the larger (regional) scale, the somewhat arbitrary boundaries of the DRCOG
   counties could be used for establishing a workable spatial extent. However, as with the project
   scale approach of using the ecosystem boundaries to determine spatial extent, the same approach
   could be used for regional CEA. The temporal boundaries of the project are determined by the
   availability of useful data. An example of this limitation is the mapped distribution of vegetation
   in the area that was produced from Thematic Mapper satellite imagery. Images used for this
   mapping were acquired for the entire state of Colorado and consist of images collected in 1993-

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   97. Another potential “baseline” for the study area is the EIS that was written in 1980 for the
   original C-470 project.


   4.4.3. Resources of Concern
   Because of limited time, only two species could be assessed for the C-470 project. We selected
   the black-tailed prairie dog and Preble’s for the study. The prairie dog was selected because it is
   widely distributed in the region, it is considered by many to be a keystone species, its habitat is
   rapidly dwindling and becoming more fragmented, and it is targeted for extermination in many
   areas where its habitat is too close to human habitation. The Preble’s habitat, like the prairie
   dog’s, is becoming scarcer and only small remnant patches remain in the region. Its preferred
   habitat for hibernation (riparian shrub) is even scarcer than that of the prairie dog. It is listed by
   the U.S. Fish and Wildlife Service as a “Threatened” species. While there is some dispute over
   whether it should be listed or not, it currently must be treated as a listed species. While no
   specimens of the jumping mouse have been trapped along the Kipling to I-70 corridor of C-470,
   we felt that suitable habitat was present in the vicinity. Preble’s have been encountered just to the
   south and just to the north of the study area.




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         Figure 15. Ecosystems mapped by Nature Serve in the vicinity of the hypothetical C-470 project




   4.4.4. Data Collection
   Environmental data relevant to the investigation were acquired from the Colorado Vegetation
   Classification Project (CVCP), the Colorado Division of Wildlife’s Riparian Mapping Project, a
   10 Meter resolution digital elevation model (DEM) developed by the U.S. Geological Survey,
   open space distribution from DRCOG, ecosystems map produced by Nature Serve, and 2030
   urban growth in the project vicinity modeled by DRCOG.


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   4.4.5. Analysis of Potential Effects
   Habitat suitability Indices have proven to be useful in trying to assess the potential locations
   where a given species might be able to survive. These indices may also provide a means of
   establishing “regional accounts” where the impacts of development might be offset by enhancing
   “suitable” areas where a species might be introduced to balance areas where the species is being
   extirpated. Habitat suitability models were developed for the black-tailed prairie dog and for the
   Preble’s meadow jumping mouse. The models were developed using the Model Builder tools in
   ESRI’s ArcGIS. Each model relies on the environmental data mentioned in the previous section
   of this report and the use of weighted overlay and other functions that characterize the suitable
   habitat of each species.


   4.4.6. Demonstration: Black-tailed Prairie Dog
   The black-tailed prairie dog was once the most abundant mammal species of the native
   grasslands of the central U.S. Land conversion (e.g., agricultural development), pest control, and
   disease have reduced the black-tailed prairie dog’s distribution to a fraction of its former range.
   In the Denver-Metro region, the prairie dog’s distribution has become more and more limited as
   urban sprawl has eliminated colonies and fear of plague has resulted in the poisoning of many
   more. The C-470 corridor has many colonies directly in the right-of-way and many others are in
   the vicinity. Widening C-470 will result in the direct impact of those colonies located in the
   right-of-way.


   A habitat suitability model for black-tailed prairie dogs was developed for the project area
   (Figure 15). This model is based upon three specific environmental variables including
   vegetation type, slope of terrain, and maximum elevation. The vegetation types were extracted
   from the Colorado Vegetation Classification Project (CVCP) classified Landsat Thematic
   Mapper data. The vegetation type that was given the greatest weight in the model was the grass-
   dominated class. Slope as an indicator of terrain steepness was determined using a U.S.
   Geological Survey (USGS) digital elevation model that originally had a spatial resolution of 10
   meters but was aggregated to a resolution of 25 meters so that it matched the CVCP data.
   ArcGIS’s spatial analysis includes a tool that calculates slope from DEM data. Slopes greater



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   than 8 % were considered to be too steep for prairie dog colonies. Maximum elevation was also
   determined using the DEM data and was established as 2700 meters.




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     Figure 16. Black-tailed prairie dog HSI Model and its application to the vicinity of the hypothetical C-470
    project area. As indicated in the legend, the darker the shading, the greater the suitability of the habitat for
                                                    the prairie dog




   In addition to the input of raw data, the prairie dog model utilizes a “weighted” overlay tool. This
   component of the model allows the user to change the importance of variables in the model. In
   the prairie dog model the vegetation type data were given the greatest weight in the model
   totaling 60% of the variation and slope and maximum elevation controlling 20% each. These
   weights are based on “expert” opinion, but can be changed if evidence suggests a different
   weighting. Within each variable (e.g., vegetation type) the value of each type must be scaled. In
   the prairie dog model, grass dominated is given a scale value of 10 while other types that are not
   likely to support prairie dogs would be given a scale value of one. The values grade from 10 to
   one and in areas that are uninhabitable (e.g., commercial land use) the value would be
   “restricted”. The result of this analysis is a habitat suitability map, which shows the distribution
   of habitat that meets the criteria that have been placed in the model. The map is not a distribution
   map since not all of the locations indicated on the map are occupied by prairie dogs; the map
   does show, however, the locations of sites that could potentially support a prairie dog population.


   The next step in the analysis consisted of taking the habitat suitability model and forecasting
   what habitat would be most impacted by development by the year 2030. To do this, the Extract
   tool in ArcGIS was used in conjunction with the 2030 growth model (described elsewhere in this
   document) to form a “mask” to identify specific areas of habitat that would be impacted. The
   extract procedure simply takes the 2030 growth polygons and overlays them on the map of


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   suitable habitat. The areas of predicted conflict between growth and prairie dog habitat are where
   the two coincide (Figure 16).


   ArcGIS’s Model Builder provides a set of spatial analysis tools for constructing geospatial
   models. Each step in the model building process is done graphically in a Model Builder window
   and once constructed it can be run on other data sets or it can be modified and improved. Model
   Builder provides a means for developing geospatial analysis procedures that will be used on a
   repetitive basis. The weighted overlay tool is especially well suited for developing suitability
   models as the weighting process allows for the inclusion of expert opinion.


   The final step in the CEA for black-tailed prairie dogs was to examine the change that will occur
   between the baseline timeframe and the projected growth boundary of 2030 at three different
   scales; regional, which projects habitat decline over the entire urbanized region of the 2030
   growth boundary, local, which includes habitat within Jefferson County, and project-level which
   projects change in the immediate vicinity of the C-470 project. Figure 17 summarizes the
   acreage based on the 2030 growth boundary and the area classified as prairie dog habitat from
   the HSI model.




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   Figure 17. The 2030 urban growth model over black-tailed prairie dog habitat suitability in the vicinity of the
                                      hypothetical C-470 project area




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      Table 18. Current and Forecast Acres of Black-tailed Prairie Dog Habitat at the Regional, Local and
                                 Project Scales, by Level of Habitat Quality

                         Regional                       Local                    Project
                                                                                        % of
                                                                                      Regional                 % of Regional
                  Current      Forecast       Current      Forecast      Current      Current     Forecast       Forecast
                  Habitat      Change*        Habitat      Change**      Habitat       Habitat    Change**       Change
    Low***       208,337        43,403        52,468            16,681    837              0.4      197            0.45
    Medium       669,818        112,063       77,214            17,763    505              0.07     64             0.06
    High         134,367        28,229        19,296            6,632     176              0.13     49             0.17
    Total
    Habitat      1012522        183695        148978            41076     1518             0.15     310            0.17

   *Acres of habitat loss due to projected urban development within the DRCOG urban growth boundary
   **Acres of habitat loss due to urban development projected by local growth model described in Section 4.2
   ***Level of habitat quality for Black-tailed Prairie Dog populations



   4.4.7. Demonstration: Preble’s Meadow Jumping Mouse
   Areas adjacent to streams, rivers and lakes in addition to the uplands nearby are the primary
   habitat of Preble’s meadow jumping mouse (Preble’s). The bases of shrubs along these water
   bodies often are the mouse’s preferred site for hibernating. Hibernation is long -- typically from
   October to May. Within the metro Denver area there is little habitat that is suitable for Preble’s.
   A large part of the area has been identified as an exclusion zone, identified as a result of
   sampling by live-trapping and expert habitat analyses. Other areas that are outside of the
   exclusion zone but within the metro Denver area have limited suitable habitat.


   Factors used to identify the limits to distribution of Preble’s in the habitat suitability model
   (Figure 17) included an upper elevation limit of 7600 feet and an historic distribution only along
   the central and northern Front Ranges of Colorado. Also, water bodies were eliminated as
   potential suitable habitat. The upper elevation limit was determined using the 10 meter digital
   elevation model for the area, provided by the USGS and a series of GIS operations. For
   elevations below 7600 feet, NDIS’ (CDOW) map of historic range of the mouse was used. The
   data were downloaded from their web site and geo-referenced to the county boundaries. The
   distribution limit was digitized from this data set. Above 7600 ft the distribution was limited by
   the calculated elevation limit. Water bodies were identified in the GIS from the USGS NHD high
   resolution data. Processing involved a series of steps including projection of geographical data to
   UTM Zone 13N for the three basins that covered Preble’s range, clipping the data to the Preble’s
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   range, and then appending the data from the basins into a single feature class. Only polygonal
   data for water bodies were used in the analyses, i.e., water bodies and rivers whose banks were
   mapped. Water bodies that were mapped as single-line features in the NHD data were not dealt
   with in the analysis.




                     Figure 18. Model Builder diagram for Preble’s meadow jumping mouse



   All exclusion areas were converted to raster GIS data with a 25m cell size. For each theme,
   unsuitable areas were reclassified to a value of zero while suitable areas were reclassified to a
   value of 1. The minimum function in Spatial Analyst, applied to all exclusion rasters, created a
   raster of all unsuitable habitat for Preble’s.


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   For rating habitat suitability indices for Preble’s, several data sets were used: stream locations,
   riparian vegetation, and the 100-year flood zone. From the CVCP, a raster dataset, only the
   riparian shrub class was selected. The resulting raster was converted to a polygonal feature class.
   Riparian vegetation mapping data are concentrated on priority areas so some gaps are present in
   the data. The 100-year flood zones were from the FEMA.


   All themes were buffered by 300 feet. The resulting polygons were converted to rasters with a 25
   m cell size. A reclassify function was used to rank the suitability of the buffers or classes using a
   scale from 0 to 5, ranging from unsuitable habitat to highly suitable habitat, respectively. All
   cells containing riparian shrub as a dominant feature were ranked 5. Cells where the riparian
   shrubs were sub-dominant were ranked 4. Flood zone and buffer cells and stream cells and buffer
   were ranked 3. The resulting rasters were analyzed using the maximum function of spatial
   analyst, resulting in a grid with a maximum value for cell values selected from all input grids.
   This raster was multiplied by the exclusion raster to produce the final HSI raster for Preble’s
   meadow jumping mouse (Figure 18).




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         Figure 19. Preble’s meadow jumping mouse HSI in the vicinity of the hypothetical C-470 project




   Once the raster data sets are created, habitat ranks can be modified relatively easily using Model
   Builder. A new run of the model completes relatively quickly so it is feasible to use this tool for
   rendering and comparing scenarios during a meeting. On the other hand, modifications of the
   buffer width, if done in feature classes, and subsequent conversion to rasters takes a relatively
   long time, so is not feasible within the time-frame of most meetings.




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   4.4.8. Conclusions
      Black-tailed Prairie Dog
   The black-tailed prairie dog habitat suitability model shows graphically where potential habitat is
   located in the C-470 study area. Mitigation of impacts may be more easily carried out if potential
   sites for introduction and enhancement are known. Whether induced or not, the growth of the
   urban area in the vicinity of C-470 between now and 2030 will have a measurable impact on
   grass dominated habitat. The extract procedure has identified locations where development will
   replace suitable prairie dog habitat with residential land use by 2030 (Figure 20). Approximately
   127 acres of grassland will be lost. Most of the remaining colonies will be located in open space
   or parks in this portion of Jefferson County.




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                       Figure 20. Suitable black-tailed prairie dog habitat replaced by
                                         urban development by 2030




      Preble’s Meadow Jumping Mouse
   After completing the Model Builder run for the Preble’s data were summarized using MS Access
   and MS Excel. This table shows that a relatively small area of potential habitat for Preble’s is
   within the C-470 corridor with the predominant class having a rank of 3.


   A RFF scenario in which only the parks and open space areas have potential suitable habitat for
   Preble’s in the future may be reasonable, considering evidence from the exclusion zone
   immediately to the east of the corridor, and the plans of Jefferson County for major commercial
   development as a revenue-generating priority along the C-470 corridor in the future. If there is a
   significant mitigation effort, e.g., by planting shrubs in the riparian areas, then additional
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   potential habitat would be created for Preble’s in the future. On the other hand, trail development
   along stream corridors within parks and open spaces is expected to lead to a reduction in the
   amount of suitable habitat for Preble’s.




    Table 19. Current and Forecast Acres of Preble’s Meadow Jumping Mouse Habitat at the Regional, Local
                                and Project Scales, by Level of Habitat Quality

                        Region                    Local                                Project
                                                                                                               % of
                                                                                 % of Regional               Regional
               Current      Forecast    Current      Forecast          Current      Current      Forecast    Forecast
               Habitat      Change*     Habitat      Change**          Habitat      Habitat      Change**    Change
    Low***     203,159       49,819      29,561           10,109        214          0.11          60          0.12
    Med         2,794            989      530              218           0            0             0            0
    High        1,693            535      438              173           2           0.12           0            0
    Total
    Habitat    207,646       61,333      30,529           10,500        216          0.23          60          0.12

   *Acres of habitat loss due to projected urban development within the DRCOG urban growth boundary
   **Acres of habitat loss due to local and project-area urban development projected by calculations described above
   ***Level of habitat quality for Preble’s Meadow Jumping Mouse populations

   Table Assumptions:
       • All areas that are suitable habitat for Preble’s within the existing parks and open space areas will be
            maintained as such.
       • No additional parks and open space areas will be created in the RFF within the UGB area
       • All areas that are suitable habitat for Preble’s outside of the DRCOG parks and open space areas will be
            converted to habitat that is not suitable.
       • All areas away from the floodplains and riparian corridors have an HSI of 0.




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   A decision on mitigation priorities would have to involve several factors including the fact that
   no Preble’s individuals have been trapped in the area of the C-470 buffer. One consideration is
   the fact that the lack of habitat for Preble’s in the exclusion zone can be expected to prevent
   migration among the populations to the north of the exclusion zone and those to the south
   (Figure 20). There is a possibility that migration among these populations could occur at higher




                           Figure 21. North-south movement of Preble’s meadow
                                        jumping mouse is restricted

   elevations, but this remains to be demonstrated by research. Lack of higher-elevation
   connections might justify more efforts at providing habitat at lower elevations.




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   5. CONCLUSIONS

   We were tasked in this project to assess the usefulness of GIS technology in providing a means
   for comprehensive integration across a region of information on the environment, transportation
   projects, land use and changes associated with other development, jurisdictions and population
   characteristics. Based on project results, we argue that ACCEA is feasible and will provide
   valuable support to both project-specific assessment of cumulative impacts and regional
   transportation planning. Opportunities for regional CEA may be characterized as “supply-push”
   in that the availability of GIS technology provides a means to accomplish cumulative effects
   analysis in a manner not possible before.


      •   Data to support areawide CEA are generally available from public sources based on a
            modest effort to download data and collate to common formats. There are gaps in data
            collection and problems of access to published datasets. Historical data are not
            available for all resources, and workshop participants made a variety of
            recommendations for further data collection. Considering these issues however, we
            consider data resources to be adequate to support areawide CEA.
      •   Spatial models provide an enhanced means to predict environmental consequences of
            transportation projects individually and collectively across a region. Based on the
            model review undertaken in this project, it is clear that some CEA-related models are
            controversial; others have been used extensively in research and practice. Many
            participants argued that CEA spatial models are necessary to generate new information
            on resource usage, environmental impacts, and usage forecasts. Participants
            emphasized the value of simple models that are understandable and easy to apply.
      •   Metrics can be based on GIS data and models, and organized to provide a comprehensive
            means for accounting of resources across a region. For the water resources domain, for
            example, it has been demonstrated that a regional accounting of impervious areas can be
            obtained from GIS data and processing. The resolution of the data is detailed enough
            such that specific characteristics of individual transportation projects can be tabulated
            and portrayed, and these project-scale characteristics can be accounted across an entire
            region for a collection of planned projects and associated related land use changes.

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      •   Regional accounting opportunities vary by resource. Some participants commented that
          regional tabulations may not be appropriate for certain resources. For example, water
          quality may be best assessed at the watershed scale. Issues of data consistency also
          emerged. While many datasets are consistent across regions (e.g., CVCP), others use
          inconsistent attributes and collection dates (e.g., assessor datasets). Nonetheless, the
          principle of regional accounting was supported by project findings and particularly
          through the demonstration project.
      •   Stakeholder involvement is necessary to obtain a common understanding of the data and
          models, establish validation of the models, acknowledge priorities and preferences of
          participants who would use the models, and integrate model usage into administrative
          processes for decisions. It is these administrative procedures for model acceptance and
          integration that remain somewhat elusive.

   5.1 Workshops

   5.1.1. Major Findings
   We were generally successful in obtaining participation in the workshops by environmental
   professionals from the various agencies and consultants involved with CEA. Major outcomes of
   the workshops include (1) development of a common understanding of relevant regulatory
   requirements and potential impacts, and (2) identification of acceptable methods for
   characterizing cumulative effects at different scales. We found that GIS and remote sensing tools
   are an effective method for integrating data and models in most of the resource areas we
   examined, and they provide a useful framework for analysis of cumulative effects. For the most
   part data were generally available and usable for ACCEA, and most participants had a
   fundamental understanding of how GIS tools could be applied to ACCEA. Feedback from
   participants indicated some general guidance for GIS data and models acceptance, including the
   use of simplified models which can be dovetailed with agencies’ practice.


   5.1.2. Land Use
   Data on past and present land uses are relatively widely available; one of the most
   comprehensive is the CVCP. A variety of competing models has been developed for assessment
   of energy effects. Participants focused on the LESA model for measurement of cumulative

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   effects related to agriculture. Many metrics were proposed in the workshop for measuring the
   cumulative impacts related to land use, agriculture, mining and energy. The metrics included
   conversion of private open space or agricultural lands, loss and increase of land values,
   fragmentation, air quality, noise level, and the change in the ratio of developed land to
   recreational, agricultural and open space lands. Some participants argued that a rating system
   should be developed to assess the value and type of agricultural, recreational, mining and open
   space land. Guidelines and standards should be locally defined based on national metrics such as
   the National Park and Recreation Association (NRPA) standards including the ratios of use per
   acre of recreation and open space and desired future conditions.


   5.1.3. Water Resources
   Water supply and demands were rated highly relevant to transportation project and areawide
   CEA in recognition of their importance to sustaining growth and environmental values in
   Colorado. However, it was felt that complications of technical, legal and administrative aspects
   make tracking of water supply and demand too difficult for transportation ACCEA purposes.
   Flood runoff and drainage were rated highly relevant to transportation projects and ACCEA in
   recognition of the influence that highways have on flood runoff due to increases in impervious
   surfaces.   Secondary growth influences of highways leading to residential and commercial
   development also increase impervious surface areas and can lead to increases in flood runoff in
   comparison to natural conditions. However, separating the influence of highways from
   secondary growth is difficult and is not considered a reasonable means for conducting ACCEA.
   Water quality concerns were rated as the most relevant of the three water resources sub-domains.
   The highest rated metric for water quality was impervious surface increases associated with
   transportation projects and secondary growth. Impervious surfaces are readily estimated using
   GIS databases and it is possible to separate transportation project effects from other land use
   changes, at least for local watersheds within which highway projects occur.


   5.1.4. Biological Resources
   Ranking of species to be considered was accomplished in the workshop and through meetings
   with attendees following the workshop. The ranking was influenced by the importance of each
   species in terms of transportation projects. Habitat suitability models were suggested as one of

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   the best ways of characterizing the distribution of habitat of T & E species, and other species of
   concern, on a regional basis. These suitability models can be generated by a GIS that contains
   relevant environmental data for each species. The Colorado Vegetation Classification Project
   data (CVCP), developed from satellite data by the Colorado Division of Wildlife and the Bureau
   of Land Management, is perhaps the best dataset available for assessing habitat of T & E species
   and species of concern. Models can be developed using Habitat Suitability Indices for select
   species found in the region.


   5.1.5. Cultural Resources
   Roads and associated development may have cumulative negative effects on the quality of
   cultural resources through noise levels generated by multiple roads, visual changes in the
   character of urban settings, and in general increasing urban density. Data for ACCEA analysis
   of cultural resources is limited, however. The Cultural Resources database in the State Historic
   Preservation Office (SHPO) is not comprehensive but rather an accumulation of project-specific
   survey results. In addition to SHPO, there are other data sources such as assessor’s data that
   could be integrated into CEA-related project analysis, at least in the scoping stage. Thresholds
   for CEA analysis are also controversial because of what workshop participants’ described as the
   uniqueness of cultural resources. However, there is a useful precedent for ACCEA-type analysis
   in the context studies already performed as a part of cultural resource assessments. Finally, there
   are opportunities for inter-agency agreements. Participants commented, for example, that a data-
   sharing agreement between SHPO and CDOT may be useful.


   5.1.6. Community Impacts
   CEA analysis of community and environmental justice encompasses issues such as effects on
   specific populations, health, community cohesion and loss or gain of certain types of businesses.
   Participants asserted that cumulative effects of transportation investments on communities or
   specific populations may be both positive and negative. Much of the discussion in the workshop
   focused on data development including (1) applications for existing tabular data that are not
   typically organized in a GIS, and (2) methods for collection of raw data such as windshield
   surveys. There was agreement that there is a large number of underutilized data sources that
   could be tapped for environmental justice analysis. With respect to regional accounts, some

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   participants argued that they are useful for environmental justice CEA because they provide an
   opportunity to mitigate on a regional scale, not project-by-project.              Other participants
   emphasized the technical difficulties in accounting for community or environmental justice
   impacts on a regional scale.


   5.2 Demonstration Project

   5.2.1. General
   For this ACCEA demonstration project we focused on three realms of potential impacts: 1) land
   use, 2) biological resources and habitat, and 3) water quality. Our emphasis is on demonstrating
   the utility of GIS data management and modeling tools to develop an accounting of these
   resources for areas proximate to the C470 roadway right of way, the local area where indirect
   effects might occur, and the region.


   5.2.2. Land Use
   Several participants suggest that there were significant indirect development effects (induced
   development) resulting from the initial construction of C-470 and the expansion of US Highway
   285. Future indirect development effects of the project itself in western Jefferson County may be
   less significant.   Nonetheless, overall rates of development are substantial. In our growth
   projections, we anticipate at the project scale that all land that is not protected will be developed.
   At the local scale, which in our analysis includes all of Jefferson County, we project significant
   continued growth in the valley bottoms and other accessible areas. For this demonstration of an
   ACCEA, we have adopted the most inclusive definition including all past, present and future
   urban development of any kind.          Using this approach, an ACCEA can support whatever
   definition is adopted at the individual project level. Finally, concerns were raised about cost of
   data collection and preparation.       We recommend that Phase II of this project include the
   cooperative development of a data and modeling infrastructure to support cumulative effects
   assessment of this kind.


   5.2.3. Water Resources
   The demonstration project for water quality provides a basis for drawing several conclusions
   concerning the feasibility of such methods for ACCEA. The water quality demonstration project

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   shows that GIS data are readily available to support cumulative effects analyses. The data are
   quite refined in the level of spatial detail so that the various levels of scope – project, local and
   region – can be accommodated. GIS processing functions support the tabulation of land use areas
   of various types, and their associated impervious area characteristics. Integration of the RFF land
   use changes is also readily accomplished. The impervious area (or %Impervious) metric is
   relatively straightforward to generate and provides an informative basis for comparison of water
   quality threats in specific sub-basins and for the region. Differences attributable to specific
   project facilities can be identified, as can changes due to anticipated secondary growth effects.
   The GIS-based methodology provides a template for inclusion of multiple projects and RFF
   growth effects for other specific watersheds and for an overall regional accounting. The
   demonstrated methodology does not account for mitigation measures for stormwater runoff, such
   as required by CDOT’s participation in the metro Denver MS4 Program. However, it is possible
   to extend the method using simulation modeling approaches, such as the BASINS model.
   However, advancing the sophistication of the analysis approach would negate the simplicity of
   the %impervious approach, and may not be acceptable to the participating agencies.

   5.2.4. Biological Resources
   GIS modeling of species appears to be a viable approach for characterizing their distributions
   and the relative abundance of suitable habitat. The development of habitat suitability indices
   using ArcGIS’s Model Builder provides a GIS tool for developing geospatial models that once
   developed, will provide a means for future analyses. The black-tailed prairie dog is widespread
   in the region and in the C-470 project area. The habitat suitability model developed for the
   prairie dog indicates that there are many habitat fragments present in the vicinity of the project
   and throughout the region; however, the majority of these habitat patches are unoccupied.
   Presence of unoccupied habitat indicates the potential for regional accounting and the possible
   use of unoccupied habitat for impact mitigation through species introduction and habitat
   enhancement. The Preble’s model indicates that there is a relatively small amount of habitat for
   Preble’s in the project area. The dominant rank of habitat is a 3 (a 1 to 5 scale with 5 being the
   best) in the project area. One reason why no Preble’s have been found in previous studies of the
   same area might be that immigration routes to the east have been effectively cut off by urban
   development and there is little chance of migration between drainages at higher elevations to the


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   west of the project area. Considering the rate and degree of development that is taking place in
   the west metro area, the only truly suitable habitat for the long term may be in dedicated open
   space.


   5.3 Recommendations
   Based on the outcomes of Phase I, we consider the general outlines for Phase II, as described in
   the ACCEA Statement of Work Request for Task Proposal, to be feasible and appropriate. The
   following additional recommendations for Phase II and Phase III emerged from the
   demonstration project and workshops.


   1. Create tools including a web-based infrastructure to support ACCEA (Phase II and III). The
   data and linked models should be made available through a web interface to provide easy means
   for download of data, access to or transfer of models, and upload of project-specific information
   by project consultants. We developed a prototype component of web-based infrastructure to
   support expert participation in land use projections; this is posted at http://cdot.eparticipation.net.
   A workshop program should also be instituted to develop capacity among CDOT and contractor
   staff to undertake ACCEA data management and CEA modeling tasks.


   2. Build agency support for ACCEA. There are significant planning process issues associated
   with development and implementation of an ACCEA database and models that are truly usable
   by the involved parties. It is recommended that Phase II incorporate directed activities to help
   ensure “buy-in” by agency managers and staff. These might include, for example, designation of
   a key staff member from each agency that would be integrally involved with the ACCEA project
   development, who would serve as the agency point of contact, and who would conduct within-
   agency activities to transfer the developed ACCEA database and models functionality into
   agency operations.


   3. Establish interagency agreements regarding data-sharing and analysis protocols. In certain
   areas, data-sharing agreements could be forged to create better access to data for CEA analysis.
   These include (1) agreements related to historic structures between the state historic preservation



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   office and CDOT; and (2) agreements regarding a range of datasets between DRCOG and
   CDOT.


   4. Improve access to CEA-related data through further construction of datasets, data portals,
   and data agreements. Data used for the ACCEA project should be incorporated into an ESRI
   geodatabase compatible with other CDOT GIS data. Simple and easily applied habitat suitability
   index models should be developed for select biological resources in the region, utilizing GIS
   technology. Wetland banking should be looked at as a viable mitigation methodology. GIS and
   other data should be archived into a geodatabase to make the data available for CDOT personnel,
   consultants and others concerned with cumulative effects assessment.


   5. Create inter-agency and inter-governmental working groups to further develop CEA-related
   protocols in key areas. In Phase II of the project, interagency working groups should be
   established focusing on key analysis protocols for areawide CEA. These working groups should
   address further development of agreements about data, models and metrics.


   6. Focus on key resources in the Phase II assessment. Based on the findings of Phase I, key
   resources should be identified for analysis of the Denver Metro RTP in Phase II. Cultural
   resources, for example, may not be deemed appropriate for an areawide CEA in this region.


   7. Create inter-agency and inter-governmental working groups to further develop areawide
   priorities for ACCEA related to key resources. In Phase II of the project, interagency working
   groups should be established focusing on resource priorities for areawide CEA. These working
   groups should focus on further development of priorities about resources that should be
   considered in areawide CEA.


   8. Explore how CDOT can provide guidance to contractors for the implementation of protocols,
   priorities and other frameworks developed through Phase II of the project. Where possible,
   Phase II should be structured to define specific ways in which CDOT can structure the work of
   contractors related to CEA, either through contract language or other types of guidance.




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   9. Explore opportunities for integration of CEA-related information into the regional
   transportation planning process, including initiatives such as the Strategic Transportation,
   Environmental and Planning Process for Urbanizing Places (STEP UP) initiative for Colorado.
   Finally, Phase II of the project should explicitly examine the regional transportation process and
   the potential for integration of areawide CEA-related information and analysis into that process.


   10. Explore collaborative development of resources for ACCEA-type projects. At present there
   do not appear to be adequate resources in Colorado to support meaningful regional accounting.
   Additional effort should be undertaken in Phase II to organize cross-agency discussion about
   funding for collaborative development of ACCEA infrastructure.




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                 LIST OF ACRONYMS AND ABBREVIATIONS
   AAP             Agency Advisory Panel
   ACCEA           Areawide Coordinated Cumulative Effects Analysis
   APCD            Air Pollution Control Division
   BASINS          Better Assessment Science Integrating Point and Nonpoint Services
   BLM             Bureau of Land Management
   BTPD            Black-tailed Prairie Dog
   CDOT            Colorado Department of Transportation
   CDOW            Colorado Division of Wildlife
   CDPHE           Colorado Department of Public Health and Environment
   CDPS            Colorado Discharge Permit System
   CDRMS           Colorado Division of Reclamation Mining & Safety
   CEA             Cumulative Effects Analysis
   CEQ             Council on Environmental Quality
   CFR             Code of Federal Regulations
   CNHP            Colorado Natural Heritage Program
   CO              Colorado
   CVCP            Colorado Vegetative Cover Project
   DEM             Digital Elevation Model
   DOLA            Department of Local Affairs
   DRCOG           Denver Regional Council of Governments
   ESA             Endangered Species Act
   ESRI            Environment System Research Institute
   FEMA            Federal Emergency Management Agency
   FHWA            Federal Highway Administration
   GIS             Geographic Information System
   GISST           GIS Screening Tool
   GWL             Ground Water Levels
   HSI             Habitat Suitability Index
   HSI             Health and Safety Improvement Program
   IMP             Information Management Platform
   LTHIA           Long Term Hydrologic Impact Assessment
   NCWCD           Northern Colorado Water Conservancy District
   NEPA            National Environmental Policy Act
   NRCS            Natural Resources Conservation Service
   NRPA            National Park and Recreation Association
   NWI             National Wetlands Inventory
   PMJM            Preble’s Meadow Jumping Mouse
   QUAL2K          River and Stream Water Quality Model

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   RFF             Reasonably Foreseeable Future
   RTP             Regional Transportation Plan
   SHPO            State Historic Preservation Officer
   SSURGO          Soil Survey Geographic Database
   STEP UP         Strategic Transportation, Environmental and Planning Process for
                   Urbanizing Places
   STIP            Science Technology and Innovation Policy
   SWSI            Statewide Water Supply Initiative
   T&E             Threatened and Endangered Species
   TAZ             Traffic Analysis Zones
   TMDL            Total Mass Discharge Loading
   UCD             University of Colorado Denver
   UDFCD           Urban Drainage and Flood Control District
   URO             Utilization Review Organization
   USACE           United States Army Corps of Engineers
   USC             United States Code
   USGS            United States Geological Survey




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                                             Recreation and Open Space
Metric name          Dataset            Analytical methods              Metric description         Thresholds      Utility
Undeveloped land CVCP, assessor         Mosaic of undeveloped land      Acres of undeveloped       Proportional    High
per resident     and parcel             datasets; tabulation by         land per resident;         1 = >120%
                 records                jurisdiction or neighborhood.   overall description of     2 = 110-120
                                                                        landscape openness         3 = 100-110
                                                                                                   4 = 90-100
                                                                                                   5 = <90%
Future area per      Various county     GIS overlay of projected area Acres of lands per           Not             High
projected resident   and city           and projected populations     resident by jurisdiction     determined
                     datasets                                         or area
Sports field area    Various county     Mosaic of local parks data;   Acres per resident;          Professional    Low
                     and city           tabulation by jurisdiction or describes developed          standards
                     datasets           neighborhood.                 and organized                (e.g.,americ
                                                                      recreational                 an planning
                                                                      opportunities                association);
                                                                                                   local
                                                                                                   planning
                                                                                                   guidelines
Recreational         County and city    Measurement; description of     Number per resident;       Not             Low
centers              datasets           facilities                      resources per resident     determined
Neighborhood         Various county     Mosaic of local parks data;     Acres per resident;        Professional    High
park area            and city           tabulation by jurisdiction or   describes recreational     standards
                     datasets           neighborhood.                   opportunities for          (e.g.,APA);
                                                                        families with children     local
                                                                                                   planning
                                                                                                   guidelines
State park areas     State data; park   Count; analysis of resources    Acres; acres per           Not             High
                     data               and use                         resource; use statistics   determined




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                                          Recreation and Open Space
Metric name         Dataset          Analytical methods              Metric description          Thresholds     Utility
Hiking/biking       Various county   Trail network measurement;      Miles per resident;         Proportional   High
trail length        and city         tabulation by jurisdiction or   describes availability of   1 = >120%
                    datasets         neighborhood.                   hiking and biking           2 = 110-120
                                                                     recreation                  3 = 100-110
                                                                                                 4 = 90-100
                                                                                                 5 = <90%
Picnic areas        Various county   Measurement; tabulation by      Number of picnic areas      Not            Low
                    and city         jurisdiction or neighborhood    per resident                determined
                    datasets
Sports field use    Various county   Measurement; tabulation by      Hours per resident          Not            Low
                    and city         jurisdiction or neighborhood                                determined
                    datasets
Recreational        Various county   Measurement; tabulation by      Hours per resident          Not            Low
center use          and city         jurisdiction or neighborhood                                determined
                    datasets
Neighborhood        Various county   Measurement; tabulation by      Hours per resident          Not            Low
park use            and city         jurisdiction or neighborhood                                determined
                    datasets
State park          Various county   Measurement; tabulation by      Number of visitors          Not            High
visitation          and city         jurisdiction or neighborhood                                determined
                    datasets
Hiking trail use    Various county   Measurement; tabulation by      Hours per resident          Not            Low
                    and city         jurisdiction or neighborhood                                determined
                    datasets
Biking trail use    Various county   Measurement; tabulation by      Hours per resident          Not            Low
                    and city         jurisdiction or neighborhood                                determined
                    datasets




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                                              Recreation and Open Space
Metric name         Dataset              Analytical methods              Metric description          Thresholds     Utility
Picnic area use     Various county       Measurement; tabulation by      Hours per resident          Not            Low
                    and city             jurisdiction or neighborhood                                determined
                    datasets
Continuous trails   State parks,         Measurement; tabulation by      Miles per resident          Longer than    Medium
                    front range trail,   jurisdiction or neighborhood                                a specified
                    city and county                                                                  threshold
                    datasets
Open space area     CVCP,                Mosaic of open space data;      Acres of dedicated          Proportional   High
                    DRCOG open           tabulation by jurisdiction or   open space lands and        1 = >120%
                    space data,          neighborhood.                   conservation easements      2 = 110-120
                    county and city                                      per resident; describes     3 = 100-110
                    datasets                                             availability of protected   4 = 90-100
                                                                         open space                  5 = <90%
Noise levels        State and local      Surveys and compilation of      Acres affected at           Local, state   Low
                    noise                survey data; tabulation by      different decibel levels;   and federal
                    assessments          jurisdiction or neighborhood    describes noise impacts     statutory
                                                                         on recreational             thresholds
                                                                         experience
Mountain            Visual               Measurement; tabulation by      Acres with                  Not            High
backdrop            assessments          jurisdiction or neighborhood    unobstructed view           determined
unobstructed
view
Natural visual      Visual                                               Acres in a visually         Not            High
context             assessments                                          natural setting             determined




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                                           Recreation and Open Space
Metric name           Dataset          Analytical methods            Metric description        Thresholds     Utility
Open space            Various county   Buffer or network measures;   Population within 15      Proportional   High
accessibility         and city         tabulation by jurisdiction,   minute drive of           1 = >120%
                      datasets; us     sub-region or neighborhood    contiguous open space;    2 = 110-120
                      population and                                 accessibility measure     3 = 100-110
                      housing census                                                           4 = 90-100
                                                                                               5 = <90%
Trail accessibility   Various county   Buffer or network measures;   Population within 15      Proportional   High
                      and city         tabulation by jurisdiction,   minute drive of           1 = >120%
                      datasets; us     sub-region or neighborhood    continuous trails;        2 = 110-120
                      population and                                 accessibility measure     3 = 100-110
                      housing census                                                           4 = 90-100
                                                                                               5 = <90%
Neighborhood          Various county   Buffer or network measures;   Population within 15      Professional   High
park accessibility    and city         tabulation by jurisdiction,   minute walk of a          standards
                      datasets; us     sub-region or neighborhood    neighborhood park;        (e.g.,APA);
                      population and                                 accessibility measure     local
                      housing census                                                           planning
                                                                                               guidelines
Developed             Us population    Not determined                Population within 10      Not            High
facility              and housing                                    minute drive of           determined
accessibility         census                                         developed facilities
                                                                     (e.g, sports fields)
Neighborhood          Us population    Not determined                EJ population within 15   Not            High
park accessibility    and housing                                    minute walk of a          determined
– EJ populations      census                                         neighborhood park
Developed             Us population    Not determined                EJ population within 10   Not            High
facility              and housing                                    minute drive of           determined
accessibility – EJ    census                                         developed facilities
populations                                                          (e.g, sports fields)



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                                       Recreation and Open Space
Metric name       Dataset          Analytical methods         Metric description   Thresholds   Utility
Bicycle transit   Not determined   Not determined             Not determined       Not          Not deter-
access                                                                             determined   mined




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                                                 Agriculture
Metric name         Dataset       Analytical methods              Metric description         Thresholds   Utility
Irrigated           CVCP          Reclassification, time-series   Total acres, maximum       Not          High
agriculture class                 analysis                        size, minimum size,        applicable
                                                                  average size, modal
                                                                  size. From 1993-97
                                                                  Landsat
Agriculture class   CVCP          Reclassification, time-series   Total acres, maximum       Not          High
(not irrigated)                   analysis                        size, minimum size,        applicable
                                                                  average size, modal
                                                                  size. From 1993-97
                                                                  Landsat
Prime farmland      SSURGO        Mosaic, reduction,              Total acres, maximum       Not          High.
                                  reclassification, time-series   size, minimum size,        applicable
                                  analysis                        average size, modal
                                                                  size. Potential based on
                                                                  site characteristics
Agricultural        Zoning maps   Digitizing, scanning, mosaic,   Total acres, maximum       Not          High
zoning                            selection, time-series          size, minimum size,        applicable
                                  analysis                        average size, modal
                                                                  size. Identifies
                                                                  jurisdictional plans
Acres irrigated     LESA          Query on database               Acres; completed by        Not          Low
                                                                  NRCS                       applicable
Average farm size LESA            Query on database               Acres; completed by        Not          Low
                                                                  NRCS                       applicable
Major crops         LESA          Query on database               Acres; completed by        Not          Low
                                                                  NRCS                       applicable
Farmable land in    LESA          Query on database               Acres; completed by        Not          Low
government                                                        NRCS                       applicable
jurisdiction



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                                            Agriculture
Metric name         Dataset    Analytical methods         Metric description    Thresholds Utility
Amount of           LESA       Query on database          Acres; completed by   Not          Low
farmland as                                               NRCS                  applicable
defined in fppa
Name of land        LESA       Query on database          Usually LESA          Not          Low
evaluation                                                                      applicable
system used
Name of local       LESA       Query on database          Acres; completed by   Not          Low
site assessment                                           NRCS                  applicable
system
Total acres to be   LESA       Query on database          Acres; completed by   Not          Low
converted                                                 NRCS                  applicable
directly
Total acres to be   LESA       Query on database          Acres; completed by   Not          Low
converted                                                 NRCS                  applicable
indirectly, or to
receive services
Total acres in      LESA       Query on database          Acres; completed by   Not          Low
corridor                                                  NRCS                  applicable
Total acres prime   LESA       Query on database          Acres; completed by   Not          Low
and unique                                                NRCS                  applicable
farmland
Total acres         LESA       Query on database          Acres; completed by   Not          Low
statewide and                                             NRCS                  applicable
local important
farmland




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                                                Agriculture
Metric name           Dataset   Analytical methods            Metric description     Thresholds Utility
Percentage of         LESA      Query on database             %; completed by        Not          Low
farmland in                                                   NRCS                   applicable
county or local
government unit
to be converted
Percentage of         LESA      % calculation                 Acres; completed by    Not          Low
farmland in                                                   NRCS                   applicable
government
jurisdiction with
same or higher
relative value
Land evaluation       LESA      Evaluation;                   Acres; completed by    Not          Low
information                                                   NRCS; maximum 100      applicable
criterion; relative                                           points
value of
farmland to be
serviced or
converted
Area in nonurban      LESA      Area calculation              Completed by federal   Not          Low
use                                                           agency; maximum 15     applicable
                                                              points
Perimeter in          LESA      Perimeter calculation         Completed by federal   Not          Low
nonurban use                                                  agency; maximum 10     applicable
                                                              points
Percentage of         LESA      % calculation                 Completed by federal   Not          Low
corridor being                                                agency; maximum 20     applicable
farmed                                                        points




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                                              Agriculture
Metric name         Dataset     Analytical methods          Metric description     Thresholds Utility
Protection          LESA        Scoring                     Completed by federal   Not          Low
provided by state                                           agency: maximum 20     applicable
and local                                                   points
government
Size of present     LESA        Ratio calculation           Completed by federal   Not          Low
farm unit                                                   agency; maximum 10     applicable
compared to                                                 points
average
Creation of         LESA        Area                        Completed by federal   Not          Low
nonfarmable                                                 agency; maximum 25     applicable
farmland                                                    points
Availability of     LESA        Evaluation                  Completed by federal   Not          Low
farm support                                                agency; maximum 5      applicable
services                                                    points
On-farm             LESA        Calculation                 Completed by federal   Not          Low
investments                                                 agency; maximum 20     applicable
                                                            points
Effects of          LESA        Evaluation                  Completed by federal   Not          Low
conversion on                                               agency; maximum 25     applicable
farm support                                                points
services
Compatibility       LESA        Evaluation                  Completed by federal   Not          Low
with existing                                               agency; maximum 10     applicable
agricultural use                                            points
Total score         LESA        Summation                   Completed by federal   Not          Low
                                                            agency; maximum 260    applicable
                                                            points




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                                                   Agriculture
Metric name        Dataset            Analytical methods          Metric description   Thresholds Utility
Availability of    Colo. DNR –        GIS and database            Irrigation supply;   TBD; water Low
irrigation water   DWR and            tabulations.                volume/acre          rights
                   CWCB –                                                              priority
                   irrigated lands.




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                                                    Mining
Metric name        Dataset        Analytical methods           Metric description       Thresholds Utility
Aggregate          CDRMS;         GIS and database             Tons per year; number    TBD;         High
mines; source of   USOSM; local   tabulations; time series     of new mines; acres;     important
construction       data           analysis.                    acres by area or         for riparian
materials                                                      jurisdiction.            areas.
New coal mines     CDRMS;         Database compilation; GIS    Tons per year; number    TBD; link    Low
                   USOSM; local   and database tabulations;    of new mines; acres;     to Energy
                   data           time series analysis.        acres by area or         category.
                                                               jurisdiction.
New mineral        CDRMS; local   Database compilation; GIS    Tons per year; number    TBD            Low
mines              data           and database tabulations;    of new mines; acres;
                                  time series analysis.        tabulations by area or
                                                               jurisdiction.
New mine           CDRMS;         Database compilation; GIS    Tons per year; number    TBD            High
expansions         USOSM; local   and database tabulations;    of new mines; acres;
                   data           time series analysis.        acres by area or
                                                               jurisdiction.
Reclaimed land     CDRMS;         Database compilation; GIS    Acres by area or         TBD;           High
                   USOSM; local   and database tabulations;    jurisdiction.            important
                   data           time series analysis.                                 for riparian
                                                                                        areas.
Open pit mining    CDRMS;         Database compilation; GIS    Tons per year; Area      TBD;           Medium
                   USOSM; local   and database tabulations;    (acres); percentage of   important
                   data           time series analysis.        mines; time series –     for riparian
                                                               total, regional,         areas.
                                                               watershed, project.
Underground        CDRMS; local   Database compilation; GIS    Tons per year;           TBD            Low
mining             data           and database tabulations;    percentage of mines;
                                  time series analysis.        total, by region, by
                                                               watershed, by project.



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                                                        Mining
Metric name         Dataset            Analytical methods              Metric description          Thresholds Utility
Dollars spent on    CDPHE; local       Database compilation;           $$$ (dollars); time         TBD        Low
wastewater          data               database tabulations.           series of expenditures –
treatment (water                                                       total, by region,
bodies adjacent                                                        watershed, project.
to a mine site)
Dollars spent on    Local data         Database compilation;           $$$ (dollars); time         TBD         Low
sound insulation                       database tabulations.           series of expenditures –
at mine sites                                                          total, by region,
                                                                       watershed, project.
Vehicle flow per    CDOT, local        Database compilation; GIS       Traffic counts; time        TBD         Low
day (in and out     traffic count data and database tabulations;       series.
of a mine site)                        time series analysis.
Subsidence          CDRMS;             Database compilation; image     Meters in feet; time        TBD         Low
(surface            USOSM; local       processing; terrain modeling.   series.
deformation) at     data; satellite
mining site         imagery
Dollars spent on    CDRMS; local       Database compilation and        $$$ (dollars); totals, by   TBD         Low
EIS studies of      data               tabulations.                    region, watershed,
mining sites                                                           project; time series.
Annual              CDRMS,             Database compilation; GIS       Million tons; totals, by    TBD         Low
production of       CDPHE,             and database tabulations;       region, watershed,
mineral waste       USOSM, local       time series analysis.           project; time series.
                    data
Mining area         CDRMS,             Database compilation; GIS       Hectares in acres           TBD         Low
restored per year   USOSM, local       and database tabulations;
                    data               time series analysis.
Smoke - density     CDPHE;             Database compilation; GIS       Grams per cubic meter       TBD; very Low
of aerosol          USEPA; local       and database tabulations;       (g/m3)                      site specific
particulates        data               time series analysis.



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                                                  Mining
Metric name        Dataset        Analytical methods          Metric description         Thresholds Utility
Dust - weight of   CDPHE;         Database compilation; GIS   Microgram per cubic        TBD; very Low
particulates       USEPA; local   and database tabulations;   meter (µg/m3)              site specific
                   data           time series analysis.
Heavy metals in    CDPHE,         Database compilation; GIS   Moss is used as            TBD; very Low
air                USEPA, local   and database tabulations;   measurement                site specific
                   data           time series analysis.       technique; Percentage
                                                              (%) settled on mosses.
Sulphur dioxide    CDPHE,         Database compilation; GIS   Parts per billion ‘or’     TBD; very Low
(SO2)              USEPA, local   and database tabulations;   parts per million ‘or’     site specific
                   data           time series analysis.       µg/m3 ‘or’ milligrams
                                                              per cubic meter
Pollution          CDPHE,         Database compilation; GIS   100 ( M a M c )            TBD; very Low
emission at        USEPA, local   and database tabulations;                    ; Ma =    site specific
source             data           time series analysis.       mass emission rate by
                                                              area (grams) & Mc =
                                                              mass emission rate as
                                                              concentration (grams)
Aquatic            CDPHE, DOW,    Database compilation; GIS    d = ( S − 1 log c N )     TBD; very Low
community          USEPA, USGS,   and database tabulations;                          ,   site specific
diversity – for    local data     time series analysis.       where d = community
water body                                                    diversity index, s =
adjacent to                                                   number of species & n
mining area                                                   = number of organisms.
Toxic unit (Tu)    CDPHE, DOW,    Database compilation; GIS   Milligrams per litre       TBD; very Low
of an organism -   USEPA, USGS,   and database tabulations;   (mg/l);                    site specific
water body         local data     time series analysis.
adjacent to mine
site




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                                                    Mining
Metric name          Dataset        Analytical methods          Metric description        Thresholds Utility
Organic              CDPHE, DOW,    Database compilation; GIS   Mg/l                      TBD; very Low
pollutants in        USEPA, USGS,   and database tabulations;                             site specific
water body           local data     time series analysis.
adjacent to a
mine site
Oils in water        CDPHE, DOW,    Database compilation; GIS   Thickness of the oil      TBD; very Low
body adjacent to     USEPA, USGS,   and database tabulations;   film on water; Inches     site specific
a mine site          local data     time series analysis.       (in) ‘or’ centimeter
                                                                (cm)
Hydrogen             CDPHE, DOW,    Database compilation; GIS   Number                    TBD; very Low
potential (ph) in    USEPA, USGS,   and database tabulations;                             site specific
a water body         local data     time series analysis.
adjacent to a
mine site
Base metals,         CDPHE, DOW,    Database compilation; GIS   Mg/l                      TBD; very Low
fluoride,            USEPA, USGS,   and database tabulations;                             site specific
dissolved solids -   local data     time series analysis.
adjacent to a
mine site)
Color (of a water    CDPHE, DOW,    Database compilation; GIS   Platinum – cobalt units   TBD; very Low
body adjacent to     USEPA, USGS,   and database tabulations;                             site specific
a mine site)         local data     time series analysis.
Noise level                         Database compilation; GIS   Decibels (db)             TBD; very Low
(areas adjacent to                  and database tabulations;                             site specific
a mine site)                        time series analysis.




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                                                     Energy
Metric name         Dataset         Analytical methods           Metric description      Thresholds Utility
Person miles        CDOT,           Database compilation; GIS    Pmt/capita; total, by   Not        Low -
travel demand       DRCOG,          and database tabulations;    region, jurisdiction;   identified energy use
(pmt)               FHWA, local     time series analysis.        time series.                       affects not
                    data.                                                                           a NEPA
                                                                                                    priority.
Energy per unit     CDOT,           Database compilation;        Kj/area; total, by      Not        Low
area of installed   DRCOG,          database tabulations;        region, jurisdiction;   identified
roadway             FHWA, local     computation of unit energy   time series.
                    data.           use.
Transportation      CDOT,            Database compilation;       Percentage; total, by   Not          Low
cost as % of        DRCOG,          database tabulations;        region, jurisdiction;   identified
income              FHWA, U.S.      computation of unit energy   time series.
                    Census, local   use.
                    data.
Vehicle energy      CDOT,           Database compilation;        Kj/vmt; total, by       Not          High
intensity (vei)     DRCOG,          database tabulations;        region, jurisdiction;   identified
                    FHWA, local     computation of unit energy   time series.
                    data.           use.
Modal energy        CDOT,           Database compilation;        Kj/pmt; total, by       Not          High
intensity (mei)     DRCOG,          database tabulations;        region, jurisdiction;   identified
                    FHWA, local     computation of unit energy   time series.
                    data.           use.
Transportation      CDOT,           Database compilation;        Kj/capita; total, by    Not          High
system energy       DRCOG,          database tabulations;        region, jurisdiction;   identified
intensity (tsei)    FHWA, local     computation of unit energy   time series.
                    data.           use.




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                                     Water Resources – Demands And Supplies
Metric name        Dataset                Analytical methods               Metric description          Thresholds    Utility
Water supplies     USGS, Denver           Geodb compilation; time          Amount of water             Ws/wd:        High, but
compared to        Water, water           series analysis; GIS displays.   withdrawn for water         1 = >120%     difficult to
water demands      providers,             Comprehensive comparison         supply, by source –         2 = 110-120   obtain
–ratio (ws/wd)     CWCB/SWSI;             of supplies and demands          time series and %           3 = 100-110   data &
                   difficult to collate   quite complicated.               change (+/-)                4 = 90-100    limited
                   various sources                                         normalized by               5 = < 90%     applicatio
                   with demands.                                           demands. Time series                      n for
                                                                           of deliveries, totals and                 trans.
                                                                           by source; % change
                                                                           (+/-)
Total water        DRCOG, Denver          Geo database compilation,        Indicates magnitude of      Twd %         High, but
demand (twd)       Water, water           time series statistics, GIS      water use over time and     change:       no single
                   providers,             displays                         forecasts to 2030. %        1 <= 0%       source of
                   CWCB-SWSI.                                              change based on time        2 = 0 - 5%    data &
                                                                           series; map display of      3 = 5 -10%    limited for
                                                                           twd & % change at           4 = 10-20%    trans.
                                                                           time increments             5 = >20%
Per capita water   DRCOG, Denver          Geo database compilation,        WD/P indicates              Wd/p/         Medium;
demands            Water, water           compute wd/p as twd/p; wdr       intensity of water use      wdr/pr:       limited for
(WD/P)             providers, census      as regional ratio wdr/pr         which limits water for      1=<-20%       trans.
                   pop (P).                                                other uses. Regional        2=-20to-5%
                                                                           variations show             3=-5to+5%
                                                                           differences. Map            4=+5to20%
                                                                           display of ratio of wd/p    5=>20%
                                                                           to region per person
                                                                           average wdr/pr




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                                 Water Resources – Demands And Supplies
Metric name       Dataset             Analytical methods          Metric description          Thresholds   Utility
Water             DRCOG, Denver       Geo database compilation,   Percent of total water      Wc%:         Medium;
conservation –    Water, water        tabulation of types and     supply which is             1=30%        partial
amount            providers;          amounts; wc%=               conserved; higher           2=20to10%    picture of
conserved (wc)    forecast to 2030?   wc/twd*100; GIS displays    conservation reduces        3=10to5%     water
                                                                  overall demands. Map        4=5to2%      balance.
                                                                  display of wc%              5=<2%
Water             Pop. Forecasts of   Geo database compilation;   Metering supports           Wm%:         Medium;
conservation –    DRCOG, Denver       wm% = metered/total         multiple conservation       1=>50%       partial
water metering    Water, water        connections; GIS displays   outcomes – pricing,         2=30to50%    picture of
(wm)              providers.                                      codes and regulations.      3=20to30%    water
                  Forecasts to                                    Wm%; displayed as           4=10to20%    balance.
                  2030?                                           GIS map                     5=>10%
Water recycling   DRCOG, Denver       Geodb compilation; wr% =    Percent of total water      Wr%:         Medium;
(wr):             Water, water        wr/twd*100; GIS displays    supply which is             1=>50%,      partial
                  providers.                                      recycled. Water             2=30-50,     picture of
                  Forecast to 2030.                               recycling reduces           3=20-30,     water
                                                                  demand. Wr%,                4=10-20,     balance.
                                                                  displayed as map.           5=>10%
Consumptive       Temperature and Geodb compilation, blaney-      Amount lost to              CU:          High, but
use (CU):         cropping (updated criddle model; GIS displays   atmosphere from             1=<5 in,     limited
                  periodically by                                 irrigation, cooling, etc.   2=5-10,      applicatio
                  dwr );                                          Reduction in                3=10-15,     n for
                  CWCB/SWSI                                       consumptive use             4=15-20,     trans.
                                                                  reduces demand.             5=>20 in
                                                                  Tabular, GIS map of cu
                                                                  (in)




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                                  Water Resources – Demands And Supplies
Metric name        Dataset            Analytical methods              Metric description          Thresholds   Utility
Water supply       DRCOG, Denver      Geodb compilation; time         Water deliveries by         Ws %         High, but
deliveries (ws):   Water,             series analysis; GIS displays   suppliers; 2030             change:      limited
                   CWCB/SWSI,                                         forecasts. Increases in     1=<0%,       applicatio
                   water providers;                                   supplies indicate           2=0-5%,      n for
                   single source?                                     reduced flows in source     3=5-10%,     trans.
                                                                      basins. Time series of      4=10-20%,
                                                                      deliveries; totals and by   5=>20%
                                                                      service provider; %
                                                                      change (+/-)
Surface water      USGS, Denver       Geodb compilation; time         Amount of water             Sws %        High, but
supply by          Water, water       series analysis; GIS displays   withdrawn for water         change:      limited
source (sws):      providers,                                         supply, by source. –        1=<0%,       applicatio
                   CWCB/SWSI                                          time series and %           2=0-5%,      n for
                                                                      change (+/-).time series    3=5-10%,     trans.
                                                                      of deliveries; totals and   4=10-20%,
                                                                      by source; % change         5=>20%
                                                                      (+/-)
Water supply       USGS, Denver       Geodb compilation; compute      Comparison of supply        Swn %        High, but
source versus      Water, water       delta source vs withdrawals -   diversions to native        change:      limited
native supply      providers,         time series analysis (% +/-);   supply. Indicates           1=>50%,      applicatio
(swn):             CWCB/SWSI          GIS displays.                   impact on source; %         2=50-20%,    n for
                                                                      basin. Time series of       3=20-10%,    trans.
                                                                      differences; totals and     4=10-5%,
                                                                      by source; % change         5=<5%
                                                                      (+/-); GIS displays




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                                 Water Resources – Demands And Supplies
Metric name       Dataset            Analytical methods              Metric description       Thresholds    Utility
River flows (rf): USGS, USFWS,       Geodb compilation, time         River flows in           Rf:           High, but
                  dow                series, flow frequency          segments sustaining      1=>500cfs,    limited
                                     analyses, GIS display           sensitive and            2=500-200,    applicatio
                                                                     endangered species.      3=200-100,    n for
                                                                     Flow time series, flow   4=100-50,     trans.
                                                                     frequency analyses,      5=<50 cfs
                                                                     GIS display of flow
                                                                     metric [cfs]
Groundwater       USGS, DRCOG,       Geodb compilation, time         Withdrawals by sector    Gws %         High, but
withdrawals, by   water providers    series of well withdrawals;     and sources. Large and   change:       limited
source (gws):                        statistics; GIS maps of         long-term withdrawals    1=<0%,        applicatio
                                     drawdowns                       deplete supply.          2=0-5%,       n for
                                                                     Tabular, GIS map of      3=5-10%,      trans.
                                                                     withdrawals for area;    4=10-20%,
                                                                     time series and %        5=>20%
                                                                     change (+/-)
Groundwater       USGS, DRCOG,       Geodb compilation, time         Gw levels indicate the   Gwl change:   High, but
levels (gwl):     Denver Water,      series of water levels &        state of remaining       1=<20,        limited
                  water providers,   statistics - % change (+/-); by supplies from the        2=20-50,      applicatio
                  CWCB/SWSI          source and indicator wells.     aquifer; decreasing      3=50=100,     n for
                                                                     levels indicate supply   4=100-250,    trans.
                                                                     depletion. GIS maps of   5=>250
                                                                     drawdown areas [ft]




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                                 Water Resources – Demands And Supplies
Metric name       Dataset            Analytical methods            Metric description         Thresholds   Utility
Groundwater       USGS, DRCOG,       Geodb compilation, time       Gw recharge efforts        Gwr:         High, but
recharge (gwr):   Denver Water,      series of gw recharges - %    indicate intent to         1=>50%,      limited
                  water providers,   change (+/-); by source and   maintain supply            2=30-50,     applicatio
                  CWCB/SWSI          indicator wells.              capacity and long term     3=20-30,     n for
                                                                   sustainability. Tabular,   4=10-20,     trans.
                                                                   GIS map of gw              5=<10%
                                                                   recharge for area; time
                                                                   series and % change
                                                                   (+/-)
Agricultural      USGS nat’l land    GIS clipping of ag lands to   Ag lands classed as        Al%:         Medium
lands (al):       cover database     area.                         irrigated nurseries,       1=<5%,
                                                                   orchards, pasture/hay,     2=5-10,
                                                                   crops, and grains.         3=10-20,
                                                                   Higher % of ag lands in    4=20-30,
                                                                   area indicates potential   5=>30%
                                                                   for loss of prime
                                                                   farmland. % of area




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                                       Water Resources – Floods And Drainage
Metric name       Dataset                Analytical methods               Metric description         Thresholds   Utility
Flood plains      Fema flood plain       Geodb compilation, GIS map       Proximity to or            1=>2mi,      Medium;
proximity (fpp)   maps - dfirms not      of flood plains, buffering for   presence in 100 year       2=2-1mi,     proximity
                  available for all      proximity.                       flood plain indicates      3=1-1/2mi,   may relate
                  jurisdictions                                           threat of flooding.        4=1/2-       to flood
                                                                          Proximity of flood         1/4mi,       runoff.
                                                                          plains to transportation   5=<1/4mi
                                                                          projects [miles]
Floodplain        USGS nhd,              GIS processing for buffers       Highways and               1=<5%,       High; key
encroachment      satellite imagery.     around flood plains and          development can            2=5-10,      factor in
(fpe):            Fema and local         proximity of development         encroach on flood          3=10-20,     design of
                  jurisdiction flood     and highway projects             plains which can be        4=20-30,     trans.
                  plain maps                                              associated with flood      5=>30%       Facilities;
                                                                          and habitat threats. %                  mitigated.
                                                                          of area of projects and
                                                                          development in
                                                                          proximity of
                                                                          floodplains
Urban and         USGS, dwr,             Geodb compilation, GIS-55        Flood flows – peaks        1=<5%,       Medium;
highway runoff    udfcd                  model has demonstrated           and volumes for past,      2=5-10,      factor in
quantity (uro):                          computation of flood peaks       current and future         3=10-20,     design of
                                                                          conditions – at selected   4=20-30,     trans.
                                                                          locations. Flood peaks     5=>30%       Facilities.
                                                                          as % increase from
                                                                          base line.




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                                     Water Resources – Floods and Drainage
Metric name     Dataset                Analytical methods         Metric description         Thresholds   Utility
Impervious      Land use data          Geodb compilation, image   Urbanization results in    1=<5%,       High;
lands (imp):    (USGS, counties,       processing, image statistics
                                                                  increased impervious       2=5-15,      readily
                cities), satellite                                surfaces; associated       3=15-25,     measured
                imagery; current                                  with increased flood       4=25-40,     and
                and forecast.                                     runoff and water           5=>40%       acceptable
                                                                  pollution. Impervious                   .
                                                                  areas as % of total area
Channel erosion USGS, dwr,             Geodb compilation, GIS map Increased peak flows       1=<5%,       Medium;
(ce):           udfcd (data on         of channels with erosion   cause channel erosion      2=5-10,      difficult to
                eroding channels       potential.                 and down cutting,          3=10-20,     predict.
                and concerns of                                   creating sediment          4=20-30,
                this)                                             loading on streams and     5=>30%
                                                                  structural threats. % of
                                                                  stream channels length
                                                                  having erosion
                                                                  potential; proximity to
                                                                  corridors and projects.




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                                      Water Resources – Water Quality
Metric name     Dataset              Analytical methods            Metric description        Thresholds    Utility
Water quality   CDPHE listing of     Cw act, sect. 303(d)          Clean water act section   Regulatory:   High; but
listing         impaired and         segments; GIS map of stream   303(d) segments – state   Number of     wq assess-
(wq303(d))      threatened waters,   segments with                 priority data identify    segments      ments by
                DRCOG status         classifications.              segments that are wq      and status    tmdl
                summaries.                                         limited, use protected    tabulation    modeling
                                                                   and no degradation;       over time;    too
                                                                   also CDPHE                length and    complex.
                                                                   monitoring and            %
                                                                   evaluation (m&e) lists.   supporting
                                                                   Number of segments        designated
                                                                   and status tabulation     use;
                                                                   over time; length and     complied by
                                                                   % supporting              CDPHE/DR
                                                                   designated use;           COG.
                                                                   complied by
                                                                   CDPHE/DRCOG.
Water quality   CDPHE                305(b) stream status          CDPHE 305(b) update       Regulatory:   Wq
assessments     integrated reports   categorization data are       reports provide           Number of     assess-
(wq305(b))      (ir) include         available in GIS formats      statewide assessment      segments      ments by
                categorization of    keyed to river segments.      and the extent of         and status    tmdl
                designated                                         protection for            tabulation    modeling
                (beneficial) use                                   "fishable" and "swim-     over time;    too
                support status for                                 mable” beneficial uses.   length and    complex.
                surveyed waters.                                   Number of segments        %
                                                                   and status tabulation     supporting
                                                                   over time; length and     designated
                                                                   % supporting design-      use;
                                                                   nated use; complied by    complied by
                                                                   CDPHE/DRCOG.              CDPHE/DR
                                                                                             COG.


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                                         Water Resources – Water Quality
Metric name       Dataset               Analytical methods             Metric description        Thresholds    Utility
Water quality     Epa 305(b)            Length and % supporting        Clean water act section   1=>99%,       High: wq
(wqsegs):         impaired waters,      designated use                 303(d) segments – state   2=98-77%,     assess-
                  USGS                                                 priority data. Length     3=no data,    ments by
                                                                       and % supporting          4=75-50%,     tmdl
                                                                       designated use            5=<50%        modeling
                                                                                                               too
                                                                                                               complex.
Water quality –   Epa nwqd; cwa         GIS buffering to show          CDPHE assessments         3-point per   High; wq
state             305(b) reports,       proximity to projects and      identify segments that    state         assess-
assessment:       with data             priority per designated use.   are wq limited, use       priority;     ments by
                  manipulation,                                        protected and no          1=low,        tmdl
                  describe the                                         degradation. GIS          2=medium,     modeling
                  surface water                                        buffering to show         3=high        too
                  quality for 8 digit                                  proximity to projects                   complex.
                  hucs                                                 and priority per
                                                                       designated use.
Water quality     Epa storet            Exceedances are storet         National primary          1=<10,        Medium;
(storet data):    database              sampling station data          drinking water            2=10-100,     large data
                                        reporting chemical             standards, established    3=101-200,    review too
                                        concentration greater than     under sdwa, are           4=201-500,    complex.
                                        the sdwa mcls.                 compared to storet        5=>500
                                                                       ambient water data.
                                                                       Exceedances are storet
                                                                       sampling station data
                                                                       reporting chemical
                                                                       concentration greater
                                                                       than the sdwa mcls.




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                                     Water Resources – Water Quality
Metric name       Dataset           Analytical methods               Metric description         Thresholds   Utility
Rainfall (p):     Noaa rainfall     Area average rainfall [in]       The greater the annual     1=<5 in      Low; little
                  data.                                              rainfall, the more         2=5-10,      variability
                                                                     infiltration to the        3=10-20,     in region.
                                                                     groundwater, and the       4=20-40,
                                                                     greater the pollution      5=>40 in
                                                                     threat. Area average
                                                                     rainfall [in]
Wastewater        M&I discharge     GIS based statistical analysis   Ww releases to waters      1=<0.3m,     High; part
releases (wwr):   permits           – cumulative frequency           within the project area    2=0.3-1m,    of tmdl
                                    graphs                           can have a negative        3=1-2m,      process.
                                                                     impact upon water          4=2-5m,
                                                                     quality. GIS based         5>5m
                                                                     statistical analysis –
                                                                     cumulative frequency
                                                                     graphs
Surface water     USGS streamflow Total miles in a watershed or      Surface water flows are    1=>500cfs,   Medium;
quantity (wsq):   records         project having average flows       tabulated for stream       2=500-200,   link to
                                  [cfs]                              segments; lower flows      3=200-100,   tmdl
                                                                     indicate lower dilution.   4=100-50,    model too
                                                                     Total miles in a           5=<50 cfs    complex.
                                                                     watershed or project
                                                                     having average flows
                                                                     [cfs]
Distance to       USGS nhd stream   Distance to stream courses       Proximity to surface       1=>2mi,      High; GIS
surface water     paths, CDOT       [miles]                          water indicates threats    2=2-1mi,     buffer
(swd):            roadway                                            of roadway drainage        3=1-1/2mi,   easy to do
                  networks                                           and contamination.         4=1/2-       but link to
                                                                     Distance to stream         1/4mi,       wq too
                                                                     courses [miles]            5=<1/4mi     complex.



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                                          Water Resources – Water Quality
Metric name        Dataset               Analytical methods             Metric description          Thresholds    Utility
Ground water       USGS gw               Pollution sources within 500   Contamination               1=>50,        Medium;
quality threat     resources data;       ft of gw depth.                potential is indicated by   2=50-30,      not related
(gwt).             colo. Dwr; NRCS                                      shallow depth to gw         3=30-15,      to trans.
                   statsco soils data;                                  and proximity to            4=15-8,       Projects.
                   pollution sources                                    pollution sources.          5=<8
                                                                        Pollution sources
                                                                        within 500 ft of gw
                                                                        depth.
Ground water       Aquifer nitrate       Nitrate concentration [mg/l]   Gw quality expressed        1=<3,         Medium;
quality (gwq)      data from                                            as nitrate; mcl is 10       2=3-4.5,      not related
                   CDPHE, EPA,                                          mg/l by swda. Nitrate       3=4.5-6,      to trans.
                   USGS.                                                concentration [mg/l]        4=6-7.5,      Projects.
                                                                                                    5=>7.5 mg/l
Ground water       Non-sewered           Intersection of non-sewered    Shallow aquifers prone      1=<5%,        Medium;
quality threat –   areas from            areas overlain on shallow      to pollution from           2=5-10,       not related
septic tanks       counties              aquifers; % of area.           drainage and septic         3=11-20,      to trans.
(gws):                                                                  tanks. Intersection of      4=21-30,      Projects.
                                                                        non-sewered areas           5=>30%
                                                                        overlain on shallow
                                                                        aquifers; % of area.
Septic tank use    Census block          % population with septic       Septic tanks are            1=<15%,       Medium;
(stu):             group data            tanks; map display             assumed to have a           2=16-25,      not related
                                                                        higher failure rate than    3=26-35,      to trans.
                                                                        public systems; also are    4=36-45,      Projects.
                                                                        a threat to gw quality.     5=>5.0 mlbs
                                                                        % population with
                                                                        septic tanks; map
                                                                        display




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                                        Water Resources – Water Quality
Metric name       Dataset              Analytical methods             Metric description         Thresholds    Utility
Individual well   Census block         % population with individual   Individual well            1=<10%,       Medium;
water (gwi):      group data           water source; map display      supplies are typically     2=10-19,      not related
                                                                      shallow and more           3=20-29,      to trans.
                                                                      prone to contamination.    4=30-39,      Projects.
                                                                      % population with          5=>40%
                                                                      individual water
                                                                      source; map display
Toxic releases    Epa toxic releases   Amount of trs in area          Us epa requires            1=<0.3,       Medium;
(tri).            inventory(tri1)      [million lbs]                  manufacturing              2=0.3-1m,     not related
                                                                      industries to estimate     3=1-2m,       to trans.
                                                                      their annual releases of   4=2-5m,       Projects.
                                                                      specific hazardous         5=>5m
                                                                      chemicals to water.
                                                                      Amount of trs in area
                                                                      [million lbs]
Highway           CDOT                 Road density [mi/mi^2]         Density of roads in an     1=<1,         Medium;
density (hwd):    transportation                                      area indicative of water   2=1-=5,       general
                  geodb                                               pollution potential.       3=5-10,       indicator
                                                                      Road density [mi/mi^2]     4=10-20,      but %imp.
                                                                                                 5=->20        Better.
                                                                                                 mi/mi^2
Water pollution CDOT                   $/vehicles/mi^2                $/vehicles/mi^2            1=<1,         Medium;
costs associated transportation                                                                  2=1-=5,       model
with number of geodb                                                                             3=5-10,       availabilit
vehicles over a                                                                                  4=10-20,      y?
square mile area                                                                                 5=->20
of a highway.                                                                                    $/vehicles/
                                                                                                 mi^2




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                                    Water Resources – Water Quality
Metric name       Dataset          Analytical methods             Metric description        Thresholds     Utility
Average area of   CDOT             % of area                      Vehicles at parking       1=<5%,         High; part
parking           transportation                                  facilities are found to   2=5-10%,       of overall
facilities over   geodb                                           be one of the major       3=10-20%,      %imp
an area:.                                                         contributors to water     4=20-30%,      account.
                                                                  pollution by fhwa. % of   5=->30%
                                                                  area
Motor vehicle     CDOT             Tons/sq. Mi.                   Emissions by motor        1=<1,          Medium;
emissions         transportation                                  vehicles over an area     2=1-5,         how relate
(mve):            geodb                                           (study area). Tons/sq.    3=5-10,        to wq ?
                                                                  Mi.                       4=10-20,
                                                                                            5=>20
                                                                                            t/mi^2
Number of         CDOT             No. Of maintained vehicles /   The higher the vehicle    1=100,         Medium;
motor vehicles    transportation   mi^2                           maintenance the lower     2=100-50,      how relate
maintained        geodb                                           the impact on surface     3=50-10,       to wq ?
(serviced) and                                                    water pollution. No. Of   4=10-5,
used in study                                                     maintained vehicles /     5=<5
area:                                                             mi^2                      vehicles/mi^
                                                                                            2




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                                  Biological Resources – T&E, Listed Species
Metric name        Dataset            Analytical methods           Metric description           Thresholds      Utility
black-tailed       Input data based   GIS analysis;                G3G4 S3; concern             Carrying        High
prairie dog        on model           temporal/spatial modeling;   (state); USFS sensitive;     capacity of
                   parameters         HSI                          acres per class              managed
                                                                   connectivity index;          units
                                                                   count by size class
Preble’s           CNHP elements;     GIS analysis;                G5T2 S1; threatened          Current         High
meadow             input data based   temporal/spatial modeling;   (PDL national state);        condition (no
jumping mouse      on model           HSI                          acres per class;             loss)
                   parameters                                      connectivity index;
                                                                   count by size class
northern pocket    CNHP elements     GIS analysis;                 G5T1 S1; concern             TBD             Low
gopher subsp.                        temporal/spatial modeling;    (state)
                                     HSI
Townsend’s         CNHP elements GIS analysis;                     G4T4 S2; concern             TBD             Low
big-eared bat                        temporal/spatial modeling;    (state); BLM/USFS
subsp.                               HSI                           sensitive
American           CNHP elements GIS analysis;                     G4T3 S2B; concern            TBD             Low
peregrine falcon                     temporal/spatial modeling;    (state); USFS sensitive
                                     HSI
American white     CNHP elements GIS analysis;                     G3 S1B; BLM                  TBD             Medium
pelican                              temporal/spatial modeling;    sensitive
                                     HSI
bald eagle         CNHP elements; GIS analysis;                    G5 S1B S3N;                  Current         High
                   NDIS; local       temporal/spatial modeling;    threatened (national         condition (no
                   surveys; land use HSI                           state) nest sites; counts;   loss)
                   plans                                           distribution; proximity
                                                                   to food sources




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                                Biological Resources – T&E, Listed Species
Metric name      Dataset             Analytical methods            Metric description     Thresholds    Utility
burrowing owl    CNHP elements;      GIS analysis;                 CNHP not listed;       TBD           High
                 NDIS; local         temporal/spatial modeling;    threatened (state);
                 surveys; land use   HSI                           counts; distribution
                 plans
ferruginous      CNHP elements;      GIS analysis;                 G4 S3B; counts;          TBD         High
hawk             NDIS; local         temporal/spatial modeling     feeding habitat area and
                 surveys; land use                                 distribution
                 plans
long-billed      CNHP elements       Data gathering stage          G5 S2B; concern        Limited in    Low
curlew                                                             (state); BLM/USFS      area
                                                                   sensitive
Mccown’s        CNHP elements        GIS analysis;                 G4 S2B; USFS           TBD           Low
longspur                             temporal/spatial modeling     sensitive
mountain plover CNHP elements        Data gathering stage          G2 S2B; concern        Limited in    Low
                                                                   (state); BLM/USFS      area
                                                                   sensitive
plains sharp-    CNHP elements; GIS analysis;                      Counts; habitat area   Carrying      High
tailed grouse    NDIS; local       temporal/spatial modeling       and distribution       capacity of
                 surveys; land use                                                        managed
                 plans                                                                    units
arogos skipper   CNHP elements Data gathering stage                G3G4 S2;               TBD           Low

Colorado blue    CNHP elements       Data gathering stage          G3G4T2T3 S2;           TBD           Low

hops feeding    CNHP elements        Data gathering stage          G2G3 S2                TBD           Low
azure
Lusk's pinemoth CNHP elements        Data gathering stage          G4 S1?;                TBD           Low




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                              Biological Resources – T&E, Listed Species
Metric name       Dataset         Analytical methods            Metric description         Thresholds   Utility
Moss's elfin      CNHP elements   Data gathering stage          G4T3 S2S3                  TBD          Low

moth sp           CNHP elements   Data gathering stage          GNR S1                     TBD          Low

mottled dusky     CNHP elements   Data gathering stage          G3G4 S2S3                  TBD          Low
wing
Ottoe skipper     CNHP elements   Data gathering stage          G3G4 S2; USFS              TBD          Low
                                                                sensitive;
Pawnee           CNHP elements    Data gathering stage          G4T1 S1; threatened        TBD          Low
montane skipper                                                 (national)
regal fritillary CNHP elements    Data gathering stage          G3 S1; USFS sensitive      TBD          Low

stonefly sp1      CNHP elements   Data gathering stage          G3 S2                      TBD          Low

stonefly sp2      CNHP elements   Data gathering stage          G3 S2                      TBD          Low

tiger beetle sp   CNHP elements   Data gathering stage          G4 S1?                     TBD          Low

tiger moth sp     CNHP elements   Data gathering stage          G2G3 SNR                   TBD          Low

northern          CDOW            Data gathering stage          G5 S1; endangered          No loss of   High
redbelly dace                                                   (state); USFS sensitive;   habitat?
                                                                counts
bigmouth shiner   CDOW            Data gathering stage          Counts                     TBD          High

common shiner     CDOW            Data gathering stage          Counts                     TBD          High

Iowa darter       CDOW            Data gathering stage          Counts                     TBD          High

orangespotted     CDOW            Data gathering stage          Counts                     TBD          High
sunfish


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                                Biological Resources – T&E, Listed Species
Metric name       Dataset           Analytical methods            Metric description      Thresholds   Utility
plains            CDOW              Data gathering stage          Counts; distribution    TBD          High
topminnow
spotted sunfish   CDOW              Data gathering stage          Counts; distribution    TBD          High

stonecat          CDOW              Data gathering stage          Counts; distribution    TBD          High

suckermouth       CDOW              Data gathering stage          Counts; distribution    TBD          High
minnow
banded physa      CDOW              Data gathering stage          G2 S1; counts;          TBD          Low
                                                                  distribution
Colorado          CNHP elements;    Data gathering stage          Counts; habitat area;   TBD          High
butterfly weed    land use plans                                  habitat distribution
Ute ladies        CNHP elements;    Data gathering stage          Counts; habitat area;   TBD          High
tresses           land use plans                                  habitat distribution
Bell’s twinpod    CNHP elements;    Data gathering stage          Counts; habitat area;   TBD          High
                  land use plans                                  habitat distribution
lavender hyssop    CNHP; land use   Data gathering stage          Counts; habitat area;   TBD          Medium
                  plans                                           habitat distribution
lesser panicled   CNHP elements;    Data gathering stage          Counts; habitat area;   TBD          Medium
sedge             land use plans                                  habitat distribution
livid sedge       CNHP elements;    Data gathering stage          Counts; habitat area;   TBD          Medium
                  land use plans                                  habitat distribution
many-headed       CNHP elements;    Data gathering stage          Counts; habitat area;   TBD          Medium
sedge             land use plans                                  habitat distribution
New Mexico        CNHP elements;    Data gathering stage          Counts; habitat area;   TBD          Medium
cliff fern        land use plans                                  habitat distribution
peck sedge        CNHP elements;    Data gathering stage          Counts; habitat area;   TBD          Medium
                  land use plans                                  habitat distribution
Porsild’s         CNHP elements;    Data gathering stage          Counts; habitat area;   TBD          Medium
WhitLow-grass     land use plans                                  habitat distribution


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                              Biological Resources – T&E, Listed Species
Metric name      Dataset          Analytical methods            Metric description      Thresholds   Utility
Porter           CNHP elements;   Data gathering stage          Counts; habitat area;   TBD          Medium
feathergrass     land use plans                                 habitat distribution
prairie          CNHP elements;   Data gathering stage          Counts; habitat area;   TBD          Medium
moonwort         land use plans                                 habitat distribution
Rocky            CNHP elements;   Data gathering stage          Counts; habitat area;   TBD          Medium
Mountain         land use plans                                 habitat distribution
cinquefoil
Selkirk violet   CNHP elements;   Data gathering stage          Counts; habitat area;   TBD          Medium
                 land use plans                                 habitat distribution
slender          CNHP elements;   Data gathering stage          Counts; habitat area;   TBD          Medium
cottongrass      land use plans                                 habitat distribution
southern Rocky   CNHP elements;   Data gathering stage          Counts; habitat area;   TBD          Medium
Mountain         land use plans                                 habitat distribution
cinquefoil
sweet flag       CNHP elements;   Data gathering stage          Counts; habitat area;   TBD          Medium
                 land use plans                                 habitat distribution
Torrey sedge     CNHP elements;   Data gathering stage          Counts; habitat area;   TBD          Medium
                 land use plans                                 habitat distribution
Weber's          CNHP elements;   Data gathering stage          Counts; habitat area;   TBD          Medium
monkey-flower    land use plans                                 habitat distribution
white adder’s-   CNHP elements;   Data gathering stage          Counts; habitat area;   TBD          Medium
mouth            land use plans                                 habitat distribution




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                               Biological Resources – Plant Communities
Metric name       Dataset          Analytical methods          Metric description       Thresholds   Utility
short grass and   CNHP elements;   GIS analysis;               Total area of prairie;   1=<=0%       High
mixed grass                        temporal/spatial modeling   average, modal,          2=1-5%
prairie                                                        minimum, maximum         3=5-10%
                                                               patch size;              4=10-20
                                                               connectivity;            5=>20%
                                                               perimeter/area ratio
plains            CNHP elements;   GIS analysis;               Total area; average,     1=<=0%       High
cottonwood                         temporal/spatial modeling   modal, minimum,          2=1-5%
riparian                                                       maximum patch size.      3=5-10%
woodland                                                                                4=10-20
                                                                                        5=>20%
riparian shrub    CNHP elements;   GIS analysis;               Total area; average,     1=<=0%       High
and herbaceous                     temporal/spatial modeling   modal, minimum,          2=1-5%
communities                                                    maximum patch size       3=5-10%
                                                                                        4=10-20
                                                                                        5=>20%
Mesic Tallgrass   CNHP elements;   GIS analysis;               G2 S1S2 Total area;      1=<=0%       High
Prairie                            temporal/spatial modeling   average, modal,          2=1-2%
                                                               minimum, maximum         3=2-3%
                                                               patch size.              4=3-4
                                                                                        5=>4%
Xeric Tallgrass   CNHP elements;   GIS analysis;               G2 S1S2 Total area;      1=<=0%       High
Prairie                            temporal/spatial modeling   average, modal,          2=1-2%
                                                               minimum, maximum         3=2-3%
                                                               patch size.              4=3-4
                                                                                        5=>4%




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                              Biological Resources – Plant Communities
Metric name      Dataset          Analytical methods          Metric description   Thresholds   Utility
Mixed Foothill   CNHP elements;   GIS analysis;               G2 S2 Total area;    Not          Medium
Shrublands                        temporal/spatial modeling   average, modal,      determined
                                                              minimum, maximum
                                                              patch size
Foothills      CNHP elements;     GIS analysis;               G2 S2 Total area;    Not          Low
Pinyon-Juniper                    temporal/spatial modeling   average, modal,      determined
Woodlands/Scar                                                minimum, maximum
p Woodlands                                                   patch size
Montane        CNHP elements;     GIS analysis;               G2 S2 Total area;    Not          Low
Grasslands                        temporal/spatial modeling   average, modal,      determined
                                                              minimum, maximum
                                                              patch size
Montane          CNHP elements;   GIS analysis;               G2 S2 Total area;    Not          Low
Riparian                          temporal/spatial modeling   average, modal,      determined
Woodland                                                      minimum, maximum
                                                              patch size
Ponderosa        CNHP elements;   GIS analysis;               G2 S2 Total area;    Not          Low
Pine/Thin Leaf                    temporal/spatial modeling   average, modal,      determined
Alder                                                         minimum, maximum
                                                              patch size
Foothills        CNHP elements;   GIS analysis;               G2 S2? Total area;   Not          Low
Ponderosa Pine                    temporal/spatial modeling   average, modal,      determined
Scrub                                                         minimum, maximum
Woodlands                                                     patch size
Foothills        CNHP elements;   GIS analysis;               G2 S2 Total area;    Not          Low
Riparian                          temporal/spatial modeling   average, modal,      determined
Woodland                                                      minimum, maximum
(wetland)                                                     patch size




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                              Biological Resources – Plant Communities
Metric name      Dataset          Analytical methods          Metric description      Thresholds   Utility
Montane          CNHP elements;   GIS analysis;               G2 S1S2 Total area;     Not          Low
Riparian Forests                  temporal/spatial modeling   average, modal,         determined
                                                              minimum, maximum
                                                              patch size
Mixed Foothill   CNHP elements;   GIS analysis;               G2 S2 Total area;       Not          Low
Shrublands                        temporal/spatial modeling   average, modal,         determined
                                                              minimum, maximum
                                                              patch size
Great Plains     CNHP elements;   GIS analysis;               G2 S2 Total area;       Not          High
Mixed Grass                       temporal/spatial modeling   average, modal,         determined
Prairie                                                       minimum, maximum
                                                              patch size
Foothills        CNHP elements;   GIS analysis;               G2G3 S2S3 Total area;   Not          High
Shrubland                         temporal/spatial modeling   average, modal,         determined
                                                              minimum, maximum
                                                              patch size
Mixed Foothill   CNHP elements;   GIS analysis;               G2G3 S2S3 Total area;   Not          Low
Shrublands                        temporal/spatial modeling   average, modal,         determined
                                                              minimum, maximum
                                                              patch size
Plains           CNHP elements;   GIS analysis;               G2G3S2 Total area;      Not          High
Cottonwood                        temporal/spatial modeling   average, modal,         determined
Riparian                                                      minimum, maximum
Woodland                                                      patch size
Strapleaf        CNHP elements;   GIS analysis;               G2G3 S2S3 Total area;   Not          Low
Willow-Coyote                     temporal/spatial modeling   average, modal,         determined
Willow                                                        minimum, maximum
                                                              patch size




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                              Biological Resources – Plant Communities
Metric name     Dataset           Analytical methods          Metric description      Thresholds   Utility
Montane         CNHP elements;    GIS analysis;               G2G3 S2S3 Total area;   Not          Low
Willow Carr                       temporal/spatial modeling   average, modal,         determined
                                                              minimum, maximum
                                                              patch size
Narrowleaf      CNHP elements;    GIS analysis;               G2Q S1 Total area;      Not          Low
Cottonwood/Co                     temporal/spatial modeling   average, modal,         determined
mmon                                                          minimum, maximum
Chokecherry                                                   patch size
Western Slope   CNHP elements;    GIS analysis;               G3 S1S2 Total area;     Not          Low
Sagebrush                         temporal/spatial modeling   average, modal,         determined
Shrublands                                                    minimum, maximum
                                                              patch size
Foothills       CNHP elements;    GIS analysis;               G3 S2 Total area;       Not          Low
Riparian                          temporal/spatial modeling   average, modal,         determined
Shrubland                                                     minimum, maximum
                                                              patch size
Lower Montane   CNHP elements;    GIS analysis;               G3 S2 Total area;       Not          Low
Riparian                          temporal/spatial modeling   average, modal,         determined
Shrublands                                                    minimum, maximum
                                                              patch size
Lower Montane   CNHP elements;    GIS analysis;               G3 S1 Total area;       Not          Low
Forests                           temporal/spatial modeling   average, modal,         determined
                                                              minimum, maximum
                                                              patch size
Montane          CNHP elements;   GIS analysis;               G3 S1 Total area;       Not          Low
Riparian Forests                  temporal/spatial modeling   average, modal,         determined
                                                              minimum, maximum
                                                              patch size




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                              Biological Resources – Plant Communities
Metric name      Dataset          Analytical methods          Metric description     Thresholds   Utility
Peachleaf       CNHP elements;    GIS analysis;               G3 S1 Total area;      Not          Low
Willow Alliance                   temporal/spatial modeling   average, modal,        determined
                                                              minimum, maximum
                                                              patch size
Lower Montane    CNHP elements;   GIS analysis;               G3? S1S2 Total area;   Not          High
Riparian                          temporal/spatial modeling   average, modal,        determined
Shrublands                                                    minimum, maximum
                                                              patch size
Montane          CNHP elements;   GIS analysis;               G3? S2 Total area;     Not          Low
Willow Carrs                      temporal/spatial modeling   average, modal,        determined
                                                              minimum, maximum
                                                              patch size
Montane          CNHP elements;   GIS analysis;               G3? S1 Total area;     Not          Low
Floating/Subme                    temporal/spatial modeling   average, modal,        determined
rgent Wetland                                                 minimum, maximum
                                                              patch size
Montane          CNHP elements;   GIS analysis;               G3G4 S2? Total area;   Not          Low
Grasslands                        temporal/spatial modeling   average, modal,        determined
                                                              minimum, maximum
                                                              patch size
Shortgrass       CNHP elements;   GIS analysis;               G4 S2? Total area;     Not          High
Prairie                           temporal/spatial modeling   average, modal,        determined
                                                              minimum, maximum
                                                              patch size
Lower Montane    CNHP elements;   GIS analysis;               G4 S2? Total area;     Not          Low
Woodlands                         temporal/spatial modeling   average, modal,        determined
                                                              minimum, maximum
                                                              patch size




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                               Biological Resources – Plant Communities
Metric name       Dataset          Analytical methods          Metric description      Thresholds   Utility
Montane           CNHP elements;   GIS analysis;               G4 SU Total area;       Not          Low
Floating/submer                    temporal/spatial modeling   average, modal,         determined
gent Palustrine                                                minimum, maximum
Wetlands                                                       patch size
Foothills         CNHP elements;   GIS analysis;               G4G5 S2S3 Total area;   Not          Low
Ponderosa Pine                     temporal/spatial modeling   average, modal,         determined
Savannas                                                       minimum, maximum
                                                               patch size
Montane           CNHP elements;   GIS analysis;               G5 S2S3 Total area;     Not          Low
Grasslands                         temporal/spatial modeling   average, modal,         determined
                                                               minimum, maximum
                                                               patch size
Montane           CNHP elements;   GIS analysis;               G5? S1 Total area;      Not          Low
Floating/Subme                     temporal/spatial modeling   average, modal,         determined
rgent Wetland                                                  minimum, maximum
                                                               patch size
Quaking Fen       CNHP elements;   GIS analysis;               GU SU Total area;       Not          Low
                                   temporal/spatial modeling   average, modal,         determined
                                                               minimum, maximum
                                                               patch size
Montane           CNHP elements;   GIS analysis;               GU SU Total area;       Not          Low
Woodlands                          temporal/spatial modeling   average, modal,         determined
                                                               minimum, maximum
                                                               patch size
Montane           CNHP elements;   GIS analysis;               GU SU Total area;       Not          Low
Woodlands                          temporal/spatial modeling   average, modal,         determined
                                                               minimum, maximum
                                                               patch size




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                             Biological Resources – Plant Communities
Metric name     Dataset          Analytical methods          Metric description   Thresholds   Utility
Plains          CNHP elements;   GIS analysis;               GU SU Total area;    Not          High
Cottonwood/Ch                    temporal/spatial modeling   average, modal,      determined
oke Cherry                                                   minimum, maximum
                                                             patch size
Mesic Oak       CNHP elements;   GIS analysis;               GU SU Total area;    Not          Low
Thickets                         temporal/spatial modeling   average, modal,      determined
                                                             minimum, maximum
                                                             patch size




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                                       Biological Resources --Wetlands
Metric name      Dataset                Analytical methods        Metric description             Thresholds   High
Regulated        USACE sec. 404         GIS analysis;             Acres, maximum,                1=<=0%       High
wetlands         permit points;         temporal/spatial          minimum, average, modal;       2=1-2%
                 SURGO; boulder         modeling; photo           count, count; frequency        3=2-3%
                 cnty GIS; riparian     interpretation; remote    table; temporal change         4=3-4
                 vegetation, CVCP,      sensing                                                  5=>4%
                 nwi; USGS; land use
                 plans
Unregulated      SURGO; boulder         GIS analysis;             Acres, maximum,                Not          High
wetlands         cnty GIS; riparian     temporal/spatial          minimum, average, modal;       determined
                 vegetation, CVCP,      modeling                  count, count; frequency
                 land use plans                                   table; temporal change
                                                                  CDOT policy is no net loss
Built wetlands   USACE; CDOT;           GIS analysis;             Acres, maximum,                Not          High
                 ducks unlimited?                                 minimum, average, modal;       applicable
                                                                  count, count; frequency
                                                                  table; temporal change
Regulated        SURGO; habitat         GIS analysis,             Acres; acres connected to      1: =0%       High
wetlands         maps, flood zone       temporal/spatial          riverine; acres connected to   2: >0 – 1%
connected to     maps, hydrological     modeling                  lacustrine; temporal change    3: >1 – 3%
riverine and     maps                                                                            4: >3 – 5%
lacustrine                                                                                       5: >5%
systems
Water quality    CDPHE impairment       GIS analysis,             Sediment, nutrient,            TBD          High
mitigation       data. Epa? Effects of temporal/spatial           toxicant retention.
function class   planned infrastructure modeling                  Removal of sediment,
                 on impairment, land                              nutrient, toxicant from
                 use plans                                        water inflow source




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                                            Biological Resources --Wetlands
Metric name        Dataset                   Analytical methods      Metric description           Thresholds   High
Floodwater         Urban drainage and        GIS analysis,           Floodwater                   TBD          High
retention          flood control.            temporal/spatial and    retention/attenuation
function class     Riparian vegetation       system models           Groundwater recharge.
                   classification.           (capacity to reduce     Sediment control,
                   Floodplain mapping.       flow, floodwater        stabilization of banks
                   Wetland mapping           retention,              Flood conveyance
                                             groundwater
                                             recharge)
Habitat function   T&E species surveys,                              Waterfowl feeding and        TBD          High
class              trapping data riparian                            nesting
                   vegetation                                        Feeding, resting,
                   classification, weed                              reproductive habitat for
                   surveys, land use                                 upland and wetland species
                   plans                                             Fish habitat
Human utility      Recreational user and     User surveys; use       scenic beauty rating;        TBD          High
class              use surveys;              monitoring;             recreational use
                   land use plans            economic models;
                                             temporal/spatial
                                             models




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                                              Cultural Resources
Metric name         Dataset             Analytical methods      Metric description             Thresholds   Utility
Loss of national    SHPO, CDOT, Local   Project Buffers and     Number of districts lost       Not          High
register-eligible   Associations,       Overlays; Time          integrity                      determined
districts           Assessor Offices    Comparisons
Loss of other       SHPO, CDOT, Local   Project Buffers and     Number of buildings,           Not          High
national            Associations,       Overlays; Time          structures, sites, objects     determined
register-eligible   Assessor Offices    Comparisons             lost integrity
resources
Loss of             SHPO, CDOT, Local   Project Buffers and     Percentage of contributing     Not          Medium
contributing        Associations,       Overlays; Time          resources found non-           determined
buildings or        Assessor Offices    Comparisons             contributing upon re-
features within                                                 survey
national
register-eligible
districts
Substantial         SHPO, CDOT, Local   Project Buffers and     Number of buildings,           Not          Medium
degradation of      Associations,       Overlays; Time          structures, sites, objects     determined
national            Assessor Offices    Comparisons             with substantial loss of
register-eligible                                               character-defining features,
buildings,                                                      etc.
structures, sites
or objects
Threatened          SHPO, CDOT, Local   Project Buffers and     Number of threatened           Not          Low
degradation of      Associations,       Overlays; Time          properties                     determined
national            Assessor Offices    Comparisons
register-eligible
properties
Loss of listed      SHPO, CDOT, Local   Project Buffers and     Number of listed resources     Not          High
resources of        Associations,       Overlays; Time          lost integrity                 determined
national            Assessor Offices    Comparisons
importance


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                                           Cultural Resources
Metric name      Dataset             Analytical methods      Metric description           Thresholds   Utility
Loss of listed   SHPO, CDOT, Local   Project Buffers and     Number of listed resources   Not          High
resources of     Associations,       Overlays; Time          lost integrity               determined
statewide        Assessor Offices    Comparisons
importance
Loss of listed   SHPO, CDOT, Local   Project Buffers and     Number of listed resources   Not          Medium
resources of     Associations,       Overlays; Time          lost integrity               determined
local            Assessor Offices    Comparisons
importance




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                                                 Community Impacts
Metric name         Dataset                 Analytical methods      Metric description           Thresholds    Utility
Proportionality     Us population and       Tabulations of census    affected low-income and     Disproporti   High
of direct effects   housing census,         data; statistical       minority populations as a    onate share
on low-income       school data, data       analyses; creation of   proportion of overall        of adverse
and minority        from community          projected population    population in a reference    effects in
populations         institutions such as    surfaces                area                         low-income
                    churches,, regional                                                          or minority
                    plans, stip/tip                                                              populations
Vulnerability       Census and              Tabulations of census   Presence of other            Disproporti   High
levels of low-      community data          data; statistical       characteristics of           onate % of
income and          sources to identify     analyses                potentially vulnerable       non-native
minority            age, gender, and                                populations                  English
populations         other socio-                                                                 speakers,
                    demographic                                                                  older
                    characteristics                                                              persons, &
                                                                                                 other
                                                                                                 potentially
                                                                                                 vulnerable
                                                                                                 populations
Interacting         Data from various       Tabulations of census   Accumulating effects of      Not           High
effects of          sources regarding air   data; tabulations of    previous transportation or   determined
previous            and water quality,      local environmental     industrial investments and
investments         noise, safety,          data; statistical       other unwanted land uses
                    hazardous materials,    analyses                on low-income and
                    visual quality, and                             minority communities
                    community cohesion.




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                                         Air Quality
Metric name    Dataset              Analytical methods      Metric description          Thresholds
Hazard Index   Air Quality Index    Air Quality Index       Air Quality Associated      Per Chemical;
                                                            with Geographic Feature     Hazard Index of 1 is Safe

Hazard Index   Emission Inventory   Emissions               Emissions Associated with   Per Chemical;
                                    Monitoring              Geographic Feature          Hazard Index of 1 is Safe

VMT            VMT (Vehicle Miles   Calculated VMT          VMT Associated with
               Travelled)                                   Road Features

Hazard Index   ER (Emergency        Plume and Trajectory    Plumes and Trajectories
               Response)            Models                  Associated with
                                                            Emergency Response
                                                            Events




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NOTES
Colorado Natural Heritage Program. 2005. Elements by 7.5 Minute USGS Quadrangle. Biodiversity Tracking and
Conservation System. Colorado State University, Fort Collins, Colorado, U.S.A. Data exported 07/21/2005.

G1 - Globally critically imperiled; typically 5 or fewer EOs and/or very few remaining acres or very vulnerable to elimination
throughout its range due to other factor(s)
G2 - Globally imperiled; typically 6 to 20 EOs and/or few remaining acres or very vulnerable to elimination throughout its
range due to other factor(s)
G3 - Globally rare or uncommon; typically 21 to 100 EOs; either very rare and local throughout its range or found locally,
even abundantly, within a restricted range or vulnerable to elimination throughout its range due to specific factor(s)
G4 - Globally widespread, abundant, and apparently secure, but with cause for long-term concern; uncommon but not rare
(although it may be quite rare in parts of its range, especially at the periphery); typically > 100 EOs; apparently not vulnerable
in most of its range
G5 - Globally demonstrably widespread, abundant and secure; common, widespread, and abundant (although it may be quite
rare in parts of its range, especially at the periphery); not vulnerable in most of its range

S1 - State critically imperiled; typically 5 or fewer Eos
S2 - State imperiled; typically 6 to 20 Eos
S3 - State rare or uncommon; typically 21 to 100 EOs

Concern (state) is not a statutory category

Paul Winkle, CDOW, personal communication, Oct 24, 2005, Roundtail Chub is a west slope species. Southern Redbelly Dace
is in the Arkansas system. These species have been removed from the above table. The Hornyhead Chub has been extirpated
from the area (SX, CNHP) but is common in other areas (G5, CNHP). It is also not on the above table.

Shannon Albeke, CDOW, personal communication, Oct 25. 2005 added a number of fish species that should be considered in
the CEA. These are indicated in the tables of this Appendix by the absence of a CNHP rating.




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